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        CONFIDENTIAL PURSUANT TO RULE 26(C) PROTECTIVE ORDER



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



In re

CUSTOMS AND TAX ADMINISTRATION OF THE                      MASTER DOCKET
KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND SCHEME                    18-md-2865 (LAK)
LITIGATION




                   EXPERT REPORT OF GRAHAM WADE

                            December 31, 2021
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 Parties to the Transactions Did Not Receive A Real Dividend, (iv) The Trades Deviated
 from Market Standards in Numerous Ways, Were Not Arm’s-Length, and as Such,
 Avoided and Ignored Real Market Risks, (v) None of The Parties Were at Risk of Any Real
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I.      PURPOSE OF THE ENGAGEMENT

1.      Counsel for SKAT, the Customs and Tax Administration of the Kingdom of Denmark, has

requested my opinion on the nature and structure of the financial transactions purportedly executed by

various pension plans (the “Pension Plans”) and other defendants; whether those financial transactions

were executed in a manner consistent with standard market practice; and whether the financial

transactions executed by the various defendants would entitle an entity or individual to a dividend. 1


II.     QUALIFICATIONS

2.      My name is Graham Wade. I serve as an Independent Consultant to Charles River Associates

International (“CRAI”). CRAI is a leading global consulting firm that offers expertise to major law firms,

corporations, accounting firms, and governments. CRAI has a diverse team of over 800 consultants in

more than 50 countries around the world.


3.      I have over twenty years of professional experience in structured financial transactions. For more

than thirteen years I worked for Barclays Investment Bank (“Barclays”). Eleven of these years were in

the Structured Capital Markets (“SCM”) group, which was the bank’s leading structuring division until

its closure in 2012. During my tenure at the bank, I led various teams focused on structured transactions,

oversaw substantial risk reduction initiatives, and sat on a number of Board, group, and investment bank

committees with responsibility for transaction approval and other risk management roles.


4.       In 2008, I relocated to New York and became the SCM Head of Americas. In this role, I led the

bank’s integration of Lehman Brothers’ equivalent North American business. I was appointed to the

position of Global Head of SCM at the end of 2011 and returned to London. In this role, amongst other

duties, I was responsible for setting, supervising, and promulgating guidelines for all equity finance



1
 I understand from counsel that Plaintiff was known as “SKAT” at the time of the events alleged in the complaint.
Pursuant to Danish Legal Order 804, entered on June 6, 2018, Plaintiff changed its legal name to
Skatteforvaltningen, effective July 1, 2018.


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transactions with tax risk, including those undertaken by the Global Equities and Global Prime Services

businesses, where applicable. In this role, I also worked jointly with Barclays’ Legal, Tax, and

Compliance Teams on an annual process of reviewing and promulgating trading and execution guidelines

for all markets in which Barclays undertook equity finance activities. In 2012, I became responsible for

the restructuring and management of a range of legacy activities at Barclays, reflecting the recalibration

of the bank’s risk appetite at that time.


5.       While at Barclays, I was also a director of Barclays Capital Securities Limited, the principal

United Kingdom (U.K.) broker-dealer of the Barclays Group, and a member of the bank’s Markets

Management and Global Partnership Committees.


6.       Since leaving Barclays at the end of 2014, I have worked on a wide variety of projects in the

financial services sector. For the last two years I have directed my focus towards a U.K. software start-

up firm which is developing reporting tools for the wealth industry. Prior to that, between July 2015 and

July 2019, I was Co-CIO of a U.K. Financial Conduct Authority- (“FCA”) regulated investment

management firm. This firm was investment manager for a fund that invested in bank capital instruments

issued by the world’s largest banks.


7.      I am a qualified chartered accountant (Fellow of the Institute of Chartered Accountants in

England and Wales). While at Barclays, I held the Financial Industry Regulatory Authority (“FINRA”)

Series 24 (General Securities Principal Exam), Series 7 (General Securities Representative Exam), and

Series 63 (Uniform Securities Agent State Law Exam) licenses. I hold a master’s degree in mathematics

from Corpus Christi College, Cambridge, United Kingdom, and an executive certificate in leadership

decision making from Harvard University’s Kennedy School of Government. I also hold a certificate in

investments (securities and financial derivatives) from the Securities and Investment Institute.


8.      My curriculum vitae, which is attached to this report in Appendix A, provides more detail about

my qualifications and experience.


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III.     PREPARATION OF THIS REPORT

9.       I have prepared this report to express certain opinions; to describe the bases and rationale

underlying them; and to disclose the facts and data on which I have relied in reaching my opinions. I do

not express legal opinions in this report. The work that I have conducted in this matter has been informed

by my education; knowledge; experience in the design, implementation, and management of complex

structured transactions; and detailed knowledge of a range of equity finance activities and the tax,

accounting, legal requirements, credit, operations, and regulations of businesses in the financial services

industry. The information in this report is based upon discovery to date and the information that is

currently available. I have considered and compiled materials as cited herein with the assistance of CRAI

personnel working under my direction and supervision.


10.      A complete listing of the materials I reviewed and considered in forming my opinions and

conclusions rendered in this report is attached hereto as Appendix B. In Appendix C, I provide a summary

of the transactions at issue in this matter, which were conducted for various Pension Plan funds by ED&F

Man Capital Markets, Ltd (“ED&F Man”), Solo Capital Partners LLP (“Solo”), and, or the Solo related

custodians, West Point Derivatives Ltd., Old Park Lane Capital Ltd., and Telesto Markets LLP

(collectively the “Solo Custodians”), 2 all brokers-custodians for the Pension Plans. Throughout this

report, I refer to these trades as “Appendix C Cum-Ex Trades”, and the Pension Plans either as “ED&F

Man Pension Plans” or “Solo Pension Plans”. In Appendix D, I provide trade and volume analysis of

shares that ED&F Man claimed to own on behalf of its customers that are pertinent to this matter. 3 In


2
 It has been represented to me by counsel that the transactions undertaken by West Point Derivatives Ltd., Old
Park Lane Capital Ltd., and Telesto Markets LLP are substantially identical to those undertaken by Solo.
Accordingly, to the extent this is accurate, my analysis applies equally to Solo and the other Solo Custodians.
3
 See, for example, Dividend Reconciliation Excel Workbook (ED&F-00081150, at tab ‘FRONTSHEET’) in
which ED&F Man reports claimed ownership of 8,337,116 shares issued by Coloplast A/S held on behalf of the
ED&F Man Pension Plans and other clients on December 10, 2013. As I explain in detail later in this report, it is
my opinion that ED&F Man did not own a vast majority of these shares. However, had ED&F Man held such
shares either in its own name or on behalf of its clients, including the ED&F Man Pension Plans, I consider it
appropriate to review the aggregate positions allegedly held by ED&F Man and all its clients for purposes of the


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Appendix E, I provide descriptions of two transactions that ED&F Man conducted to illustrate the steps

involved in the transactions at issue in this matter. In Appendix F, I provide a list of transactions that I

used to evaluate the pricing issues of the transactions in this matter.


11.      This report is my independent work product, and contains my objective, unbiased opinions in

relation to matters within my expertise, and the opinions I express represent my true and complete

professional opinion.


12.      I reserve the right to amend or supplement my opinions based upon further information learned,

produced, relied upon, in response to opinions in any reports or disclosures of defendants’ experts, other

updated relevant information, or based upon any stipulation of the parties. I also understand that fact

discovery remains ongoing because on December 22, 2021 the Court ordered ED&F Man to produce a

new Rule 30(b)(6) witness fully and properly prepared to answer questions relating to certain topics

relevant to this report, including the circumstances of ED&F Man’s issuance of the Annex E vouchers

and its admission that those vouchers were false, and the U.K.’s FCA’s investigation into ED&F.


13.      Therefore, the analyses and opinions described herein are subject to change based upon future

discovery or other developments.


14.      My hourly billing rate in this matter is $1,200 per hour. Neither my nor CRAI’s compensation

is contingent upon the outcome of this case.


IV.      SUMMARY OF OPINIONS

15.      The following is a summary of my opinions related to the transactions for the ED&F Man Pension

Plans for which ED&F Man served as a custodian as set forth in greater detail in this report:




analysis for which Appendix D is used (the consideration of prudent risk management of large shareholding
positions).


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        a.       All the ED&F Man-Related Appendix C Transactions involved were Cum-Ex

        transactions, which means the ED&F Man Pension Plans did not receive any real dividends.


        b.       The only reason to participate in the Appendix C Cum-Ex trades was to generate a

        fabricated tax reclaim that was shared by the parties to the transactions. The bases for this opinion

        are the following: (i) Apart from the tax reclaim, the transaction economics for the participants

        were self-cancelling; (ii) Transactions conducted by ED&F Man through the ostensibly

        independent external third-party inter-dealer brokers (“IDBs”) were simply camouflage. 4 The

        Cum-Ex characteristics of these transactions are demonstrable; (iii) The IDB transactions are

        inextricably linked to each other and their commonality is demonstrable; (iv) Hedging a Cum-Ex

        transaction does not require any party to receive a real dividend; (v) No real dividend was

        received by any participant in the Annex E transactions and the pricing strongly suggests real

        dividends were also not received in other non-Annex E transactions; (vi) Pricing of the Cum-

        Cum transactions at around 90% of the gross dividend was expected; (vii) No reputable market

        participant would have considered the Appendix C Cum-Ex trades as legitimate; (viii) There was

        deliberate coordination of the participants at the outset of the trades; (ix) The unusual risk sharing

        and failure to properly consider trading risks and margin demonstrates that the trades were not

        real; (x) Profits from refund payments were essentially guaranteed up front because the trades

        were pre-ordained, circular, non-market facing transactions; and (xi) Prior to execution of each

        transaction all participants in the order and execution of these trades would have known that the

        unwind transactions were inevitable and they would not have executed the opening transactions

        if this were not the case. Thus, these transactions were prearranged and codependent.



4
  In this report, the term “Inter-Dealer Brokers” (“IDBs”) refers to the numerous external counterparties that
ED&F Man and the ED&F Man Pension Plans used for the Appendix C Cum-Ex Trades, their related hedges, and
the Solo Capital broker firms’ trades. Strictly speaking, some of these firms are not IDBs but are classified as
other types of regulated financial counterparties. The role these firms played in these transactions is consistent
with the function of an IDB, which is generally taken to mean a party who acts as an intermediary between two
other authorised firms to arrange or execute a transaction.


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         c.      ED&F Man, custodian for the ED&F Man Pension Plans, did not actually have custody

         of a sufficient number of shares to support the Tax Vouchers that were issued for the ED&F Man

         Pension Plans. The bases for this opinion are the following: (i) The number of actual shares

         settled was not connected to the transaction amounts; and (ii) The share amounts that were

         purportedly traded were wholly inconsistent with realistic average daily trading volumes

         (“ADTV”) because these purported amounts could not have been risk managed by the parties.


         d.      ED&F Man’s tax voucher process was highly unusual, inappropriate, and resulted in

         fabricated Tax Vouchers with false statements. The bases for this opinion are the following: (i)

         The Tax Vouchers that ED&F Man produced contained false representations, were essential to

         filing false tax reclaims, and all participants in the order and execution of these trades would have

         been fully aware of this; and (ii) ED&F Man’s failure to obtain any legal and tax advice was a

         breach of its U.K. regulatory obligations. The tax opinions that were provided by PwC and

         Hannes Snellman bear little or no relation to the transactions actually undertaken and appear to

         simply be marketing opinions that were used to provide cover for the participants rather than

         proper consideration of the appropriateness of the transactions as conducted.


16.      The following is a summary of my opinions related to the transactions for the Solo Pension Plans

that used Solo as a custodian as set forth in greater detail in this report.


         a.      The transactions that Solo engaged in also involved fabricated Cum-Ex transactions in

         which: (i) No shares were delivered to or received by the Solo Pension Plans; (ii) No cash was

         exchanged; (iii) The Solo Pension Plans’ counterparties and other parties to the transactions did

         not receive a real dividend; (iv) The trades deviated from market standards in numerous ways,

         were not arm’s-length, and as such, avoided and ignored real market risks; (v) None of the parties

         were at risk of any real market gain or loss, except for the receipt of a fabricated dividend tax

         reclaim; and (vi) It appears that the communications about executing the trades were all



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            automatically generated by Solo, with no independent involvement of any of the parties. The

            bases for this opinion are the following: (i) Solo held no shares in its sub-custodian accounts,

            and, netting and offsetting trades at the custodian or sub-custodian level cannot create shares or

            dividends; (ii) The circular nature of the Solo trades with Delvian means that there was no

            requirement for shares or cash; the purported trades were completely fake; (iii) All the trades

            were dictated to the Solo Pension Plans by Solo and eventually automated; both these facts are

            highly irregular and further evidence that these transactions were fake; (iv) The terms of the stock

            loan agreements are highly irregular for multiple reasons; (v) The terms of the futures trades and

            Solo’s transactions of futures at its sub-custodians were also irregular; and (vi) It is not the market

            standard for parties to a stock loan or broker-custodians to retroactively alter the terms of the

            original stock loan so that the trades net to zero.


V.          FACTUAL BACKGROUND

            A.       Summary of Plaintiff’s Claims

17.         This report pertains to litigation brought by Plaintiff, SKAT, in the United States against multiple

parties including various pension plans, authorized representatives for the pension plans and related

parties involved in scheme to defraud SKAT into refunding “over 12.7 billion Danish Kroner (‘DKK’),

the equivalent of approximately $2.1 billion (US), of allegedly withheld dividend tax.” 5


18.         SKAT is the Danish national agency responsible for assessing and collecting Danish taxes. 6

Danish law requires companies to withhold a 27% tax on dividends paid to shareholders. 7 Pursuant to

certain double taxation treaties between Denmark and other countries, including the United States


5
  Amended Complaint & Demand for Jury Trial, SKAT v. Acorn Capital Corp. Employee Profit Sharing Plan et
al., ¶¶ 5, 8, and 26 NO 18-cv-10088-LAK (S.D.N.Y. April 22, 2020). The total amount refunded by SKAT
includes amounts paid to parties located in foreign jurisdictions, and amounts paid to parties that have settled.
6
    Ibid, at ¶ 4.
7
    Ibid, at ¶¶ 6 and 21.


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(“U.S.”), this withheld dividend tax is refundable to foreign shareholders that meet certain specified

criteria. 8 I understand that the Pension Plans, acting through their agents and representatives, applied to

SKAT claiming repayments of amounts withheld on dividends that they purported to have earned on

shares of Danish companies that they claimed to hold. These applications are alleged to have been false

because the Pension Plans did not own the shares that they claimed to own, did not earn the dividends

they claimed to have earned, and/or were not entitled to the refund amounts they claimed.


19.          The Claimants allegedly effectuated the scheme by appointing agents to apply to SKAT for

refunds in respect of shares in Danish companies that they did not own or for which they were otherwise

not entitled. 9 The Claimants each submitted refund claims seeking the full 27% withholding tax that had

allegedly been withheld from distributions on shares of Danish companies the Claimants purported to

own. 10 These claims were submitted through payment agents, who in turn submitted the claims by mail

or email transmission to SKAT. 11 Each entity claiming a withholding tax refund submitted a “credit

advice,” “income advice,” “tax voucher,” or similar document (a “Tax Voucher”) to SKAT that was

created by a custodian that purported to show the Claimant’s ownership of shares in Danish companies

listed on the OMX Copenhagen 20 Index. 12




8
    Ibid, at ¶¶ 22 and 23.
9
 See, Amended Complaint & Demand for Jury Trial, SKAT v. American Investment Group of New York L.P.
Pension Plan, et al., No. 18-cv-09841, ECF No. 89 (S.D.N.Y. April 22, 2020).
10
     Ibid.
11
     Ibid.
12
     Ibid.


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             B.       The Parties

                      1.     The ED&F Man Pension Plans

20.          The “ED&F Man Pension Plans” are the Pension Plans that submitted dividend withholding tax

refund applications to SKAT based on Tax Vouchers provided by ED&F Man. The ED&F Man Pension

Plans’ formation agreements show various individuals detailed therein, including beneficiaries, trustees,

and the ED&F Man Pension Plans’ controlling individuals. 13


                      2.     The Investment Managers

21.          ED&F Man traded in Danish securities on behalf of the U.S. ED&F Man Pension Plans. 14 Many

of the ED&F Pension Plans used an investment manager (“Investment Manager”). 15 The Investment

Managers served as intermediaries between the plans and ED&F Man, and structured related transactions

to finance and hedge the plans’ trades in Danish stock. 16 The Investment Managers were authorized to

act on behalf of the ED&F Man Pension Plans and give instructions to ED&F Man, broker-custodian for

the ED&F Man Pension Plans. 17


                      3.     ED&F Man

22.          ED&F Man is a financial brokerage company based in the U.K. 18 ED&F Man is authorized and

regulated by the FCA and part of a global financial brokerage business. 19 From 2012 to 2015, ED&F


 Draft SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts, p. 3. Related to UK Claim
13

Nos. CL-2018-000297; CL-2018-000404; CL-2018-000590; CL-2019-000487; and CL-2020-000369.
14
     Ibid.
15
     Ibid, at p. 5.
16
     Ibid, at pp. 5 - 6.
17
     Ibid, at p. 6
18
     Ibid, at p. 1.
19
     Ibid, at p. 3.


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Man acted as a broker-custodian for the ED&F Man Pension Plans that are defendants in this matter and

the ED&F Man Pension Plans were ED&F Man’s clients. 20 ED&F Man classified the ED&F Man

Pension Plans as “elective professional clients”. 21 The ED&F Man Pension Plans received various

services from ED&F Man, including: “(1) securities, lending and financing services; (2) execution,

clearing and settlement services for equities and derivatives; and (3) custodian services for on-exchange

and over-the-counter (‘OTC’) transactions.” 22

23.         The ED&F Man Pension Plans applied to SKAT claiming repayments of tax withheld on

dividends that they purported to have earned on shares of Danish companies. 23 ED&F Man completed

Tax Vouchers supporting these reclaims and sent them to tax reclaim agents acting on behalf of the ED&F

Man Pension Plans. 24 The tax reclaim agents submitted applications to SKAT, which included a tax

relief form and the Tax Vouchers prepared by ED&F Man. 25 ED&F Man prepared 191 Tax Vouchers

for the ED&F Pension Plans which are the subject of the claims in this matter. 26

24.         ED&F Man has admitted that certain of the Tax Vouchers it produced for the ED&F Man Pension

Plans contained inaccuracies. 27 ED&F concedes that the vouchers listed in Schedule 1 to Annex E to its

Amended Defence in related English litigation were so inaccurate that they should not have been issued

at all, because the plans received no dividends. 28 In Schedule 2 to Annex E, ED&F Man concedes that



20
     Ibid, at p. 3.

21
     Ibid, at p. 8.
22
     Ibid, at p. 9.
23
     Ibid, at pp. 10-12.
24
     Ibid, at pp. 10-12.
25
     Ibid, at pp. 10-12.
26
     Ibid, at p. 10, not including settled pension plans.
27
     Hashemi Tr. Vol. 2 at 251:18 – 252:25.
28
     See, ED&F Man’s Re-Amended Defence to Schedule 5T, ¶19.1.


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the vouchers were inaccurate because they overstated the number of shares held, dividends received, and

tax allegedly suffered by the ED&F Man Pension Plans. 29

25.        ED&F Man also produced Tax Vouchers that I understand it maintains are accurate. The majority

of those additional Tax Vouchers were based on Cum-Ex transactions. As described more fully below,

in a Cum-Ex transaction, the transaction date and agreed price terms typically indicate that the buyer of

the securities will receive the dividend, but the settlement cycle is extended so the buyer of the securities

does not receive the shares until after the Record Date, and so the buyer does not actually receive a

dividend.


                    4.       Solo Custodians

26.        The Solo Custodians were founded and/or controlled by Sanjay Shah.                  The Solo Custodians

allegedly provided global security services, investment management, brokerage and proprietary trading

services to the Solo Pension Plans. 30 The “Solo Pension Plans” are the Pension Plans that submitted

dividend withholding tax refund applications to SKAT based on Tax Vouchers provided by a Solo

Custodian.




29
     See, ED&F Man’s Re-Amended Defence to Schedule 5T, ¶19.1
30
     Report and Financial Statements for Solo Capital Partners, March 31, 2012, pp. 2 and 5.


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VI.       EQUITY FINANCE CONCEPTS RELEVANT TO THE TRANSACTIONS AT ISSUE

          A.      Definition of Key Trading Terms

                  1.       Trade Date

27.       This refers to the date two counterparties agree to transact (“T”). In a purchase transaction, the

trade date is the date on which the buyer agrees to purchase shares, typically through a call, email, or

Bloomberg Chat 31 message, followed shortly thereafter by the buyer’s receipt of a trade confirmation. 32


                  2.       Settlement Date

28.       This refers to the date the transfer of securities occurs between the buyer and seller. On this date,

the buyer makes a payment to the seller to settle the share transaction and the seller delivers the shares to

the buyer. Until October of 2014, the standard settlement cycles for Danish equity transactions occurred

on the third business day after the Trade Date (“T + 3”). 33 After October 2014, the standard settlement

cycles for Danish equity transactions occurred on the second business day after the Trade Date (“T +

2”). 34



31
  The Bloomberg Terminal and associated Financial Data Platform (“Bloomberg") is a third-party data vendor
offering a trading platform that is widely used in the finance industry to review historical financial data.
32
  The Trade Date is “the day on which a security or a commodity future trade actually takes place. Trades
generally settle (are paid for) 1-5 business days after a trade date. With stocks, settlement is generally 3 business
days after the trade. The settlement date usually follows the trade date by five business days but varies depending
on the transaction and method of delivery used.” See, https://www.nasdaq.com/glossary/t/trade-date, accessed
December 12, 2021.
33
   The Settlement Date is “the date on which payment is made to settle a trade. For stocks traded on U.S.
exchanges, settlement is currently three business days after the trade.” The primary listings of the shares in
question are on the Copenhagen Stock Exchange, which has been owned since 2005, by Nasdaq, a U.S.-based
exchange. See, https://www.nasdaq.com/glossary/s/settlement-date and
http://www.nasdaqomxnordic.com/about_us, accessed December 12, 2021.
34
   In July 2014, the European Commission adopted Regulation (EU) No 909/2014. One of the regulation’s
provisions was shortening the trade settlement cycle from three to two business days. According to the regulator,
the purpose of the change was to reduce uncertainty and risk for securities settlement systems participants. See,
https://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:32014R0909#d1e1394-1-1, ¶ 13, accessed
December 22, 2021. Denmark adopted the new settlement cycle on October 6, 2014. See,


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                  3.        Record Date

29.      This refers to the date by which a shareholder is required to own shares (meaning that the

shareholder is the registered owner of the shares in the shareholder register) to be entitled to receive a

dividend. 35 A company’s board of directors typically declares a dividend, which is then ratified at a

general meeting of shareholders. The board of directors also determines a Record Date for the dividend.

Any holder of shares who is registered as the owner of the securities at close of business on the Record

Date is paid the dividend. 36


                  4.        Ex-Dividend Date (or Ex-Date)

30.      This refers to the first trading date on which the buyer of a share is not entitled to the receive the

most recently announced dividend because any purchase transactions entered into after this date will not

settle prior to the Record Date. 37 Until October 2014, the Ex-Dividend Date for Danish securities was

typically two business days before the Record Date (“Record Date - 2”). After October 2014, pursuant

to changes in the European Commission’s Regulation EU No 909/2014 which shortened the settlement




https://www.globenewswire.com/news-release/2013/11/21/591590/0/en/NASDAQ-OMX-Nordic-will-implement-
T-2-settlement-on-6-October-2014.html, accessed December 22, 2021.
35
  See, https://www.investor.gov/introduction-investing/investing-basics/glossary/ex-dividend-dates-when-are-
you-entitled-stock-and, accessed December 1, 2021.
36
  In practice, it is typical that the client’s custodian or sub-custodian is listed as the actual registered holder of
shares on the register. For example, if BNP Paribas is a client’s custodian, then the share register will likely
include an entry of shares registered to BNP Paribas’ client account. In a share transaction, if the shares have not
been delivered to the buyer’s custodian by close of business on the Record Date, the dividend is paid to the seller
and not the buyer.
37
   “Once the company sets the record date, the ex-dividend date is set based on stock exchange rules … If you
purchase a stock on its ex-dividend date or after, you will not receive the next dividend payment. Instead, the
seller gets the dividend. If you purchase before the ex-dividend date, you get the dividend.” See,
https://www.investor.gov/introduction-investing/investing-basics/glossary/ex-dividend-dates, accessed December
1, 2021.


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cycle, the Ex-Dividend Date for Danish securities is usually set one business day before the Record Date

(“Record Date - 1”). 38


                  5.       Market Claim

31.      A market claim is the process by which amounts related to the proceeds of a distribution of a

security may be contractually passed on to the contractually entitled party in the case that such party did

not receive that distribution directly (“Market Claim”). 39 In the transactions considered in this report,

Market Claims arose where the buyer of securities was not the registered holder of shares on or before

the Record Date. There is no obligation for securities transactions to give the buyer a right to a Market

Claim, and its determination is subject to the terms of the contract between the parties.


                  6.       Payment Date

32.      This refers to the date on which the company pays the dividend to the holders of record. 40 The

payment date normally occurs a few days after the Record Date, although in certain instances it can occur

up to a few weeks later, as determined by the company’s board of directors. The Payment Date for the

dividends relevant to this report was typically one to three days after the Record Date. The length of time

between the Payment Date and Record Date allows the company, custodians, and any other payment




38
   See, https://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:32014R0909#d1e1394-1-1, ¶ 13. To
illustrate, under the typical settlement before October 2014, a trade on Record Date – 2 would settle three business
days later, on Record Date + 1 (= Record Date – 2 + 3), a day later than the last date on which a registered owner
of shares is entitled to receive a dividend. After October 2014, a trade on Record Date – 1 would settle two
business days later, on Record Date + 1 (= Record Date – 1 + 2), a day later than the last date on which a
registered owner of shares is entitled to receive a dividend.
39
  According to the European Market Standards, a market claim is defined as “the process to reallocate the
proceeds of a distribution by the contractually entitled party.” See,
https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg130316_T2SMarketClaimStand
ards.en.pdf, p. 3, accessed December 9, 2021. The term “distribution” includes dividends paid on listed shares.
40
  The Payment Date is “the date on which shareholders of record will be sent a check for the declared dividend.”
See, https://www.nasdaq.com/glossary/p/payment-date, accessed December 12, 2021.


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agents involved in the payment process to confirm the payees and make appropriate arrangements for

dividend payment. 41


           B.       A Basic Definition of Equity Finance Transactions

33.        Equity finance is a broad term describing a wide range of trading activities in equity markets.

Most large financial institutions have equity finance desks which manage the funding requirements of

their clients’ and the firms’ own positions. It is my understanding that the ED&F Man transactions in

question were undertaken by the Equity Finance Desk of ED&F Man. 42


34.        At the heart of equity finance transactions is the provision of equities by one party (“Cash

Borrower” or “Securities Lender”) as collateral in return for delivery of another asset in return, most

commonly cash, by another party (“Cash Lender” or “Securities Borrower”). The simplest form of an

equity finance transaction involves a bank lending money to a client in the form of a secured or margin

loan in exchange for the client pledging its equities as collateral for the loan. The economic result of this

basic transaction can also be achieved through other more complex transactions such as: (i) a secured

loan with a pledge, (ii) a secured loan with title transfer of equities, (iii) a stock loan, (iv) a repurchase

agreement (“repo”), (v) a sale of stock vs a futures contract, (vi) a sale of stock vs a forward contract, or

(vii) a sale of stock vs an equity swap.


35.        While the nature of such transactions may vary in complexity, technical detail, and basic form,

they are all similar in certain fundamental respects:


      i.        The initial owner of the equities (the Securities Lender) may generate cash or other assets
                from the equities for the duration of the transaction; and,



41
  A payment agent is a third-party company appointed by a listed corporation to manage the record keeping and
payment of dividends and any other similar corporate actions.

42
  See, for example, ED&F Man’s response to written questions from the FCA, confirming the transactions in
question were undertaken by ED&F Man’s Equity Finance Desk, ED&F-00443887.


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      ii.        The Securities Lender retains economic exposure to changes in the price of the equities
                 during the life of the transaction.

36.          The choice of transaction to undertake is based on a range of factors, including:


      i.         Legal or regulatory restrictions - Pension funds, for example, may be permitted to

                 undertake stock lending but prohibited from engaging in other types of transactions.

      ii.        Pricing dynamics - Market participants constantly monitor pricing disparities in different

                 markets and try to generate financing spread (i.e., premium) by borrowing in a transaction

                 with a lower borrowing cost compared to the lending transaction.

      iii.       Tax considerations - Tax treatment of financing transactions varies by transaction type and

                 jurisdiction. For example, countries may have specific tax rules which only govern stock loan

                 transactions but do not apply to other types of financing transactions.

      iv.        Regulatory capital and accounting – Recognition rules depend on the type of financing

                 transaction. For example, if the Securities Lender engages in a sale of stock versus a futures

                 contract transaction, accounting rules may result in the equities being treated as disposed of

                 for accounting purposes. Disposed securities do not appear on the Securities Lender’s

                 balance sheet. In contrast, in repo or stock loan transactions, the equities typically remain on

                 the Securities Lender’s balance sheet. 43

37.          In the following section, I describe the basic features of stock loans, forwards, and futures

because they are the three types of equity financing transactions that were used in the transactions that

are relevant to this matter. As I explain in later sections of this report, it is my opinion that the parties in

this matter used these transactions in ways that market participants would neither consider normal nor




43
   Accounting rules on the treatment of equities on the Securities Lender’s balance sheet for various financing
transactions during the Relevant Period are explained in the application guidance for financial instruments, IAS 39
Financial Instruments: Recognition and Measurement. See, https://www.frc.org.uk/getattachment/915560dd-
82f1-4cee-add5-07591d976666/2017-01-IAS-39-AG-Blue-book_CR.pdf, accessed December 15, 2021.


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arm’s-length. The circularity of these transactions led to the parties ignoring many of the commercial

considerations that are typical in such transactions.


                    1.       Definition of a Stock Loan Transaction

38.        The International Securities Lending Association (“ISLA”) is an industry association which

represents the interests of “securities lending and financing market participants across Europe, Middle

East and Africa.” 44 One of ISLA’s initiatives is the publication of the Global Master Securities Lending

Agreement (“GMSLA”), a widely used industry-standard securities lending agreement, that is used by

the vast majority of market participants to undertake stock lending transactions. 45


39.        A stock loan (or securities loan) is a financing transaction in which one party (Securities Lender)

transfers legal title of a security or basket of securities to another party (Securities Borrower) for a limited

period of time, in exchange for collateral that can either be in the form of cash or other securities. 46 Most

securities lending transactions are structured to give the Securities Borrower legal title to the securities

for the life of the transaction, even though, economically, the terms of such transactions more closely

resemble a loan.


40.        The Securities Lender is typically compensated by way of a fee, “borrow-fee”, which is

generally agreed upon before the transaction, along with any interest due related to the loan. In Europe,

both amounts are charged pursuant to provisions in the GMSLA. Generally, the Securities Lender is




44
     See, https://www.islaemea.org/, accessed December 19, 2021.
45
     See, https://www.islaemea.org/gmsla-title-transfer/, accessed December 19, 2021.
46
  International Securities Lending Association, “Global Master Securities Lending Agreement”, available at
https://www.islaemea.org/wp-content/uploads/2019/03/GMSLA_2010_amendments_July_2012-1.pdf, accessed
December 23, 2021, pp. 3 and 5.


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entitled to receive payments calculated by reference to any dividends or coupons paid by the issuers of

the transferred securities during the life of the transaction. 47


41.         Transfer of legal title allows the Securities Borrower to use the loaned securities in other

transactions, such as another stock loan or the settlement of an outright trade. As a result, stock loans are

often linked to short-sale transactions, which involve the sale of loaned securities by the Securities

Borrower immediately after borrowing them. The Securities Borrower hopes to earn a profit by selling

the securities and buying them back at a lower price.


42.         At the end of the transaction, the Securities Borrower returns the loaned securities to the

Securities Lender, while the Securities Lender returns the collateral to the Securities Borrower. In a stock

loan transaction, the Securities Lender retains market exposure to the loaned securities at all times,

because the Securities Borrower’s obligation is only to return the loaned securities, regardless of any

changes to their value during the life of the transaction.


43.         Securities lending involves exposure to various risks, including gap risk, which is the risk of a

significant change in the price of securities (an increase or decrease) that would leave one party to the

stock loan with unsecured credit exposure to the other in the event of a default. Under the GMSLA,

theoretically, the exposed party can request a margin adjustment any time there are changes in the value

of either the loaned securities or the collateral, but in practice, most market participants operate a daily

review and margin adjustment process. In spite of the risk of gap exposure, most market participants

measure their gap risk over a longer period of time (usually three to five days) because a counterparty’s

failure to immediately take steps to remedy a price change can be caused by various other unrelated

reasons, such as operational errors and processing delays and is typically not treated as an immediate




47
     Ibid, p. 10.


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default. Generally, a default process starts only after a prolonged or unexplained failure to post additional

margin.


44.       The expected amount of gap risk in securities lending is typically calculated by reference to

value-at-risk (“VAR”), which is a measure of the “amount of potential loss that could happen in an

investment portfolio over a given period of time.” 48 VAR calculations are performed using historical

data on security price volatility. To illustrate, if a stock loan’s 5-day 99% VAR is $10 million, this means

that, based on historic share price changes, there is a 1% chance of losses exceeding $10 million over a

5-day period. It is unusual for securities lending transactions to explicitly reference VAR calculations,

but they are usually used by credit or risk departments to calibrate the appropriate margin levels and

haircuts that are included in the GMSLA. Collateral, margins, and haircuts are described hereafter.


                  2.       Market Standard Collateral Amounts in International Stock Loan
                           Transactions, Margins, and Haircuts

45.       Reflecting the existence of gap risk, the amount of collateral posted in international stock lending

transactions depends on the underlying securities. Liquidity and volatility are the two main driving

factors that market participants consider when determining the amount of collateral to post in a

transaction. Generally, the party requesting the loan provides collateral to the party providing the loan.

The parties agree on the amount of collateral to be given to the Securities Lender as well as the required

daily overcollateralization loan amount the Securities Borrower needs to maintain. For example, if a

bank wants to borrow stocks from a large pension fund and the parties agree to 105%

overcollateralization, the bank is required to post and maintain collateral with a value of 105% of the

loaned securities’ market value. The amount in excess of 100% of the loaned securities’ market value,

5% in this example, is referred to as “margin”. Similarly, if a party wants to finance a stock position, the

amount available to borrow is usually lower than the loaned securities’ market value. The amount below


 See, https://corporatefinanceinstitute.com/resources/knowledge/trading-investing/value-at-risk-var/, accessed
48

December 23, 2021.


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100% of the loaned securities’ market value is referred to as a “haircut”. In general, compared to a single

stock loan, a diversified portfolio has lower volatility, which in turn leads to lower haircut requirements

for a diversified portfolio.


46.      Margins and haircuts in securities lending transactions typically range from about 2% for high

quality government bonds to between 5% and 20% for liquid listed securities and depend on the markets

in which those securities are traded. For example, U.S. securities have lower margin requirements

compared to emerging markets’ securities. Security concentration also affects margin and haircut

amounts. Thus, a single share requires a higher margin than a basket of 50 shares. Finally, liquidity also

affects margins and haircuts, with illiquid shares attracting higher margins than liquid ones. In the wake

of the 2008 financial crisis, margin and haircut amounts have increasingly been recalibrated upward,

through a combination of regulatory action and market participants’ changing risk appetite. 49 Various

new regulatory requirements “limit the amount of financing that can be provided against a given security

and minimum standards on cash collateral reinvestment.” 50


                 3.       Valuation of Securities in Stock Loans

47.      The securities in a stock loan are typically marked-to-market daily. Under the standard GMSLA,

transactions are usually subject to two-way margin terms, meaning the agreement anticipates margin

transfers between parties in both directions when net exposures exceed a specified threshold. 51 Daily




49
  See, Financial Stability Board, “Strengthening Oversight and Regulation of Shadow Banking: Regulatory
Framework for Haircuts on Non-Centrally Cleared Securities Financing Transactions”, available at
https://www.fsb.org/wp-content/uploads/r_141013a.pdf?page_moved=1, accessed December 19, 2021, p. 8.
50
  See, Financial Stability Board, “Strengthening Oversight and Regulation of Shadow Banking: Policy
Framework for Addressing Shadow Banking Risks in Securities Lending and Repos”, available at
https://www.fsb.org/wp-content/uploads/r_130829b.pdf, accessed December 19, 2021, p. 2.
51
  International Securities Lending Association, “Global Master Securities Lending Agreement”, available at
https://www.islaemea.org/wp-content/uploads/2019/03/GMSLA_2010_amendments_July_2012-1.pdf, accessed
December 23, 2021, pp. 12 - 13.


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margin transfers are “calculated on the basis of the current mark to market exposure of the [trades]. 52 In

simple terms, the market values of both the securities lent and the collateral provided are determined each

day and a transfer amount is calculated. The transfer amount is the amount of collateral to be added or

returned to ensure that the ratio of the market value of the securities to the market value of the collateral

matches the haircut that was originally agreed to.


48.      In my experience, traders do not typically talk about the value of the shares and instead focus on

terms related to the number of shares, interest rates and spreads, and dividend component percentages.

Matters about collateral (such as haircut, eligible collateral, and collateral concentration limits) and

adjustments for corporate actions are normally negotiated at the time of execution of the overall GMSLA

but not as part of an actual trade. 53


49.      In a securities lending transaction, the securities are priced subject to terms in the GMSLA. 54 In

my experience, pricing of the securities involved in the stock lending transaction occurs at the time of the

trade and is continually monitored thereafter on a daily basis. Pricing is determined using an agreed

pricing source, typically third-party data vendors such as Bloomberg and Refinitiv Eikon, 55 or a panel of

dealers named in the GMSLA. Under the GMSLA’s standard lending agreement, the requirement to

deliver cash or other collateral is a function of the market value of the shares at the time of transfer. Any




 See, Committee on the Global Financial System, “CGFS Papers No 36: The Role of Margin Requirements and
52

Haircuts in Procyclicality” available at https://www.bis.org/publ/cgfs36.pdf, accessed December 19, 2021, p. 6.
53
  For example, if a merger, rights issue, redemption, or similar corporate event occurs during the life of the
securities loan, then the parties need to agree on whether and how to make an adjustment.
54
  International Securities Lending Association, “Global Master Securities Lending Agreement”, available at
https://www.islaemea.org/wp-content/uploads/2019/03/GMSLA_2010_amendments_July_2012-1.pdf, accessed
December 23, 2021.
55
  Refinitiv Eikon, previously known as Reuters, is a third-party data vendor offering a trading platform that is
widely used in the finance industry to review historical financial data.


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deviation from a current and arm’s-length market value would inevitably expose one of the counterparties

to credit risk.


                  4.      Settlement Risk in Stock Loans

50.      The Securities Lender generally has settlement exposure to the Securities Borrower. Specifically,

this is the risk that the Securities Borrower fails to transfer the cash collateral in return for the securities

at the start of the transaction or fails to return the shares when the Securities Lender returns the cash

collateral at the end of the transaction. The Securities Borrower has the equivalent but opposite settlement

exposure to the Securities Lender.


51.      This settlement exposure is typically mitigated by delivery versus payment (“DVP”) settlement,

a process which guarantees the transfer of securities if and only if payment is received. 56 DVP settlement

is generally managed by the custodian responsible for safe custody of the securities and allows the

Securities Borrower to keep the shares if the Securities Lender does not repay borrowed cash, and vice

versa. DVP settlement is also used in a range of other scenarios where two counterparties have agreed to

transfer securities in return for cash and most buys and sells are also settled via DVP processes.

52.      Typically, the parties would agree on a settlement custodian to manage the DVP settlement and

then the cash provider would place the cash into its account with that custodian. Likewise, the securities

provider would place its securities into its account with that custodian. The custodian checks that both

parties have agreed the terms to the trade and that these terms match it (generally these are booked as

expected or confirmed trades in the custodian’s system) and then once it can see a matched trade and the

presence of cash and securities it will give effect to an instantaneous transfer. Any failure, which should




56
   The Bank for International Settlements defines DVP as a framework where “the securities settlement system
adheres to the principle of delivery versus payment (DVP), that is, if it creates a mechanism that ensures that
delivery occurs if and only if payment occurs.” See, The Committee on Payment and Settlement Systems of the
Central Banks of the Group of Ten Countries, Delivery versus payment in securities settlement systems, available
at https://www.bis.org/cpmi/publ/d06.pdf, accessed December 15, 2021, p. 15.


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not be possible in theory, would generally be indemnified by the custodian and the parties know that the

custodian will only remove their cash or securities when they have already received the corresponding

amounts from the other party.




                  5.       Stock Loans and Dividend Withholding Taxes

53.      Stock loans provide a means of transferring shares between parties in the market and such stock

loans will often extend over the Record Date of one of more of the loaned securities.


54.      The parties to the stock loans will often have a different tax outcome on the receipt of the same

dividend. This could be for many reasons including different country of residence, legal form or a special

status. For example, pension funds are often granted tax exemptions under relevant laws or double

taxation agreements.


55.      Many countries, like Denmark, levy dividend withholding taxes and so market participants need

to understand the impact of such taxes on the Securities Borrower and Securities Lender and take them

into account when arranging and executing stock loans. 57


56.      An investor’s liability for dividend withholding tax depends on relevant tax rules, and, in

particular, on whether a double taxation agreement exists between the investor’s country and the country

in which the investor’s income arises, which is typically the country of residence of the share issuer.

Some special categories of investor, like pension funds, may have rights to special treatment under double

taxation treaties. Depending on the tax treaty, a foreign investor may be able to file a reclaim to obtain a

refund of the difference between the dividend withholding tax borne and the exemption or reduced rate



57
   A dividend withholding tax is “tax on income imposed at source, i.e., a third party is charged with the task of
deducting the tax from certain kinds of payments and remitting that amount to the government. Withholding taxes
are found in practically all tax systems and are widely used in respect of dividends, interest, royalties, and similar
tax payments. The rates of withholding tax are frequently reduced by tax treaties.” See,
https://www.oecd.org/ctp/glossaryoftaxterms.htm, accessed December 22, 2021.


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provided for in the relevant double taxation agreement. In other instances, investors may be able to file

forms which indicate their tax status and request a reduced withholding tax rate be applied on the original

dividend (this is known as ‘relief at source’). 58


                    6.       Basic Definition of Forwards and Futures

57.        A forward contract or ‘forward’ is a “contract agreement to buy or sell an asset at a specific price

on a specified date in the future” 59. Examples of assets that a party can agree to buy or sell include stocks,

commodities, interest rates, and currencies. Forwards typically do not trade on centralized exchanges

and are viewed as over the counter (“OTC”) arrangements. Since the forward contract refers to the

underlying asset that will be delivered on the specified date, it is considered a type of derivative.” 60 The

price that the parties agree to in the contract is referred to as a “forward price”. The forward price is

primarily derived from the current market price of the underlying asset (or spot price), a hypothetical

interest return, and an amount representing any expected dividends during the term of the forward. The

theoretical contract price can simply be expressed and thought of as follows: 61

                    Forward Price = Current Market Price plus Interest minus Expected Dividends


58.        One way for the person writing the forward contract to hedge themselves is to borrow money to

buy the shares and hold them until the completion of the forward contract before delivering them to

complete the contract. The person would then have interest-like funding cost on the value of the shares




58
     For example, form W8-BEN is the standard form used by foreign investors to request relief at source in the U.S.

 See, https://corporatefinanceinstitute.com/resources/knowledge/trading-investing/derivatives/, accessed
59

December 23, 2021.
60
   See, https://corporatefinanceinstitute.com/resources/knowledge/finance/forward-contract/, accessed December
20, 2021. A derivative is a financial contract “whose value is linked to the value of an underlying asset”.
Derivatives are used for various purposes including hedging and obtaining market access. See,
https://corporatefinanceinstitute.com/resources/knowledge/trading-investing/derivatives/, accessed December 20,
2021.
61
     This ignores dividend withholding tax as well as normal commissions, bid-offer spreads etc.


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purchased but would receive any dividends paid during the life of the forward. The equation above is an

expression of these economics.

59.      A forward contract also specifies other terms including the underlying asset, the amount of the

underlying asset to be exchanged, the contract’s expiration date, and contract settlement terms. Generally,

a forward contract is settled by physical delivery of the underlying asset. A forward can be used as a

hedge against market uncertainty because the contract establishes a fixed price to buy or sell the

underlying asset in the future.

60.      Like a forward, a futures contract or ‘future’ is “an agreement to buy or sell a specific quantity

of a commodity or financial instrument at a specified price on a particular date in the future.” 62 A futures

contract specifies the quantity, delivery date, and delivery location of the underlying asset. Contracts are

usually settled with cash or closed out, as explained below, and rarely involve physical delivery of the

underlying asset. The principal difference between futures and forwards is that unlike forwards, futures

are standardized and trade on centralized exchanges. Exchange-trading provides anonymity of market

participants’ identities and credit disintermediation (both parties in the transaction are exposed to credit

risk with the clearing counterparty and not with each other) and makes it possible for a party to close out

a position by taking the opposite side of a contract since the buyer of a contract can sell the same contract

and vice versa. 63


61.      Forwards can be used in equity finance transactions because they hedge price risk without

immediately transferring legal ownership of securities. In practice, however, they are much less common

than futures because they are not exchange-traded; they are bilateral contracts between two counterparties

under a bespoke agreement. The existence of a bilateral contract obligating the seller to deliver the shares



 See, https://www.investor.gov/introduction-investing/investing-basics/glossary/futures-contract, accessed
62

December 20, 2021.
63
  Since an exchange acts as a central counterparty to all futures, an open futures position can be closed by
entering into the opposite position with any market participant and not just the one with whom the open position
was executed.


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to a specific counterparty on a specific date makes forwards less preferable to most market participants

because they bear various risks including credit, settlement, and tax recharacterization risks. 64


62.        Futures are more commonly used in equity finance transactions because they are independent

contracts which can be closed separately from transactions involving the underlying shares. As a result,

a party in a transaction can purchase a specified quantity of shares (maintain a ‘long’ position in the

shares) and sell the same quantity of shares in the futures market (maintain a ‘short’ position in the shares

via futures). The party maintaining a long-stock short-future position is not obliged to sell shares to any

specific buyer. As a result, the party legally owns the shares (via the long position in the shares) and fully

hedges the market price risk of the trade. Note that, unlike a forward, a future can easily be closed out by

entering into an offsetting future transaction, such that the owner of the shares is under no current

obligation to dispose of the shares to any specific person. The other key attraction of futures is that the

credit risk exposure under a future is against the clearing counterparty (generally a highly regulated and

creditworthy institution) and not the person who has taken the other side of the futures contract.


           C.       Dividends and Withholding Tax in Equity Finance Markets

                    1.      The Pricing and Economics of Equity Finance Transactions

63.        The following are the typical economic components in pricing an equity finance transaction:


      i.        Price Returns – This refers to the difference in price of the underlying equities at the end of

                the transaction compared to the start.          In equity financing transactions, the Cash

                Borrower/Securities Lender is exposed to price returns. To illustrate, in the basic secured

                loan transaction example, the Cash Borrower does not transfer the equities to the Cash Lender

                at any point during the transaction. Under agreed transaction terms, the Cash Borrower is



64
  Tax recharacterization risk is the risk that starting from the date parties enter into a forward contract, a tax
authority might deem the counterparty to be the owner of shares involved in the contract. From the tax authority’s
perspective, the counterparty would be the tax owner of the real dividend, and not the original party.


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             instead required to repay the fixed cash loan principal irrespective of the price of the equities

             at loan maturity. Therefore, the Cash Borrower remains fully exposed to price returns.

             Similarly, in a sale of stock versus a futures contract transaction, the Cash Borrower disposes

             of the equities at the start of the transaction, eliminating the Cash Borrower’s exposure to

             price movements in the equities. The futures contract requires the Cash Borrower to buy the

             equities at a fixed price on the future’s expiration date irrespective of the market price, thus

             restoring the Cash Borrower’s exposure to price returns. 65


     ii.     Financing Costs - The Cash Lender expects to earn interest on the loan made to the Cash

             Borrower. In a simple margin loan, the amount of interest charged is determined in the same

             way as a normal interest-bearing loan. In a stock loan or repo, the interest the Cash Lender

             earns is generally calculated in an identical way to the simple margin loan, but then embedded

             into the transaction. In a stock loan, the interest is included in a fee paid by the Cash

             Borrower to the Cash Lender. In a repo transaction, the price at which the equities are

             repurchased is calculated as the original sale price plus interest for the duration of the

             contract.


     iii.    Dividends - Generally, equity finance transactions are structured to ensure that the economic

             benefit of any real dividends paid over the course of the transaction are passed to the

             Securities Lender. In the case of a simple loan secured with a pledge, the Securities Lender

             retains legal and economic ownership of the securities, and therefore directly receives the

             real dividend. For other transactions, a different party may receive the real dividend, so the

             Securities Lender needs to be compensated for the missed real dividend. This is usually by




65
  See, for example, Eurex Contract Specifications for Futures Contracts, Subpart 1.6: Contract Specifications for
Futures Contracts on Shares, available at
https://www.eurex.com/resource/blob/1512866/b86228baaf963f5c1b722d59f3ddd9e0/data/2019_04_08_cs_1_his
tory.pdf, accessed December 30, 2021.


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                 way of a contractual payment known as a dividend compensation payment. Alternatively,

                 the real dividend can be included in the overall pricing of the contract, as in the case of a

                 futures contract where compensation payments are absent, but the contract’s price reflects

                 the market’s expectation of real dividends to be paid during the life of the contract.


       iv.       Other Corporate Actions – The occurrence of certain corporate events such as mergers,

                 rights issues, and bonus issues can also affect the pricing of equity financing transactions.

                 Such events are outside the scope of the claims in this matter, and accordingly I do not

                 consider them.


                     2.      The Importance of Dividends in Equity Finance Transactions

64.          Share prices can be viewed as representations of the value of future cash flows earned from

holding the shares. These future cash flows are primarily in the form of dividends. Therefore, a crucial

component of pricing for any equity finance transaction is understanding the transaction’s impact on the

right to dividends.


65.          While the dividend rate paid by most companies is relatively low, 66 any dividend compensation

payments are typically an order of magnitude larger than the interest on the loan because securities

financing transactions are generally short-term, resulting in low interest amounts.


                     3.      Differential Tax Treatment of Various Participants in the Market and Its
                             Impact on Pricing

66.          Tax, a fundamental component of all equity transactions, engenders both opportunities and

pitfalls for the unwary, and as such requires active consideration and management.




66
     In my experience, average dividend yields are around 2%, but they can vary significantly across issuers.


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67.          By way of example, in the U.S., dividend tax withholding rates can range from 0% to 30%

depending on an individual’s tax residency status:


      i.         0% - Many U.S. investors are exempt from a dividend withholding tax.
      ii.        15% - Most foreign investors from countries with double tax treaties with the U.S. may
                 reduce their withholding tax rates to 15%.
      iii.       30% - The default rate generally applies to foreign investors from countries without tax
                 treaties with the U.S. (Cayman Islands, for example) or investors who have not fulfilled
                 certain obligations, including, for example required paperwork, or in more recent years,
                 holding period and hedging requirements.

68.          Understanding these widely varying tax treatments is crucial to properly pricing equity finance

transactions. Like all other financial markets, the agreed compensation in these financing transactions

was driven by market supply and demand consideration and typically corresponded with levels at which

no type of investor (U.S. or foreign) paid an actual tax. The most important factors in the pricing of these

transactions were:


      i.         Market liquidity – For example, during the Relevant Period, financial markets in Germany

                 and the U.S. were highly liquid. In contrast, Denmark was an illiquid market.

      ii.        Perceived tax risk – Typically, the original Securities Lenders are indifferent to the

                 transaction’s tax treatment and do not take any tax risk in the transaction. If a Securities

                 Lender negotiates a dividend compensation payment of 91%, most standard agreements

                 provide for the payment of this amount regardless of the ultimate net dividend received by

                 the Securities Borrower. The result of such terms is that the Securities Borrower, the real

                 dividend recipient, becomes exposed to tax risk. A Securities Borrower who expects to earn

                 a gross real dividend (100%) but ends up paying a withholding tax incurs a loss from the

                 requirement to pay the agreed on 91% dividend compensation.

                 If the hypothetical scenario described above occurred in Denmark, a Securities Borrower

                 would be required to pay 91% dividend compensation even if a tax credit reclaim was



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                  ultimately not obtained. The withholding of the 27% Danish dividend withholding tax would

                  result in a net dividend of 73%, which translates to an incurred loss of 18% of the gross

                  dividend (i.e., 91% -73% = 18%). 67

                  The market's view of the certainty of a financing transaction’s tax treatment significantly

                  impacted the level of dividend compensation payments.

      iii.        Other market and credit risks – The Cash Lender typically takes on some credit risk. In

                  addition, certain financing transactions also expose the Cash Lender to market risk in the

                  event a transaction fails due to a default. Cash Lenders require compensation for these risks,

                  which in turn impacts overall pricing levels.


             D.       Dividend Compensation Payments Are Not Real Dividends

69.          It is well understood in equity finance markets that a real dividend is different from a dividend

compensation payment.


70.          A real dividend involves the direct payment of a dividend from a share issuer, and results from

being a shareholder of record on the dividend Record Date. A real dividend may pass through one or

more custodians or sub-custodians, but it derives directly from the rights which the recipient owns in the

underlying shares on which the real dividend is paid.


71.          A dividend compensation payment (or manufactured dividend), on the other hand, is a contractual

payment which arises under a contract for the sale or transfer of securities. It is representative of the

amount of a dividend on the underlying shares but is not, in fact, a real dividend. Dividend compensation

payments can arise under various transactions, including stock loans, repos, or the sales of securities.

Subject to the caveat that I include a discussion about whether the Solo trades actually occurred, the


67
  18% loss = 91% dividend compensation – 73% net dividend; 73% net dividend = 100% gross dividend – 27%
Danish dividend withholding tax. Traders typically refer to these percentages using terms such as “all-in-level of
91” or “18 dividend points trade loss if the withholding tax reclaim is not received”.


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Market Claims which arose in all the ED&F Man and Solo Appendix C Cum-Ex Trades involved

purported dividend compensation payments.


72.        Since real dividends are payments derived from rights granted by owning shares in a company,

the starting point of most laws is to assume that real dividends can only be received directly from a

company. Dividend compensation payments are a contractual right that can be received in several formats

and under various types of contracts.


73.        Certain jurisdictions have detailed rules on the treatment of dividend compensation payments.

These jurisdictions require payers of such payments to withhold dividend tax and also include provisions

for the recipients to obtain tax credits. The U.K. Manufactured Overseas Dividend rules were one of the

most advanced and complicated examples. During the Relevant Period during which the Appendix C

Cum-Ex Trades occurred, it was well understood by market participants that there was a significant

difference between receiving a real dividend and receiving a dividend compensation payment. For

example, U.K. guidance on manufactured dividend rules contain the following explanation: 68


           Manufactured payments also occur where a dealer sells securities ‘cum div’ (with
           dividend) but delivers securities that are ‘ex div’ (without dividend). The sum that the
           dealer pays to the buyer to compensate it for not receiving the real dividend is a
           manufactured payment. The sales that give rise to such payments are often ‘short’
           sales… as the dealer does not own the securities at the time of selling them, it is required
           to acquire them between the date of the bargain and the delivery date and may only be
           able to acquire ‘ex div’ stock.

74.        The two most common pitfalls an entity in a financing transaction can encounter are:


      i.       The risk that a compensating party agrees to pass on a dividend compensation payment of
               85% or 91% of the real dividend to a client but then discovers that it is subject to a 27%



68
  See, Her Majesty’s Revenue and Customs Corporate Finance Manual, published April 16, 2016, updated
November 23, 2021, available at https://www.gov.uk/hmrc-internal-manuals/corporate-finance-manual/cfm74430,
accessed December 11, 2021.


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                 withholding tax on the real dividend, which would result in the compensating party only
                 receiving a net dividend of 73% and incurring a trading loss on the transaction: or,
      ii.        The risk that a market participant borrows shares from an investor who is entitled to receive
                 100% of a real dividend and pays the investor a dividend compensation payment of 85% per
                 the transaction terms. The market participant would be concerned about receiving indemnity
                 claims from the lending party for the missing 15% which represents an amount the borrowing
                 counterparty has already paid the relevant tax authority and cannot recover.

75.         Therefore, by default, many banks and custodians only contractually accept responsibility for

passing on the net receipts that they actually receive as a dividend compensation payment. These entities

make no warranties or indemnities in respect of the tax treatment or tax credits linked to such payments.

Only the largest hedge funds or financial counterparties can get their lenders to agree to more generous

terms. Even then, careful procedures must be implemented to monitor the inventory position of the banks’

clients.


76.         Generally, market participants are wary of receiving dividend compensation payments instead of

real dividends. In my experience, market participants were highly skeptical of situations that appeared

to suggest that a dividend compensation payment was the same as a real dividend.


            E.       A Description of Cum-Ex Transactions

                     1.      Cum-Dividend vs Ex-Dividend Transactions

77.         In the days leading up to the Ex-Date, shares are said to trade cum-dividend (derived from the

Latin word, cum, for “with”). Once the market is reasonably satisfied that a company will pay a real

dividend, the price of the company’s shares typically reflects this expectation. For instance, the price of

a share worth DKK 100 with a real dividend expectation of DKK 5 per share is expected to be DKK 105

immediately before the Ex-Dividend Date.


78.         On the Ex-Date, there is no longer any expectation that a buyer will receive the announced real

dividend, so, all else being equal, the share price would be expected to drop to DKK 100. The shares are

then said to be trading “ex-dividend”.


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                    2.       Cum-Ex Transactions

79.        A so-called Cum-Ex transaction is one where the transaction terms are agreed before the Ex-

Dividend Date, but the settlement terms are modified so that settlement of the transaction is agreed to be

after the Record Date. This means the transaction is a Cum-Dividend sale with Ex-Dividend settlement,

hence the name Cum-Ex.


80.        In a Cum-Ex transaction, the transaction date and agreed price terms typically would suggest that

the buyer of the securities will receive the real dividend. However, the settlement cycle is extended so

the buyer of the securities does not receive the shares until after the Record Date. The buyer of the

securities is not the registered holder on the Record Date and does not receive a real dividend from the

company which issued the shares.


81.        The terms and design of the transaction require the seller of the securities to compensate the buyer

for the missed real dividend through a dividend compensation payment. Using the previous example, if

party A agreed to purchase shares from party B for DKK 105 on a Cum-Ex basis, by the time party A

received them they would be worth DKK 100. As a result, Party A would expect a manufactured payment

of DKK 5 from Party B. 69


                    3.       Origins of “Cum-Ex” Transactions Which Resulted from Settlement Fails

82.        Across equity and other financial markets numerous settlements fail daily. Settlement failure can

occur because banks or custodians make errors which need to be corrected or because counterparties

default. Reasons for defaults range from complete credit failure to simply missing the cut-off time for

the relevant market. In nearly all circumstances, failed trades are simply reattempted the next day and

generally settle a maximum of one or two days later. Sometimes the counterparties involved may agree




69
     For simplicity, this example ignores dividend withholding tax consequences.


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to compensate each other for a loss in these circumstances, although such compensation is relatively rare

due to the small financial impact of a one-day delay in settlement.


83.         In a situation involving a buyer’s purchase of shares in a normal cum-dividend purchase that

subsequently fails, it is customary for the seller to make a compensation payment to the buyer via a

Market Claim. This compensation amount is typically an amount equal to the net real dividend received

by the buyer (calculated after deducting any dividend withholding tax). It is my understanding that the

earliest examples of Cum-Ex transactions arose as a result of accidents due to settlement failures.


84.         It would be highly unusual for the seller to make any representations or warranties to the buyer

to protect or indemnify them from potential consequences of receiving a dividend compensation payment

instead of the real dividend in such circumstances and large market participants would invest considerable

time and care to avoid settlement fails close to dividend Record Date.


                    4.      Cum-Ex Transactions Do Not Require Dividend Compensation Payments

85.         Another point to highlight about Cum-Ex transactions is that a dividend compensation payment

is not required. This payment arises only because of a consensual choice made by the parties to the cum-

ex transaction to ‘mis-price’ the purchase transaction in the first place.


86.         To illustrate, assume the price of shares on Ex-Dividend basis in Company C is DKK 100.

Further, assume Company C has already declared a real dividend of DKK 5 per share to be paid to holders

on the Record Date.


87.         The following two transactions are economically equivalent to each other:


      i.        Party A agrees to sell 100 shares of Company C to Party B for DKK 105 each (the cum-
                dividend price) on the business day before the Ex-Dividend Date, with settlement occurring
                on the first business day after the Record Date, and makes a dividend compensation payment
                of DKK 5 to Party B.
      ii.       Party A agrees to sell 100 shares of Company C to Party B for DKK 100 each (the ex-
                dividend price) on the business day before the Ex-Dividend Date, with settlement also

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              occurring on the first business day after the Record Date. In this scenario, no dividend
              compensation payment will be made.

88.      In both scenarios, Party B acquires 100 shares in Company C for the net price of DKK 100 per

share and the shares are delivered on the first business day after the Record Date.


89.      There is no requirement for parties in a financing transaction to include dividend compensation

payments. Even when parties agree to include dividend compensation payments in a transaction, there is

no objective way of determining what amount that dividend compensation payment would have been.

The existence and amounts of dividend compensation payments are determined by the terms of the

contract between the parties, which is influenced by market practice, and other pertinent facts and

circumstances.


90.      Agreeing to deliberately settle the trades with a settlement period longer than the market standard

settlement cycle (i.e., a T+4 basis instead when the market standard was T+3), as was the case with the

Appendix C Cum-Ex Trades, indicates that the contracts were bespoke, over-the-counter (“OTC”)

transactions. There was no economic requirement for the contracts to be priced on a cum-dividend basis

when they in fact were ex-dividend purchase contracts, and there was no requirement that the parties

agree to make dividend compensation payments in connection with these transactions.


VII.     OPINIONS AND BASES FOR THE OPINIONS

91.      In this section, I provide my overall opinions and basis for the opinions. Based on my review

and analysis of the evidence, I have concluded the following.


         A.      Opinion 1: All the ED&F Man-Related Appendix C Transactions Were Cum-Ex
                 Transactions, Which Means the ED&F Man Pension Plans Did Not Receive Any
                 Real Dividends

92.      The schedule in Appendix C contains a full list of the relevant terms related to the ED&F Man

Cum-Ex Trades. These transactions were claimed to have caused a “real” dividend event, which, in turn,

gave rise to the tax reclaim submitted by the ED&F Man Pension Plans to SKAT. Included in this


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schedule is the supporting documentation that I reviewed in detail, which includes trading emails and

trade confirmations that are relevant to the Appendix C Cum-Ex Trades. By reference to independent

sources, I also identified the relevant Announcement, Annual General Meeting of the Directors (“AGM”),

Ex-Dividend, Record, and Payment Dates. 70 As this schedule shows, in each instance, it is evident the

parties agreed to the transactions before the Ex-Dividend Date and settled them after the Record Date,

making them Cum-Ex transactions.


93.       These Appendix C transactions are, therefore, Cum-Ex purchases and the parties who purchased

the securities would not be the holders of record on the Record Date. Thus, the ED&F Man Pension

Plans who purportedly purchased the securities could not have received real dividends.


          B.       Opinion 2: The Only Reason to Participate in The Appendix C Cum-Ex Trades Was
                   to Generate a Fabricated Tax Reclaim That Was Shared by the Parties to the
                   Transactions

94.       In the following sections, I provide a detailed description of two types of transactions, which are

representative of the universe of Appendix C Cum-Ex Trades. The first trade I describe, the “Cambridge

Way - MPT Dubai COLOB 2013” transaction, 71 is referred to as an “Annex E” transaction.


95.       My discussion of the bases for Opinion 2 applies equally to all ED&F Man Appendix C Cum-

Ex trades, except for subsections 2 (“Transactions Conducted by ED&F Man Through the Ostensibly

Independent External Third-Party Inter-Dealer Brokers (“IDBs”) Were Simply Camouflage. The

Common Characteristics of the Annex E and non-Annex E Transactions Are Demonstrable”) and 3

(“The IDB Transactions Are Inextricably Linked to Each Other and Their Commonality is




70
  The relevant dates for all dividend events related to the Appendix C Cum-Ex trades were verified independently
using Bloomberg.
71
     See, Appendix C, Trade 17.


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Demonstrable”), which apply to the non-Annex E transactions only insofar as they involved external

IDBs.


96.        I generally describe the Annex E Cambridge Way - MPT Dubai COLOB 2013 transaction as a

prelude to the first basis for my Opinion 2. 72 I then provide a more detailed description of this transaction

and incorporate it in the basis of my Opinion 2 as part of a description of the general impropriety of what

ED&F admits is an improper, and in my opinion is also a fictitious Cum-Ex transaction. The Annex E

Cambridge Way - MPT Dubai COLOB 2013 transaction involved ED&F Man’s use of an internal IDB.


97.        The second transaction described in detail is the “AIG - LUTETIA TDC 2014” transaction. 73 It

provides the second basis for my Opinion 2. The AIG- LUTETIA TDC 2014 transaction involved ED&F

Man’s use of an external third-party IDB and may be described as a “non-Annex E” transaction. While

the non-Annex E AIG - LUTETIA TDC 2014 transaction is somewhat more complex than the Annex E

Cambridge Way - MPT Dubai COLOB 2013 transaction, the pertinent features of both transactions are

essentially the same.


98.        In his deposition, Mr. Hashemi, who I understand was ED&F Man’s corporate witness, attempted

to draw a distinction between Annex E trades and non-Annex E trades. He claimed that Annex E trade

packs would not include documents, e.g., SWIFT messages, showing the receipt of a dividend issued by

the company. 74 This is a distinction without a difference. In fact, none of the Cum-Ex trades shown in



72
  I am advised by counsel that the selection of bellwether cases for summary judgment purposes has not been
agreed by the parties, and that SKAT was not notified of defendants’ objection to its proposal that Cambridge
Way be a bellwether case until December 26, 2021. Therefore, I reserve the right to supplement this report to
address the agreed upon or Court-ordered bellwether cases.
73
     See, Appendix C, Trade 25.
74
  See, Hashemi Tr. Vol. 2 at 309:7-19: “Q: When you gave me a list of documents that were contained in the non-
Annex E trade packs -- do you remember that? A: Yes. Q: Were those or similar documents also contained in the
Annex E trade packs? A: So I explained that some of them would be similar. But the one that I referred to or the
ones about the dividends being received, issued from the company or in the market recall, wouldn't be in the
Annex E packs.”


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Appendix C could have resulted in a real dividend payment, since in these trades the ED&F Man Pension

Plans never held the relevant shares over the Record Date. SWIFT messages or email correspondence

showing that a manufactured dividend payment was transferred to ED&F Man are completely irrelevant

because they do not change the character of the receipt by the Pension Plans. Whether a given trade

featured a manufactured dividend payment or not has no bearing on the pertinent facts of the trade, which

have to do entirely with the question of who held the relevant shares over the Record Date. As such, the

distinction drawn by Mr. Hashemi between Annex E trades and non-Annex E trades is irrelevant and, as

I explain below, the Tax Vouchers issued on the non-Annex E trades were equally invalid and ED&F

Man should not have issued them either. In addition, as will be described in more detail later in the report,

it also makes no difference whether or not MPT Dubai held the shares because the payment that would

be made had MPT Dubai owned the shares would still have simply been a dividend compensation

payment and not the real dividend.


99.      Included in Appendix E is a full description of two other transactions which I have reviewed, and

which demonstrate the fundamental similarities of the Cum-Ex transactions in Appendix C. These

transactions are the Annex E AIG - MPT Dubai TDC 2014 transaction and the Non-Annex E Cambridge

Way - Mitsubishi COLOB 2013 transaction.


100.     The bases for Opinion 2 are the following:


                 1.      Apart from the Tax Reclaim, the Transaction Economics for the
                         Participants Were Self-Cancelling

                                  Description of the Economics of the Annex E Cambridge Way -
                                  MPT Dubai COLOB 2013 Transaction, Which Is Representative of
                                  All So-Called Annex E Transactions

101.     The circularity and self-cancelling nature of the Annex E Cambridge Way - MPT Dubai COLOB

2013 transaction by Cambridge Way LLC 401k Profit Sharing Plan (“Cambridge Way”) over the B




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Shares in the company named Coloplast A/S (hereafter ‘Coloplast’ for the issuer and ‘COLOB’ for the

shares respectively) demonstrates the basic contrivance of the scheme.


102.        The Investment Manager in this transaction was Zeta Financial Partners (“Zeta”).              The

counterparty to the transaction was an ED&F Man affiliate based in Dubai (“MPT Dubai”).


103.        Analyzing this transaction is helpful to explain several features, which are consistent across all

the ED&F Man Appendix C Cum-Ex Trades that I have reviewed. In these transactions, it is possible to

observe the steps taken by ED&F Man, Zeta, and Cambridge Way, as well as the hedging steps

undertaken by MPT Dubai. From my review of these transactions, the following features are evident:


     i.         Purchasing a security in a Cum-Ex transaction does not require any participant to have any
                shares in its possession.
     ii.        There is no necessary link between a Market Claim and a real dividend.
     iii.       The process of generating fully offsetting and circular hedging transactions was critical for
                the counterparties organizing the transactions to reduce their costs and minimize the
                difficulties of sourcing large quantities of relatively illiquid Danish shares.
     iv.        The Tax Vouchers issued and used for reclaims are fictitious and not in any way linked to
                real dividends.


104.        On October 31, 2013 Coloplast announced a proposed real dividend of DKK 7 per share. 75 This

announcement was confirmed at Coloplast’s AGM on December 5, 2013. 76 The announced real dividend

was to be paid to shareholders who were holders of record on December 10, 2013 (Record Date). Using

a market standard settlement cycle of T+3, the timing of the Record Date meant that the Ex-Dividend




75
  Coloplast Annual Report 2012/13, Oct. 31, 2013, available at,
https://www.annualreports.com/HostedData/AnnualReportArchive/c/coloplast_2013.pdf, accessed December 30,
2021, p. 10.
76
  Coloplast Announcement No. 11/2013, Dec. 5, 2013, Coloplast Investor Relations News Archive,
https://investor.coloplast.com/investor-relations/announcements-news/, accessed December 31, 2021.


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Date was December 6, 2013, because a trade executed on this date would settle on December 11, 2013,

one day after the Record Date.



105.    A timeline with the relevant dates is shown below in Figure 1. The two weekend dates do not

count in the T+N convention since T+3 refers to the third business day after the Trade Date.


                                                    Figure 1




106.    On December 5, 2013 (the “Buy Date”), Zeta, acting for Cambridge Way, approached ED&F

Man, with a request for ED&F Man to buy 500,000 COLOB shares 77 and simultaneously short 5,000

BClear Single Stock Futures over the same underlying shares . 78 Pursuant to transaction terms, the parties



77
  ED&F-00045042, at 52. The occurrence of the Trade Date on the same date as Coloplast’s final AGM is
unlikely to have been a coincidence. Had the trade been finalized prior to this date, participants would have had
to deal with the risk of the company cancelling the previously announced real dividend. Dividend cancellation is
rare, but not unheard of, and is a risk that any market participant would have been aware of. Selecting a trade
date when the real dividend was legally finalized eliminated the risk of dividend cancellation.
78
  Ibid. Each BClear Contract is an arrangement to buy 100 COLOB shares for a fixed price. 5000 Futures are
equivalent to a contract to buy 500,000 shares.


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agreed to settle the trade on T+4, December 11, 2013 (Settlement Date). Since the trade was agreed to

before the Ex-Dividend Date, at the cum-dividend price, and with settlement occurring after the Record

Date, this was a Cum-Ex transaction (hereafter referred to as the Cum-Ex Transaction or Cum-Ex

Purchase or Sale, respectively).


107.    As is evident from various emails and trade confirmations, ED&F Man, Volcafe (an internal IDB

and affiliate of ED&F), and MPT Dubai collectively arranged for MPT Dubai to take the other side of

this Cum-Ex Transaction, with MPT Dubai agreeing to sell 500,000 shares on a T+4 basis (Cum-Ex) and

buy 5000 BClear futures. 79


108.    On December 6, 2013 (the “Sell Date”), Zeta arranged for ED&F Man to enter into equal and

opposite trades, which this time involved selling 500,000 COLOB shares and buying 5,000 BClear futures

contracts. Again, MPT Dubai was on the other side of these trades. The parties agreed to settle this

transaction using the market standard T+3 settlement cycle, meaning the plan was to complete the

transaction on the Settlement Date.


109.    As summarized in the diagram below, it is evident that by the close of business on December 6,

2013, Cambridge Way and MPT Dubai had two completely offsetting futures trades and two completely

offsetting buy and sell trades that were both due to settle on the Settlement Date, essentially creating a

non-market facing circular trade. Figure 2 below illustrates the circularity of these trades.




79
  ED&F-00045042, at 53-55 (ED&F MCM buys 500,000 shares on behalf of Cambridge Way at DKK 352.80),
ED&F-00045042, at 56 (ED&F MCM sells 5,000 futures on behalf of Cambridge Way at DKK 347.22), ED&F-
00045042, at 58-59 (ED&F MCM sells 1,000,000 shares on behalf of ED&F MPT Dubai at DKK 352.80), and
ED&F-00045042, at 60 (ED&F MCM buys 5,000 futures on behalf of ED&F MPT Dubai at DKK 347.22).


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                                                Figure 2


The Circular Nature of The Cum-Ex Transactions: The Annex E Cambridge Way – MPT Dubai
                                COLOB 2013 Transaction




110.    Ignoring the immaterial commissions and clearing costs for the futures, it is evident that the

economics of the Annex E Cambridge Way - MPT Dubai COLOB 2013 transaction involved a series of

self-cancelling trades, which resulted in the generation of a tax reclaim that was shared by the parties to

the transaction.


111.    The relevant real dividend amounts in respect of the Annex E Cambridge Way - MPT Dubai

COLOB 2013 transaction were as follows:




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                                                                             DKK per share
 Gross real dividend per share                                               7.00
 Withholding tax per share (Gross real dividend x 27%)                       1.89
 Net real dividend per share (Gross real dividend minus                      5.11
 withholding tax)




112.    The Buy Date transactions and Sell Date transactions can be combined to prepare a simplified

profit and loss summary of the transactions from the viewpoint of Cambridge Way and MPT Dubai,

individually as well as from a combined perspective. Apart from the tax reclaim, Cambridge Way’s

position is equal and opposite to MPT Dubai’s since both parties are on the opposite side of each of the

four trades. 80 No external flows or risks exist for either party.



   ANNEX E CAMBRIDGE WAY - MPT DUBAI COLOB 2013 TRANSACTION PROFIT
                                 AND LOSS SUMMARY
                                    Cambridge     MPT Dubai Profit Combined ED&F
                                 Way Profit and          and Loss   Man and Client
                                 Loss (DKK Per    (DKK Per Share)   Positions (DKK
                                         Share)                          Per Share)
 Buy Date
 Cost of purchase of shares             (352.80)            352.80                 -
 Contract price under future              347.22          (347.22)                 -
 Net Buy Date Loss                         (5.58)              5.58                -
 Sell Date
 Sale proceeds from shares                347.50          (347.50)                 -
 Contract price under future            (347.52)            347.52                 -
 Sell Date loss                            (0.02)              0.02                -
 Dividend compensation (equal to             5.11            (5.11)                -
 net real dividend)
 Net pre-tax profit/(loss)                 (0.49)              0.49                -
 Tax Reclaim                                 1.89                 -             1.89
 Net profit                                  1.40              0.49             1.89




80
  These calculations ignore trade and futures-related commissions (they are immaterial), the impact of ED&F
Man fees, and the distribution of net profits between Zeta and Cambridge Way as these factors are not relevant to
understanding the economics of the overall transaction.


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113.         The following points should be noted in the way the table above is prepared:


      i.         If one party has a buy and sell trade over a fixed number of shares with both trades settling
                 on the same date, the market price of the shares is not required to determine the profit or loss
                 on the transaction. This is because no net shares are required. The profit or loss is simply the
                 arithmetic difference between the purchase and sale price of the two contracts.
      ii.        Similarly, if one party has two equal and opposite futures of the same type and maturity, the
                 profit or loss is, necessarily, the difference between the contract price of each futures contract.
      iii.       Taking points i. and ii. together, one can combine the sale price and futures contract price for
                 a sale matched by an opposite long position in a futures contract to compute the fixed gain
                 or loss under the contract as the difference between the sale price and the futures contract
                 price.
      iv.        The tax reclaim on this transaction was DKK 1.89 per share, the equivalent of the amount of
                 withholding tax on the purported real dividend received. 81

                                    The Annex E Cambridge Way - MPT Dubai COLOB 2013
                                    Transaction Bears the Hallmark Characteristics of Cum-Ex
                                    Transactions as Further Outlined in the Bases for Opinion #2

114.         As can be seen above, the parties entered into entirely circular and self-cancelling transactions.

The only real-world result of these transactions was the provision of a “tax voucher” by ED&F Man to

Cambridge Way. Cambridge Way used the Tax Voucher to claim DKK 1.89 per share of tax refund from

SKAT.


115.         ED&F Man has subsequently conceded that the Tax Voucher should have been created for this

transaction, and rightly so. 82 There are many reasons why these Tax Vouchers should not have been



81
     ED&F-00045042 (DKK 7.00 * 27% = DKK 1.89).
82
   See, ED&F Man’s Re-Amended Defence to Schedule 5T, ¶19.1: “As to subparagraphs 18 (a) (b) (c) and (d)
(the Annex E Tax Vouchers), it is admitted that ED&F Man admits that the Annex E Tax Vouchers were
inaccurate: this information was volunteered by ED&F Man in the September 6, 2019 Amended Defence (and in
particular in Annex E thereof) following a review which revealed that the relevant PPs had received a payment
which was equivalent in value to a dividend net of 27% WHT (but not the identified net dividend itself.”
See, also, Hashemi Tr. Vol. 2 at 251:18 – 252:22. For instance, Mr. Hashemi provided the following responses to
questions about the tax vouchers: “Q: Is it correct that ED&F Man’s position is that the Annex E tax vouchers
contain certain inaccuracies? A: The Annex E tax vouchers contain inaccuracies… Q: In what sense are they
inaccurate? A: Because – they were inaccurate because the pension plans weren’t due a dividend from the
company.” Volume 2 of the Deposition Transcript of Mr. Hashemi, October 8, 2021, 251:18 – 22 and 252:22 -
252:25.


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issued. I present these reasons and the Tax Voucher process in my discussion of Opinion 4. I understand

the reason ED&F Man has given for its concession of the impropriety of these transactions is that it knows

for certain that MPT Dubai did not have the shares when the latter agreed to the Cum-Ex Sale to

Cambridge Way, which means that the dividend compensation payment received by Cambridge Way

could not have been the real dividend. 83, 84


116.       In my view, it makes no difference whether or not MPT Dubai held the shares because the

payment that would be made had MPT Dubai owned the shares would have been a dividend compensation

payment and not the real dividend.


117.       Nevertheless, ED&F Man’s concession is relevant for all the other ED&F Man Appendix C Cum-

Ex Trades because it is clear to me that none of the external IDBs in the non-Annex E transactions owned

the underlying shares at the time they entered into the Cum-Ex Sales, and all participants in the order and

execution of these trades would have been aware of this at the time.


                   2.      Transactions Conducted by ED&F Man Through the Ostensibly
                           Independent External Third-Party Inter-Dealer Brokers (“IDBs”) Were
                           Simply Camouflage. The Common Characteristics of the non-Annex E
                           Transactions Are Demonstrable

                                 Description of the Economics of Non-Annex E AIG - LUTETIA TDC
                                 2014 Transaction, Which Is Representative of All Non-Annex E Cum-
                                 Ex Transactions


118.       Key elements of the admittedly improper Annex E Cambridge Way - MPT Dubai COLOB 2013

transaction (conducted by ED&F Man with an internal IDB) are fundamentally the same as those in the




83
     See ED&F Man’s Re-Amended Defence to Schedule 5T ¶ 18.7.2, ¶19.1 and Annex E.
84
  See Hashemi Tr. Vol. 1 at 14:14 – 20:3. In his deposition, Mr. Hashemi, the designated witness for ED&F Man,
also explained that the Tax Vouchers were invalid “because on the trade date, MPT Dubai did not have a
contractual right to the shares in which it sold.”


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non-Annex E AIG - LUTETIA TDC 2014 transaction (conducted by ED&F Man with external IDBs). I

provide a description of the non-Annex E AIG - LUTETIA TDC 2014 transaction below.


119.      Beginning on March 6, 2014, Acer, acting on behalf of the American Investment Group of NY

LP ED&F Man Pension Plan (“AIG”), began arranging a transaction that was superficially more

complicated than the Annex E Cambridge Way - MPT Dubai COLOB 2013 transaction. As demonstrated

below, key transaction elements and issues raised in respect of the false Tax Vouchers are fundamentally

similar in both transactions, and all the ED&F Man Appendix C transactions.


120.      On March 6, 2014, dividend distribution was approved at TDC Group AS’ (“TDC’s”) AGM. 85

The announced real dividend was to be paid to holders of record on March 11, 2014 (Record Date). Using

a market standard settlement cycle of T+3, the timing of the Record Date meant that the Ex-Dividend

Date was March 7, 2014, because a trade executed on this date would settle on March 12, 2014, one day

after the Record Date. The illustrative timeline is shown in Figure 3 below.




85
     TDC Announcement No. 7/2014, March 6, 2014.


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                                                   Figure 3




121.      On March 6, 2014, Acer’s Ms. Stacey Kaminer, acting on behalf of AIG, requested liquidity from

ED&F Man for the purchase of 2,000,000 TDC shares at DKK 52.55 each, with settlement on T+4 (a

Cum-Ex Purchase). 86 Ms. Kaminer, again acting on behalf of AIG, also submitted a request to open the

hedging short position of 20,000 BClear June futures contract for the same amount at a price of DKK

50.736. 87




86
     ED&F-00040919, at 54.
87
   ED&F-00040919 at 57. Note that the internal confirmation issued by ED&F Man to AIG states that the future
is the 21 March 2014 expiry future not the June 20, 2014 expiry. I have concluded that this was a typo because
the trade email request (ED&F-00040919, at 54), the external confirm with Mariana, and the offsetting trade with
Arian all referenced the June 20, 2014 future. In addition, the subsequent unwinding transactions were undertaken
on April 14, 2014, at which point the March 21, 2014 future no longer existed.


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122.       ED&F Man arranged a Cum-Ex Purchase of 2,000,000 TDC shares settling on date T+4 from

Lutetia Capital, acting on behalf of AIG. 88 ED&F Man arranged the short futures trade with Mariana

Capital (“Mariana”). 89


123.       On March 12, 2014, ED&F Man sold 2,000,000 TDC shares on a T+1 settlement basis to Link

Asset and Securities (“Link”). 90 On the same date, ED&F Man also purchased 20,000 BClear futures of

the June contract over the TDC shares. This transaction was executed by Arian Financial (“Arian”). 91


124.       Notably, the sale to Link and the purchase of futures from Arian were both undertaken by ED&F

Man in its own name (on a proprietary or ‘prop’ basis), meaning that in these transactions, ED&F Man

was not acting on AIG’s behalf. However, since ED&F Man did not have any TDC shares to sell to Link,

it covered the delivery under the sale to Link by allegedly re-hypothecating the shares from AIG’s custody

account on the delivery date under the Cum-Ex purchase. 92 As a result, ED&F Man had now established

its own short position in the shares that arose from its obligation to buy TDC shares at a later date and

return them to the AIG account and then hedged this exposure using the futures with Arian.


125.       Taking these transactions at face value, the parties had the following exposures:


 Transaction                            AIG Exposure                            ED&F Man Exposure
                                        Long/(Short) in number of               Long/(Short) in number of
                                        TDC shares                              TDC shares
 Cum-Ex Purchase with Lutetia            2,000,000                              -
 Future with Mariana                    (2,000,000)                             -
 Future with Arian                      -                                        2,000,000
 Sale to Link                           -                                       (2,000,000)
 Net exposure                           -                                       -

88
     ED&F-00040919, at 56, 72-75.
89
     ED&F-00040919, at 66-71.
90
     ED&F-00252021.
91
     ED&F-00252025.

 I understand from counsel that a separate expert will address certain legal issues regarding the transfer of the
92

ED&F Plans’ right, title, and interest in the shares at issue in these cases. I express no opinion as to these issues.


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126.     On April 14, 2014 the futures were unwound 93 and were replaced by a total return swap

(“TRS”) 94 between AIG and ED&F Man. 95 A TRS is a purely internal transaction with an economic

outcome similar to that achieved using futures. On this date, both AIG and ED&F Man had no net market

exposure, but AIG now had the right to receive the shares it purportedly owned that had been allegedly

re-hypothecated by ED&F Man. AIG’s exposure to the market risk in this position is passed back to

ED&F Man by the TRS, since under the TRS, AIG is short the shares.


127.     ED&F Man was still under obligation to acquire the allegedly re-hypothecated shares back for

re-delivery to AIG, resulting in ED&F Man’s short exposure to market price changes in TDC shares until

it repurchased the shares. This exposure was fully hedged by the TRS (ED&F Man is long the share price

under the TRS).



 Transaction                           AIG Exposure                           ED&F Man Exposure
                                       Long/(Short) in number of              Long/(Short) in number of
                                       TDC shares                             TDC shares
 Shares acquired via Cum-Ex            2,000,000                              -
 Purchase with Lutetia
 Total return swap                     (2,000,000)                            2,000,000
 Allegedly Re-hypothecated             -                                      (2,000,000)
 shares sold to Link which
 ED&F Man is obligated to buy
 and return
 Net exposure                          -                                      -

93
  See, for example, ED&F-00206754 where Oliver Bottomley coordinates the purchase of a range of futures
across a range of transactions and accounts to close out existing positions.
94
  In this report, we are interested in equity based TRSs although it is possible to write a total return swap on any
underlying security. A TRS is a derivative contract which is generally implemented under Global Master
Agreement with most market participants using the International Swaps and Derivatives Association (“ISDA”)
Master Agreement. In simple terms a total return swap is contract where one party agrees to pay the other all of
the gains or income on an underlying security and the other party agrees to pay any losses on that security plus an
interest like return on the notional value of the security. See for example “ISDA Legal Guidelines for Smart
Derivatives Contracts: Equity Derivatives”, available at https://www.isda.org/a/CLXTE/ISDA-Legal-Guidelines-
for-Smart-Derivatives-Contracts-Equities.pdf, accessed December 23, 2021.
95
  See, ED&F-00190456, Email from Sara Mina of ED&F Man to Stacey Kaminer of Acer and others confirming
the futures unwinds and replacement swaps.


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128.         In June 2014 ED&F Man and AIG agreed to unwind the position. Unwinding the position

required the purchase of shares by ED&F Man from an IDB, the return of shares to AIG, the sale of the

same shares by AIG to an IDB, and the simultaneous unwind of the TRS.


129.         These steps were all arranged and agreed between ED&F Man’s Sara Mina, Acer’s Alan

Goldman and Stacey Kaminer in a single email chain which clearly indicates all parties shared an

understanding of the combined client and proprietary positions held at ED&F Man. 96 Acer makes no

attempt to confirm the prices at which these unwinds will take place, highlighting the fact that Acer and

AIG were completely indifferent to the price performance of the shares because of the TRS.


130.         The only point of discussion in the email chain appears to be that ED&F Man confirmed that it

would charge AIG for two days of funding for the unwind. Ms. Mina stated that “Denmark is slightly

more efficient settlement wise than Belgium so 25% coverage should suffice.” 97


131.         I understand this email chain to mean that Ms. Mina needed to borrow a small fraction of the

shares claimed to be owned by AIG in order to unwind the positions. 98 Accordingly, the funding charge

which ED&F Man advised Acer about was related to the fact that ED&F Man would pass on to Acer the

cost of borrowing the TDC shares to complete the unwind. There appears to be no evidence that Acer

was surprised by this cost or negotiated it. It is unsurprising to me because understanding and willing




96
     ED&F00201236.
97
     Ibid.
98
     Later in this report, I discuss this settlement cycle in more detail.


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acceptance of the funding charge would clearly have been part of the overall scheme’s design from the

start. 99


132.        ED&F Man arranged a two-day stock borrow of 3,030,000 shares from Scotiabank. 100 As I

explain in more detail later in this report, this amount only represents 10% of the total TDC positions

which ED&F Man needed to settle across all of its Acer related clients on June 14, 2014.


133.        The only effect AIG’s extended ‘ownership’ had was the creation of a false impression that AIG

had owned TDC shares for an extended period of time. No trading position was expressed as both ED&F

Man and AIG were completely hedged and the legal rights to vote on the shares or otherwise participate

in corporate actions were also fully transferred back to the market. In addition, the absence of any

evidence of a security margin, which would be required to maintain such a position in an arm’s-length

prime brokerage arrangement, clearly indicates that ED&F Man and Acer coordinated and collaborated

in these transactions. Further, it is my opinion that this was not a real trading position, but, instead, was

a fabricated position created to present the illusion that AIG was a long-term owner of TDC shares.


134.        Demonstrating long-term ownership would have been useful to the parties in the event that SKAT

queried the withholding tax reclaims. I note that from her deposition testimony that this is a factor of

which Ms. Kaminer of Acer was well aware. 101 Although Ms. Kaminer presents as her view that the

ED&F Man Pension Plans wished to be long term holders of the underlying shares, it is obvious to me

that Acer believed that these arrangements would allow AIG to say that it ‘owned’ the TDC shares for an

extended period of time. They no doubt considered this to be an important indicator of ownership and


99
  For example, in an email from Victoria Foster to Stacey Kaminer around the time of Acer setting up its
accounts with ED&F Man Victoria says, “I’m not sure if we have been through our funding costs with you etc”
and then explains the funding rates. ACER_00024721, at 22.

  See, Bloomberg Chat (ED&F-00444356) arranging the borrows; the email dated June 13, 2014, from David
100

Goddard at Scotiabank advising ED&F Man of the upcoming requirement to return the borrowed shares (ED&F-
00255639).
101
      Kaminer Tr. Vol. 1 at 177:18 to 180:21.


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were positioned to point to it if their reclaims were challenged. There is no other reason that I can see for

the maintenance of a long term fully hedged position by AIG and Ms. Kaminer is unable to provide any

other rationale in the deposition. Based on the material provided to me in this matter, I have seen evidence

of similar patterns in the trades of other Investment Managers in similar transactions. 102


135.     Therefore, it is evident that when the non-Annex E AIG TDC 2014 transaction is stripped down

to its essential components, it is fundamentally the same as the Annex E Cambridge Way MPT Dubai

COLOB 2013 transaction. See Figure 4 below further describing the circular and offsetting nature of the

transaction.




                                                Figure 4




102
   For example, Duet Group used a similar technique, but involving a low exercise put option (“LEPO”)
structure. A LEPO is essentially the same as a TRS, except in the extremely rare case that the shares of a
company become valueless. A LEPO can be used to achieve very similar results to a TRS. See, email from Sara
Mina of ED&F Man to Nicholas Payne of Duet which mentions “rolling” the hedge from future expiry into a
LEPO (ED&F-00190325).


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136.     As illustrated above, ED&F Man once again arranged two circular and self-cancelling sets of

transactions: a Cum-Ex Purchase and Sale, which both settled on March 12, 2014, and two futures

contracts which were fully offset from March 12, 2014 onwards.


When the external IDBs are combined into one group, a profit and loss picture that is nearly identical to

that observed for the Annex E Cambridge Way - MPT Dubai COLOB 2013 transaction emerges:


                                                     AIG           Combined IDBs               Combined
                                          Profit and Loss           Profit and Loss           Transaction
                                               (DKK Per           (DKK Per Share)         (DKK Per Share)
                                                   Share)
 Buy Date
 Cost of purchase of shares                       (52.55)                      52.55                           -
 Contract price under future                       50.74                      (50.74)                          -
 Net Buy Date Loss                                 (1.81)                       1.81                           -
 Sell Date
 Sale proceeds from shares                         48.88                      (48.88)                          -
 Contract price under future                      (48.89))                     48.89                           -
 Sell Date loss                                     (0.01)                      0.01                           -
 Dividend compensation (equal to                     1.61                      (1.61)                          -
 net real dividend) 103
 Net pre-tax profit/(loss)                          (0.21)                      0.21                         -
 Tax reclaim                                         0.59                       -                        0.59
 Net profit                                          0.38                       0.21                     0.59



137.     Note that there was no necessity for the dividend compensation payment of DKK 1.61 per share

and the parties could just as easily have agreed to execute the original Cum-Ex purchase transaction at

the price of DKK 50.94 per share (being the actual price used less the dividend compensation amount

i.e., DKK 52.55 – DKK 1.61) and it would not have changed the economics for any of the parties. 104 Put

another way, the dividend compensation payment paid by Lutetia can be viewed as having been funded



103
   The dividend compensation payment in this transaction was part of the overall Market Claim made to Lutetia
via RBC, which I assume provided operations support for Lutetia, on 6,000,000 shares. The Market Claim was
requested by Michael Meade of ED&F Man on March 13, 2014 and was paid for value on March 17, 2014.
ED&F-00040990.

  See the earlier discussion on the fact that there is no requirement for a dividend compensation payment in
104

Cum-Ex transactions.


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by the payment of excess purchase price by AIG and so there was no net economic cost to Lutetia of

paying the dividend compensation payment and it did not need to receive a real dividend in order to fund

the payment as I will explain in more detail below.


138.     In the transaction above, AIG earned approximately DKK 760,000 (=2,000,000 shares x DKK

0.38 per share) of gross profit, which closely approximates a contemporaneous calculation that appears

to have been prepared by ED&F Man. 105


                  3.       The IDB Transactions Are Inextricably Linked to Each Other and Their
                           Commonality is Demonstrable

139.     During the Relevant Period, most U.K. IDBs were subject to more regulatory limitations by the

FCA, and much lower capital requirements compared to the significantly larger, full-service major trading

firms. 106 In particular, the IDBs were restricted to only trading on an agency or a matched principal basis.


140.     The larger trading firms ran traditional market-making desks from which they were able to take

proprietary risk by entering into or exiting client trades. For example, a market maker in a larger trading

firm with a belief that shares were going to increase in value was permitted to buy shares from a client




105
   See, Excel Spreadsheet ED&F-00265891, ‘Sheet 1’. This worksheet calculates profit across a range of
transactions. Cell AM12 shows the profit shared between ED&F Man and AIG in the amount of DKK 676,817,
but this amount includes various future fees, commissions, and interest and accounts for the costs of the unwind of
the futures on April 14, 2014. Adjusting for these additional costs yields an approximate profit of DKK 751,000.
The remaining difference is largely accounted for by the rounding of figures I performed for the simplicity of the
table above.
106
   Firms that meet the conditions of Article 96(1) of the EU Capital Requirements Regulation are treated by the
FCA as “limited activity.” See, https://www.eba.europa.eu/regulation-and-policy/single-rulebook/interactive-
single-rulebook/548, accessed December 15, 2021. Firms subject to this treatment benefit from significantly
lower regulatory capital requirements exemption from various other rules which apply to larger full-service broker
dealers. Article 96(1)(a) defines relevant firms as:

         “investment firms that deal on own account only for the purpose of fulfilling or executing a client order
         or for the purpose of gaining entrance to a clearing and settlement system or a recognised exchange
         when acting in an agency capacity or executing a client order.”

See, FCA Handbook on Permissions, Question 16, available at
https://www.handbook.fca.org.uk/handbook/PERG/13/3.html, accessed December 15, 2021.

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and maintain a long position in the shares for a period of time before selling them in the hope of earning

a profit.


141.        In contrast, the IDBs’ limited regulatory permissions only allowed them to trade if they were

either simply acting as an agent linking two counterparties or if they had lined up parties to engage in

both sides of the transaction prior to trading, which ensured a perfect hedge from the point the trade was

initiated.


142.        In addition, even if the IDBs were permitted to enter the transactions on a proprietary basis, an

IDB could not credibly have been able to find genuine third-party clients, exchange liquidity to trade

futures in the sizes which ED&F Man arranged for the ED&F Man Pension Plans or have been prepared

to manage the risk of the number of shares involved in the transactions. 107 I provide additional

information related to this point later in this report.


143.        Another fundamental issue for the IDBs was the relative illiquidity of single stock BClear futures,

especially over Danish shares. 108 It is not credible that the IDBs could have hedged the futures they


107
   Futures volume data available from Bloomberg indicates that the volume of these futures that was traded on
the OMX Nordic Exchange was substantially smaller than that traded by Volcafe and other parties and is a better
indication of the true liquidity of the futures. To explain, futures can be traded in two ways:

1.        A party can place an order with the exchange on which the futures are traded and wait to see if market-
makers on that exchange are prepared to trade at the size and price offered. A large percentage of trades for liquid
securities are executed in this way.

2.        A party can engage a broker to go and find specific willing buyers or sellers to make offers to match the
party’s trade.

The future volumes data indicates that most trades in single stock futures for Danish shares would first have been
negotiated and agreed off-exchange, and then cleared post-trade. Put another way, it simply would not have been
possible to place an order on the exchange for the number of futures required and expect it to be filled at an
acceptable price from the normal market flows.
108
   The liquidity of a future is a function of the liquidity of the underlying shares because liquidity providers on
the future need to trade the shares as a hedge. Moreover, liquidity is driven by the overall market size and desire
of other global market participants to take trading positions in the underlying shares. The Danish Stock Market is
not ranked in the top 10 global equity markets. For context, the U.S. alone accounts for 56% of global equity
volume, while the U.K., Germany, and France comprise 67% of the European equity market capitalization. See,
https://www.statista.com/statistics/710680/global-stock-markets-by-country/, accessed December 15, 2021;


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entered into, except by directly or indirectly completing the circle that led back to ED&F Man’s Cum-Ex

Sale counterparty. Stated differently, Lutetia had to hedge its short market risk exposure directly or

indirectly via back-to-back trades with Mariana because failure to do so would have inevitably made the

transaction unprofitable for it. If we express the profit per share for all of the IDBs as a percentage of the

purchase price of the shares we can see that the total profit is only 0.4% of the price of the shares

(0.21/52.55). Based on my experience, it is not credible that market participants could have genuinely

independently hedged transactions of this size in relatively illiquid shares and futures with costs of less

than 0.4% and they would have been exposed to very significant market risks, market impact, and

potential slippage could easily have been 5% or more of the share price if they found themselves unable

to place or unwind their hedges. 109 Notably, the ED&F Man spreadsheet reconciling the profit from the

various TDC Cum-Ex transactions undertaken with Acer does not include any amounts of bid/offer

spreads between the prices at which the shares and the hedges were traded. This confirms my view that

all transactions were fully pre-ordained and ‘crossed’ between the various IDBs. 110


144.     In conclusion, no meaningful difference that is relevant to the generation of the false tax vouchers

exists between the Annex E Cambridge Way-MPT Dubai COLOB 2013 transaction and the non-Annex

E AIG-LUTETIA TDC 2014 transaction. Both transactions involve a Cum-Ex purchase by a Pension

Plan and a completely offsetting sale of the same shares which settled on the same date as the original

purchase so that no actual shares were required to be held by ED&F Man and its Pension Plan clients. In




European Securities and Markets Authority, “EU Securities Markets ESMA Annual Statistical Report”, 2020, p.
16, https://www.esma.europa.eu/sites/default/files/library/esma50-165-1355_mifid_asr.pdf, accessed December
15, 2021.
109
   Slippage is a common term used for the various costs between a position and its hedge. It is caused by various
execution costs, including bid/offer spreads, commission, price differences due to market impact, or differences in
the time or venue of execution.
110
   Excel Spreadsheet ED&F-00265891. I understand this ED&F Man spreadsheet to be a profit and loss
reconciliation of the various transactions undertaken by ED&F Man and Acer over TDC shares. Save for
immaterial commissions, which appear to be a standard DKK 7.46 per futures contract, there were no significant
costs to the hedging of all of these trades.


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both transactions, the Tax Voucher was issued for a dividend compensation payment and not a real

dividend. In both transactions, the sizes, timing, and amounts of the trades indicate that neither ED&F,

the ED&F Man Pension Plans nor the IDBs could have contemplated the risk management consequences

of the trades had the parties not known and pre-planned the circularity of the transactions.


145.        Importantly, ED&F Man cannot draw a direct line to a real dividend received by any other party

in the non-Annex E AIG - LUTETIA TDC 2014 transaction. As I will explain, it is my view that Lutetia

did not own the shares it sold to AIG at the time of the Cum-Ex Transaction or receive a real dividend.

Therefore, the reasons for ED&F Man’s admissions relating to the Tax Vouchers in the Annex E

transactions apply equally to the non-Annex E transactions and imply that ED&F Man should also have

withdrawn the Tax Vouchers in respect of all the other transactions.


                    4.      Hedging a Cum-Ex Transaction Does Not Require Any Party to Receive a
                            Real Dividend

146.        For the remainder of this section, I refer to the counterparty to the Cum-Ex purchase by the

Pension Plan as IDB1. Setting the Cum-Ex trade’s settlement to the day after the Record Date means

that the options available to IDB1 to hedge itself fundamentally changed compared to a normal Cum-

Dividend Sale. This holds true even if IDB1 is actually required to deliver the shares on the Settlement

Date and cannot assume another offsetting trade will occur in the meantime. 111


147.        Once IDB1 enters into the Cum-Ex Sale, it has two key components of risk to hedge:


      i.        IDB1 is short the market price of the shares. If share prices decrease before IDB1 offsets the
                Cum-Ex sale, it will generate higher profits because it will be cheaper to purchase the shares
                to deliver.

      ii.       IDB1 has to transfer shares to the Pension Plan on the day after the Record Date.




  If IDB1 was aware that another offsetting trade would occur in the meantime, its hedging would be simpler as
111

demonstrated by MPT Dubai in the Annex E Cambridge Way - MPT Dubai COLOB 2013 transaction.


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148.    Of note in this scenario is the fact that these obligations are independent and can be hedged

separately. In practical terms, it also means that the IDB1 neither needs to own the shares on the Record

Date or to identify a third party who does (and so need to make a dividend compensation payment to that

third-party), as I will now demonstrate with an example.

149.    Assume a second IDB, IDB2, exists. The hedge can be achieved as shown in Figure 5 below:




                                                     Figure 5




150.    On the first trading day, T, the Pension Plan simultaneously enters into a Cum-Ex purchase with

IDB1 and a futures hedge. The Pension Plan is ‘long’ the shares and ‘short’ the share price risk under a

future. Throughout this report, my use of “long” and “short” means positive and negative exposure to

share prices, respectively. IDB1 is short the shares and IDB2 is long via the future under its trade with

the Pension Plan. Therefore, IDB1 and IDB2 can both hedge their market exposure by trading a future

under which IDB1 is long and IDB2 is short. It is not necessary for both IDBs to trade directly with each

other. It is sufficient that the natural process of market price discovery would have made it more efficient


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for them to trade with each other instead of any other market participant, because neither party would

have incurred any basis risk (i.e., a difference between the price movements of the shares and the future

hedge) or slippage costs (i.e., costs that may result from the rapidly changing market conditions as a

transaction is either placed or liquidated). See Figure 6 below.



                                                        Figure 6




151.     On day two, T+1, IDB1 needs to arrange for delivery of the shares to Pension Plan on T+4. 112

As the shares are now trading on an Ex-Dividend basis, IDB1 will be able to source a borrow without

having to borrow shares over a dividend Record Date, which would require compensating any party in

its transactions for the missed real dividend. See Figure 7 below.




112
   In theory, share delivery can occur on other dates such as T+2 or T+3 as long as IDB1 ensures that its borrow
and Cum-Ex sale settle on T+4.


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                                                 Figure 7




152.    On the final day, T+4, both the stock loan and the original Cum-Ex purchase can settle. The

proceeds from the Cum-Ex sale can be used by IDB1 to provide collateral under the stock loan. In this

scenario, IDB1 is long a future and short an obligation to return a borrow. IDB2 has matched and

offsetting futures. The Pension Plan is long shares that are hedged with a short via a future. In the

Appendix C Cum-Ex Trades, these positions would all be unwound shortly thereafter, in some cases on

the same day, T+4.


153.    By splitting the management of the market risk (covered by going long via a future) and the

settlement obligation (by borrowing the shares one day after the initial Cum-Ex transaction and agreeing

to settle the stock borrow on or before the Settlement Date), it is evident that the stock loan settles after

the Record Date, which means that IDB1 will not have to compensate the Securities Lender in the stock

loan transaction for any missed real dividends. Sourcing shares to settle after the Record Date is also

considerably easier as most market participants would not attribute significant commercial value to such

a stock loan, since the right to receive a dividend has expired.




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154.     All the Appendix C Cum-Ex Trades involved a variation of the steps I have described above.


155.     Importantly, IDB1 and IDB2, possibly in conjunction with one or more other IDBs, would either

have known, been informed, or have easily discovered of the other participant’s identity, such that each

party could recognize the other from the specific size and transaction terms. 113 It is evident to me that

this process was coordinated by the Investment Managers and ED&F Man. 114 The fact that Acer, acting

as Investment Manager for the ED&F Man Pension Plans, not only regularly requested ED&F Man to

arrange the transactions, but also gave directions on which brokers ED&F Man should speak to clearly

indicates that Acer was fully aware not just of the steps taken by ED&F Man on its behalf, but also of the

coordination required between the IDBs. Coordination was crucial and required careful preparation given

the sizes of the shares and futures transactions. 115


156.     Knowing or being tipped off about the identities of the other parties to the transaction allowed

the IDBs to put on and close out their trades at the same time and at the same prices as any other hedges

by other counterparties in the overall wider transaction without any slippage. The IDBs were confident

that they did not need to find any shares to deliver, except for an intra-day borrow of Ex-Dividend shares

to settle the offsetting transactions, if needed. I discuss the settlement mechanics below. As a result, the

IDBs had no significant hedging or market impact costs. In particular, they did not need to either receive

a real dividend or find an investor who had received the real dividend.




113
    This is not, in of itself, an indicator of impropriety by any specific IDB. The role of an IDB is to find liquidity
to trade, and if there is a large, completely opposite trade being shown around the market one would expect the
IDB to find it.
114
    See, for example, the email chain ED&F-00040920 in which Stacey Kaminer of Acer tells Oliver Bottomley
of ED&F Man that, “I heard MINT might have some liquidity on the futures.” Similarly, in ED&F-00045805, she
writes that “I heard MAIKO might have liquidity on the future.”

 Credit lines between ED&F Man and its various IDBs and other counterparties would have been carefully
115

managed given the large size of some of the transactions.


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157.     There appears to be no evidence to support ED&F Man’s assertion in the Rosenblatt

correspondence that the payment of the Market Claim made to Lutetia is, in of itself, evidence that it

received a real dividend. 116 As I demonstrated in the above example, it is perfectly possible for Lutetia

to perform its obligations under a Cum-Ex Sale without ever owning the underlying shares. This fact

would have been understood by ED&F Man’s Equity Finance team and all other participants in the

transaction. My discussion of pricing in the next section of this report strongly supports my view that

this is in fact what happened.


158.     Accordingly, if Lutetia had no requirement to own the shares, it follows that it was not necessary

for it to receive a real dividend. Its Market Claim is a dividend compensation payment that is not directly

connected to the receipt of a real dividend. As explained earlier in the report, it is equally valid to consider

a dividend compensation payment as a return of the excess purchase price in an originally mispriced

Cum-Ex transaction. ED&F Man’s arrangement of the Annex E transactions indicates that ED&F Man

was aware of this fact.


159.     Finally, European markets did not operate in a way that market claims and real dividends were

interchangeable, and if they had it would have rendered regimes like the U.K. Manufactured Overseas

Dividend regime redundant. To illustrate one problem with ED&F Man’s logic: If Lutetia had covered

its short position under the Cum-Ex sale to AIG by borrowing shares from another IDB after the Record

Date, both AIG and the IDB would have received the ‘real’ dividend on the same shares when clearly

only one party could be entitled to it.




116
   See, letter from Rosenblatt LLP to Pinsent Masons LLP dated March 5, 2021 concerning the Annex E Tax
Vouchers. Referring to the actions of Mr. Meade it is stated that “he did not understand that the Annex E Tax
Vouchers should have distinguished payments which the Pension Plans received in compensation of their right to
a dividend, from dividends which were actually paid by the underlying Danish company”. However, I see no
basis for concluding that the payment from Lutetia was a real dividend and for the reasons given believe it is
directly equivalent to the MPT Dubai dividend compensation payments.


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                5.      No Real Dividend Was Received by Any Participant in the Annex E
                        Transactions and the Pricing Strongly Suggests Real Dividends Were Also
                        Not Received in Other Non-Annex E Transactions

160.    The schedule in Appendix C contains details of the pricing of the transactions from the relevant

transaction confirms I have reviewed. A useful way to think about any dividend transactions is to

determine the implied pricing of the dividend supposedly being ‘purchased’. The following demonstrates

how implied pricing may be used to determine whether or not a dividend is real.


161.    Participants of the Cum-Ex transactions expect one to believe that they are similar to other normal

equity finance transactions and that the ED&F Man Pension Plans acquired the rights to a real dividend,

and therefore a tax reclaim. As with other equity finance transactions, the price that participants in the

Cum-Ex transactions paid for this ‘dividend’ can be extracted by combining and comparing the pricing

for the Cum-Ex Purchase with that of the hedging transactions.


162.    Separately, I have reviewed various other contemporaneous transactions undertaken by ED&F

Man that involved the transfer of shares which settled prior to the Record Date, which means they are

transactions under which ED&F Man or one of its clients did in fact obtain a real dividend. Thus, the

pricing of these transactions necessarily involves the economic compensation of a third-party financial

institution from which the shares were obtained, most often through a stock loan that settled prior to the

Record Date. I will refer to these transactions as “Cum-Cum” transactions.


163.    My review indicates that the Cum-Ex transactions were priced on average at a significantly lower

rate compared to the Cum-Cum transactions which required market level compensation payments

because the shares were lent over Record Dates. The average market level for ED&F Man’s Cum-Cum




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transactions was approximately 90%. In contrast, the average market level for the Cum-Ex transactions

was approximately 80%. 117




                        Market Levels for Cum-Ex and Other Transactions
                                       Number           Average                            Std Dev
                   Cum-Ex                 86             79.8%                              3.3%
                  Cum-Cum                 53             89.5%                              2.2%




164.     The reason for the observed disparity between these two types of transactions is simple. In a

transaction where one party receives the real dividend on shares that have been borrowed, a different

market participant (the Securities Lender) is deprived of the opportunity to receive the real dividend. 118

The market level was set by the overall supply and demand in the market at around 90% of the real

dividend (the reasons for this are covered in the next section).


165.     This constraint was absent in Cum-Ex transactions, since the minimum level was simply

determined by the facilitation fees that need to be paid to the third-party IDBs. As these IDBs were

neither required to obtain the real dividend nor borrow stock over the Record Date and so pay for a real

dividend, it was possible for them to price the Cum-Ex transactions on a cost-plus basis.




117
    While the individual trades had varying terms, each group’s standard deviation was only a few dividend points.
Ten transactions around the Chr. Hansen A/S dividend event in November 2013 are excluded because half of that
dividend was declared as a special dividend and triggered an adjustment event under the terms of the futures
contracts. See Appendix C Note 1 as well as the Nasdaq OMX Derivative Market Notification on October 23,
2013, available at https://www.globenewswire.com/fr/news-release/2013/10/23/582769/0/en/Derivatives-
Anticipated-adjustment-in-Christian-Hansen-due-to-extra-dividend-57-13.html, accessed December 14, 2021. It
is not clear from the evidence available to me exactly how the parties dealt with this event and so I cannot
determine the implied pricing of the dividend.

  I use the term “borrow” in an economic or accounting sense, and not necessarily as it relates to a stock loan
118

under the GMSLA.


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166.    In a Cum-Ex transaction the dividend compensation payment made, is in economic terms, simply

a return of part of the incorrectly grossed up purchase price. The dividend compensation payment can be

set at whatever level the participants decide up front. The reason Cum-Ex transactions were generally

structured so that the trade price was the Cum-Dividend price on the Trade Date and included a dividend

compensation payment equal to the net dividend was that the parties could then claim two things, both of

which are incorrect:


        a.      The trade was done at the market price, which is irrelevant, because the quoted market

        prices are only relevant for trades with standard settlement terms.


        b.      The net dividend compensation payment received is the real dividend, which it is not.


                6.      Pricing of the Cum-Cum Transactions at Around 90% of the Gross
                        Dividend Was Expected

167.    The largest investment banks generally control the relationships with the largest shareholders,

principally major European asset managers and major European pension funds and often have first option

on borrowing the inventory of these clients. These investment banks can generally earn 85% of the gross

real dividend on any shares they own, without the need to undertake any onward lending. This is because

they are generally entitled to reclaim a portion of the WHT, such that they receive 85% of the gross real

dividend under tax treaties with Denmark. For the investment banks to be incentivized to either lend out

their inventory or source additional inventory to lend out, they must earn a meaningful spread above the

85% level.


168.    Based on my experience, I can see no reason why a person who was due to receive the real

dividend on shares they owned or controlled would be prepared to offer them for use in a transaction

without being compensated at the market level (which as we have seen is around 90% in Denmark in the

relevant period). In the case of the Cum-Ex transactions there was no such requirement to compensate




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any third party providing the opportunity to price below the market level for real dividend compensation

payments.


169.       Although a detailed review of the Cum-Cum transactions is outside the scope of this report, there

are two other observations which I think are relevant:


           a.       First, it is evident all parties understood the difference between Cum-Cum and Cum-Ex

           transactions. The structuring and pricing of the transactions were different, and the parties would

           have fully understood the reasons for this.


           b.      Second, the sizes of the Cum-Cum transactions are a more reliable indication of the true

           ability of ED&F Man to source shares for owning over the Record Date. For example, for the

           March 11, 2014 Record Date, the TDC Dividend Worksheet 119 shows that ED&F Man held 24.8

           million shares in its BNP Paribas account, but issued vouchers for 163.4 million shares. 120 A

           minimum of 6.9 million of these 24.8 million shares relate to Cum-Cum transactions 121 and

           ED&F Man does not link any of them to the Cum-Ex transactions in its dividend reconciliation

           worksheets. Whilst the share amounts actually obtained by ED&F Man are still significant, they

           are more in line with the number of shares which I would expect ED&F Man to have been able

           to source.




119
      See ED&F-00040919 at 83.
120
   The Excel File ED&F-00603586 which I understand to be a report from BNP Paribas of dividends paid on
shares for which it was the custodian on record date contains a single dividend row for the TDC shares on the
Record Date of March 11, 2014 and corroborates that BNP Paribas credited ED&F Man with the net dividend on
24,845,000 shares (being DKK 399M or 24.8m x 1.606 net dividend per share).
121
   Compare ED&F-00040919 at 83 to ED&F-00040919 at 76 (1 million shares are traded Cum-Cum on behalf of
AIG), ED&F-00041108 at 165 (1 million shares are traded Cum-Cum on behalf of Kamco LP Profit Sharing
Plan), and ED&F-00041180 at 200 (4.9 million share are traded Cum-Cum on behalf of Cubix).


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                7.       No Reputable Market Participant Would Have Considered the Appendix C
                         Cum-Ex Trades as Legitimate

170.    Based on my knowledge, gained from covering all major equity markets while working at

Barclays and my extensive knowledge of equity finance market practice, no reputable market participant

would have considered it appropriate to engage in a Cum-Ex transaction in Denmark like those in

Appendix C. During the Relevant Period, it was my understanding that Cum-Ex transactions were invalid

as a basis for a WHT refund claim in any European jurisdiction. This view was widely held by leading

market participants and their advisers. It is my belief that both ED&F Man’s personnel and the E&F Man

Pension Plans’ agents, including but not limited to Investment Managers such as Acer, would have been

well aware of this market view.


                8.       There Was Deliberate Coordination of the Participants at the Outset of the
                         Trades


171.    The Appendix C Cum-Ex Trades were entered into deliberately, in coordination, and in such a

fashion that there was no legitimate prospect that the Sell Date transactions would not have followed

inevitably from the Buy Date Transactions. I detail the basis for my conclusion in the following sections.


                9.       The Unusual Risk Sharing and Failure to Properly Consider Trading Risks
                         and Margin Demonstrates That the Trades Were Not Real

172.    I have reviewed the approach taken by ED&F Man to determining the appropriate risk capital or

margin which it required the ED&F Man Pension Plans to provide for it to undertake the transactions and

it is my view that this clearly indicates that the transactions were effectively a joint venture between the

Investment Managers, ED&F Man Pension Plans and ED&F Man. They were clearly not independent

investment transactions undertaken by the ED&F Man Pension Plans using typical arm’s-length prime

brokerage arrangements.


173.    In the case of the Acer ED&F Man Pension Plans profit and risk sharing agreement was explained

by Stacey Kaminer in her deposition. The approach that Acer and ED&F Man used to assess and

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undertake the transactions was based on their concept of risk capital. I understand this to be the downside

risk that the participants would have if the tax reclaim was unsuccessful and it is calculated using what

they referred to as the “Negative Dividend” 122 plus the other transaction fees like funding costs, futures

and share commissions. 123 Ms. Kaminer later confirms that the risk the Acer ED&F Man Pension Plans

had of losing money on these transactions was limited to their contribution to the risk capital. 124


174.       This arrangement makes complete sense in the context of a joint venture to generate tax reclaims

from SKAT but is otherwise a highly unusual arrangement as between a prime broker and its client.

Normally a prime broker would require the client to provide margin to support all the risks that funding,

clearing, and settling the clients’ positions creates for the prime broker.


175.       In the case of Acer, it appears that very limited capital was required to protect ED&F Man from

any trading risks on the portfolio and ED&F Man goes further, lending the ED&F Man Pension Plans the

majority of the funds 125 to provide margin on its trades such that ED&F Man is effectively providing the

risk margin to itself (completely defeating the object of margin as a risk mitigation tool).


176.       In an arm’s-length prime brokerage agreement, it would be customary for the client to provide a

much more significant amount of capital to support the levels of trading which the ED&F Man Pension


122
   Negative Dividend appears to be the loss that arises on the stock sourcing transaction if the tax reclaim was
unsuccessful. For example, I have reviewed ACER_00010868 which appears to be an internal planning schedule
prepared by Acer to consider transaction in the second half of 2014. In the first row of the first tab of this
spreadsheet we can see that the negative dividend is calculated as USD 42,536 (being 4,400,000 shares x the gross
dividend of 0.3867 per share x the loss in dividend points 0.145 (All-In Cost of 87.5% - Net Dividend of 73%)
that would arise converted to USD at an approximate rate of DKK 1:0.17 USD).
123
   Again, referring to ACER_00010869. In her deposition, Ms. Kaminer (Kaminer Tr. Vol. 1 at p. 207:4 –
207:18) confirms that the Acer risk capital is 50% of the sum of the relevant columns. Taking again the first row
as an example, we can see that the risk capital on the planned UN trade is the sum of the Negative Dividend,
Brokerage and DTCC multiplied by 50% (being Acer’s share of the downside risk).
124
      See Kaminer Tr. Vol. 1 at 208:20 – 208:23.
125
   See for example, the discussion around pages 213 of Volume 1 of Ms. Kaminer’s Deposition and the email
from Victoria Foster of ED&F Man to Ms. Kaminer dated July 18, 2012 explaining the terms of the new prime
brokerage agreements which indicates that “We would propose that you fund the account with some money, i.e.,
any capital at risk plus some to cover a percentage of the Initial Margin” (ACER_00024721, at 22).


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Plans claimed to have undertaken. In an unhedged situation, margin of somewhere between 15% and

50% of the gross trading exposure would be customary. 126 This would also be subject to various further

concentration limitations, for example, no more than 10% of the portfolio in any single name. In the case

of hedged equity finance transactions where the prime broker has full visibility and the necessary security

interests in all the positions and hedges then it would be possible for lower levels of margin to be agreed.

However, it appears that Acer and ED&F Man agreed that risk margin of less than 0.15% was all that

was required to support the trades. 127 This is the equivalent of providing nearly 700 times leverage on a

trading position. In my experience, even some of the largest hedge funds are limited to leverage in the

range of 20-40 times their margin by their prime brokers.


177.     I have also looked at the custody statements provided as part of the trade packs by ED&F Man

as part of its production to compare the actual margin held versus the trading positions undertaken. I

have only been provided with snapshots of the position of the account on a particular trading date for

each dividend event and so it is not straightforward to determine exactly how these arrangements worked.

However, what is clear is that there are numerous occasions where the ED&F Man Pension Plan clients

had negative balances and were effectively in a position where any margin they provided had already

been fully consumed and they were therefore borrowing in an overdraft-like situation. This is a clear

indicator that the participants viewed the transactions as effectively a complete pass through from a risk

perspective with no real requirements for ED&F Man to demand margin from their clients (no doubt




126
    Providing 50% margin would mean that if a client wants to buy USD 100 of shares then the client would have
to provide USD50 of margin capital and then the prime broker would lend it the other USD 50. The first USD 50
of loss on the shares purchase would be borne by the client (because the prime broker could sell the shares and use
the funds to repay its loan). Only if the shares declined below USD 50 would the prime broker be at risk of losing
money.
127
   Referring again to the UN proposed trade in the first line of the first table of ACER_00010869 we see that risk
capital of approximately USD 47,000 was all that was required to justify total gross exposure of USD 31.9 M
(calculated as 4,400,000 shares x current share price DKK 42.62 x approx. FX rate of 0.17)


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because it viewed itself as doing all the execution on their behalf and only executing fully self-offsetting

transactions).


178.       At the time the parties entered into the non-Annex E AIG – Lutetia TDC 2014 transaction, the

margin position in the AIG account statement shows that AIG was overdrawn in the amount of

approximately USD 3.8M. 128


179.       At this time AIG had committed to buying 5,000,000 TDC shares with a total gross exposure of

approximately USD 47M and short position in 50,000 futures requiring initial margin of USD 2.4M per

the account statement. A 5% one-day price increase of the TDC shares, hardly an unprecedented swing

in financing markets, would have resulted in a margin call on the future of at least USD 2.4M. AIG was

not in a position to finance such a margin call.


180.       I have seen multiple similar account statements which show negative margin in the Pension Plan

statements including another AIG account statement at the time of Novo Nordisk A/S dividend on March

21, 2014 which shows AIG as being overdrawn to the tune of USD 34.3M whilst having over 180,000

open futures contracts requiring initial margin of USD 29.6M around the relevant dividend dates. 129


181.       The combination of the testimony from Stacey Kaminer on how the risk capital and risk sharing

works and the review of the account statements leaves me in no doubt that the participants had absolutely

no regard for the types of normal market risks and margin requirements, and further confirms my views

that the correct way to view these transactions is as circular schemes designed purely to generate the tax

reclaims.




128
      ED&F-00040919 at 82.

  For example, Acorn Capital Strategies LLC (ED&F-00047428), Riverside Associates Defined Benefit Plan
129

(ED&F-00041310) and AIG (ED&F-00048728).


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                10.     Profits from Refund Payments Were Essentially Guaranteed Up Front
                        Because the Trades Were Pre-Ordained, Circular, Non-Market Facing
                        Transactions

182.    MPT Dubai was offered a pair of trades on the Buy Date which essentially guaranteed it a profit.

Coincidentally, MPT Dubai also offered, via ED&F Man, to conduct trades that perfectly matched

Cambridge Way’s trades. This strategy appears to be nothing more than a fully pre-ordained series of

circular, non-market facing transactions.


                11.     Prior to Execution of Each Transaction All Participants Would Have
                        Known That the Unwind Transactions Were Inevitable and They Would
                        Not Have Executed the Opening Transactions if This Were Not the Case.
                        Thus, These Transactions Were Prearranged and Codependent

183.    If MPT Dubai and ED&F Man did not have complete confidence that the transactions would

reverse and offset with the Sell Date trades, then both parties would have needed to take very significant

and costly steps to hedge the Cum-Ex transactions with Cambridge Way. Such hedging would have been

non-trivial. MPT Dubai would have needed to either arrange a stock borrow of 500,000 shares or enter

into an equal and opposite purchase and futures contract involving MPT Dubai’s shorting of 5000 Bclear

Futures and purchase of 500,000 shares in the market. Obtaining a last minute borrow or purchase of

500,000 shares on the day before Ex-Dividend Date would either have been very expensive or, more

likely, impossible. No evidence appears to support such a borrow or purchase being contemplated by

MPT Dubai.


        C.      Opinion 3: ED&F Man, Custodian for the ED&F Man Pension Plans, Did Not
                Actually Have Custody of a Sufficient Number of Shares to Support the Tax
                Vouchers That Were Issued for the ED&F Man Pension Plans

184.    In this section, I make several key points as the basis for my Opinion 3. First, the amount of

dividend reclaims in the ED&F Man Cum-Ex transactions bore no relation to the transacted share

amounts. Second, the share amounts that were purportedly transacted in the Cum-Ex transactions were




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wholly inconsistent with realistic average daily trading volumes. Third, these purported transaction

amounts could not have been risk managed by the parties to these Cum-Ex transactions.


                    1.       The Number of Actual Shares Settled Was Not Connected to the
                             Transaction Amounts 130

185.        I have reviewed the BNP Paribas records that were made available to me in respect of the Annex

E Cambridge Way – MPT Dubai COLOB 2013 transaction and the non-Annex E AIG – LUTETIA TDC

2014 transaction to confirm if and how the various trades were settled.


186.        It appears to me that book entries were made in ED&F Man’s custody account at BNP Paribas

for cash movements that were required to settle the trades. 131 It also appears that in and out entries were

made for all of the share transactions, although based on the evidence I have reviewed it is not possible

to directly link any given settlement movement to a specific transaction due to the lack of details about

the exact coding used by BNP Paribas. 132


187.        Based on my experience, my review of the BNP Paribas records and my review of the typical

trading volumes of COLOB during the Relevant Period, it is clear that an important element in the design




130
      This is also addressed in the context of my Opinion 4 below.

131
   See, for example ED&F-00605792, at 07 to 09, which relate to all of the COLOB transactions settled on
December 11, 2013 including the Annex E Cambridge Way - MPT Dubai COLOB 2013 transaction. It appears
that the purchase movements debit the ED&F Man account for the value of the Cum-Ex Purchases and then the
credit column is showing the receipt from the T+3 sales on December 6, 2013. The expected amounts for the
transaction being discussed are 176,400,000 for the Cum-Ex Purchase and 173,750,000 for the Sell Date
sale. There are entries which are very close in amount to these expected values, and I assume the differences are
commissions although the quality of the pdfs is very poor.
132
      The key documents are:

       1.   ED&F-00604196 which contains entries for the ED&F Man account 778523F which I understand to be
            one the main client omnibus accounts of ED&F Man at BNP Paribas used to custody the ED&F Man
            Pension Plan’s shares.

       2.   ED&F-00604678 which contains entries for the ED&F Man account 778054F which I understand to be
            another client omnibus account of ED&F Man at BNP Paribas. It is not clear what this account was used
            for.


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of these transactions is that the participants did not actually need to acquire or borrow shares in sizes

anywhere near the total gross notional value of the purported transactions. 133


188.        Acquiring such a number of shares would have been both very expensive and risky for ED&F

Man. I will address this later in my report. Further, market conditions around dividend dates would have

been highly competitive, with other market counterparties undertaking more legitimate equity finance

transactions. The key to solving this problem is that it would have been possible for ED&F Man to

facilitate the settlement of its client share transactions by arranging to borrow a much smaller number of

shares and using them repeatedly over the course of the Settlement Date to settle multiple transactions. 134

ED&F Man could pre-book all the trades it needed to settle and then ‘prime the pump’ at its custodian

with the smaller number of shares it had borrowed. The smaller number of shares would then be

automatically recycled through multiple intra-day settlement cycles before being returned to ED&F Man

to close out its borrow. 135


189.        A common issue in securities settlement processes is that there can be many linked or closely

related transactions due to settle on the same day. Because most settlements usually take place on a DVP

basis, a failure in one part of the payment chain can cause all later trades to fail to settle. Providers of

custodial services address this issue through the use of:


       i.      Chained settlements: Assume A sells shares to B and B sells the same shares to C. If A
               delivers the shares to the custodian and C delivers cash for the shares, then the custodian can
               be instructed to automatically and simultaneously settle both trades by moving the shares
               straight from A to C and the cash straight from C to A. A, B, and C are all considered to
               have fully discharged their settlement obligations. Note that A, B, and C can all be




133
      See, Appendix D.

  This could be a borrow from a third-party financial institution as in the Scotiabank example below or from
134

hypothecating the shares from other client long positions.

  See, for example, Hashemi Tr. Vol. 2 at 391:1 – 391:9 that refers to an email between traders mentioning that
135

Denmark’s settlement cycles were quicker than Belgium’s, so only 25% of the shares were required.


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                  completely unrelated parties as long as they agree to settle the transactions through the same
                  custodian.
       ii.        Multiple settlement cycles – There are multiple settlement cycles each day, including some
                  which are outside trading hours. 136 As a result, if anything in a transaction goes wrong, it
                  can be retried in the next settlement cycle. Alternatively, a large settlement can be
                  deliberately planned to settle across two or more settlement cycles.
       iii.       Tranching or “shapes” – It is common to break a larger settlement of shares into smaller
                  ‘shapes’, for example, 1,000,000 shares as 4 shapes of 250,000 each, to provide more
                  flexibility in the settlement process. Tranching can also be used to match up an IDBs
                  settlement with the other external trades it had entered which matched the trade in question.

190.          This point is best illustrated by a review of the unwind of the non-Annex E Transaction AIG -

LUTETIA TDC 2014 as this demonstrates the way such large settlements were achieved by re-cycling

shares and also the problems of locating shares of such large amounts.


191.          In June 2014, about three months after TDC’s Record Date, the Scotiabank trader who supplied

the shares used to unwind the non-Annex E Transaction AIG – LUTETIA TDC 2014 was approached by

ED&F Man to arrange borrows of various shares including 3,030,000 TDC shares.


192.          The Scotiabank trader stated that Danish shares are “usually a little more tricky to source”. 137 It

appears to take Scotiabank until the next trading day to locate enough shares to lend to ED&F Man to

facilitate the unwind despite the fact that, in the case of the TDC shares, ED&F Man was only looking to

borrow 10% of the total shares it needed to unwind. 138




136
   By way of comparison, as of 2021, Clearstream, one of the two leading custodians for European Equities,
offers 7 daily settlement cycles for Danish shares. It would have been possible for ED&F Man to settle multiple
transactions in each cycle so long as they fully netted. See, https://www.clearstream.com/clearstream-
en/products-and-services/market-coverage/europe-t2s/denmark/settlement-process-denmark-1281608, accessed 11
December 2021.
137
      See, Bloomberg Chat ED&F-00444356, at p. 2.
138
    ED&F Man borrowed 3,030,000 shares and then used them to close out total positions of 30,300,000 across all
its clients. This is the total number of shares on which all the Acer ED&F Man Pension Plans made tax reclaims
for the TDC dividend on 11 March 2014. See, for example, the dividend reconciliation worksheet ED&F-
00040919 at 83 and the trade confirms for the unwind trades at ED&F-00201239.


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193.       A review of the two relevant custody statements shows the following: 139


           a.      Account 778045F has 50 rows on 13 June 2014 and every single line entry is 3,030,000

           shares either in or out. The total net movement for the day is 30,300,000.


           b.      Account 778523F has 54 rows on 13 June 2014. Again, every single line entry is

           3,030,000 shares in or out. The total net movement for the day is also 30,330,000.


194.       On June 16, 2014 only account 778523F has any entries for the TDC shares and this includes two

rows, both again for 3,030,000 shares which I assume to represent the close out of the borrow with

Scotiabank.


195.       It is not clear to me what the purpose of the two different accounts is or why there are so many

entries but based on the movements on June 16, 2014 it is possible that each step requires two entries in

the account. The unwind of the transaction requires the following steps to be executed:


           a.      ED&F Man returns allegedly re-hypothecated shares to ED&F Man Pension Plan


           b.      ED&F Man Pension Plan sells to IDB


           c.      ED&F Man buys from IDB


196.       It is possible that what we see are two entries each for the 10 buys and sells plus 10 entries for

the alleged re-hypothecation return which would give 50 entries plus the entries required for the original

borrow from Scotiabank, but this is speculation on my part as it is not possible to link individual entries

in the BNP Paribas statements to specific ED&F Man transactions.


197.       However, what these statements do confirm, which is the key point highlighted by this example,

is that the Acer ED&F Man Pension Plans (including AIG) and ED&F Man have reused the same



139
      See ED&F-00604196 and ED&F-00604678 both on tabs DK0060228559 which is the ISIN of TDC.


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3,030,000 shares lent by Scotiabank to settle positions that are ten times as big as the actual positions

they claim to have held in these transactions. See Figure 8 below.




                                               Figure 8




198.      Secondly, I have reviewed the trade settlements contained in the BNP Paribas custody

accounts 140 for the period around the Coloplast dividend with Record Date of December 11, 2013. These




140
      ED&F-00604196 and ED&F-00604678 on tab DK0060448595 which is the ISIN of COLOB.


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include the Annex E Cambridge Way-MPT Dubai COLOB 2013 transaction and the non-Annex E

Cambridge Way-Mitsubishi COLOB 2013 transaction.


199.       The BNP account records confirm that there were 1,037,116 shares actually held on the Record

Date, but that ED&F Man produced Tax Vouchers for 8.3m shares. Based on my review of the ED&F

Man dividend reconciliation worksheets 141, it is possible to identify that none of the 1,037,116 shares

relate to Cum-Ex transactions that I have reviewed, and that 500,000 relate to a Cum-Cum transaction.


200.       There are a number of significant trades which ED&F Man executed for its Pension Plans during

this period including Cambridge Way claiming ownership of 2,000,000 shares and also Mitsubishi selling

2,800,000 shares in a Cum-Ex Sale to ED&F Man. 142


201.       The custody records contain a total of 564 transactions over the COLOB shares in the period

from 2 December to 12 December 2013 and the net movement across both accounts for the whole period

is an outflow of 250,000 shares. The maximum single settlement that ED&F Man made over this whole

period was for 500,000 shares.      Whilst I cannot be definitive because I am not aware of any unique

transaction matching code, it would have been possible for ED&F Man to complete the settlement of the

564 transactions, including all of the Cum-Ex transactions, by re-hypothecating and recycling some or all

of the 1,037,116 shares which ED&F Man did actually acquire from the market for its other trades.


202.       Thirdly, I have reviewed the settlement transactions related to the Annex E AIG-MPT Dubai

NZYMB 2015 Transaction 143 which occurred when Skandinaviska Enskilda Banken AB (publ), Sverige

(“SEB”) was the custodian for Danish shares.         This involved the Cum-Ex purchase of 750,000




141
      ED&F-00045042 at 75.
142
      ED&F-00045042.
143
      Appendix C, Trade 45.


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Novozymes shares with settlement on March 2, 2015. 144 I have reviewed the historic settlement schedule

provided by SEB 145 which I understand contains the complete history of relevant external settlements by

SEB. On this schedule we can see the receipt and return of the shares borrowed by ED&F Man in other

trades in the net amount of 1,115,000 (being 1,125,000 less 10,000 which appear to have been borrowed

from Macquarie) which were received by February 27, 2015 and were returned on March 4, 2015. I

understand that these relate to two Cum-Cum transactions which are outside the scope of this report, but

which can be seen on the dividend reconciliation worksheet for this dividend. 146


203.       There are no other share settlements involving Novozymes shares on any other dates in the

historic settlement report. However, we can see on the extract from the SEB Finess system 147 that there

is a settlement on March 2, 2015 of 750,000 shares which appears to be the Cum-Ex Purchase by AIG

from MPT Dubai 148. Therefore, it is evident a significant Cum-Ex purchase transaction was settled by

ED&F Man without any net movement into or out of the main ED&F Man Client Account with SEB used

by the ED&F Man Pension Plans.


                   2.      The Share Amounts That Were Purportedly Transacted Were Wholly
                           Inconsistent with Realistic Average Daily Traded Volumes (“ADTV”)
                           Because These Purported Amounts Could Not Have Been Risk Managed by
                           the Parties

204.       Most market participants have trading limits that are based on average daily trading volume

(“ADTV”), which is the average number of shares which change hands in the markets on a given day. It



144
      ED&F-00076389, at 90.
145
   SEB_00000093. Historic settlement report produced from SEB Finess, which I understand to be the relevant
settlement system used by SEB for Danish share settlements.
146
      ED&F-00076389, at 02.
147
      SEB_00000092. Extract from SEB Finess.
148
   There is no definitive unique reference number that I am aware of connecting the Finess entry to the Annex E
AIG-MPT Dubai NZYMB 2015 transaction but the Trade Date, Settlement Date, number of shares and total
consideration all match the expected amounts.


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appears that the desk mandate for ED&F Man’s Equity Finance Team had a limit of 20% of ADTV

calculated over a 20 Day period for a comparable dividend period both for Stock Loans and other Equity

trading positions. 149 It is not clear whether or how this limit was applied in practice because the volumes

purported to be traded were significantly in excess of this limit as explained below.


205.       These limits exist to address the possibility that a party stuck with a large volume of shares

following a counterparty’s default will need to sell them to exit its position. Firms and their traders are

usually concerned about having to sell large numbers of shares because such a sale inevitably causes the

markets to move against them, which can result in very large losses before completing the sale of

securities. ADTV provides information on the length of time it would take to exit a position. A market

participant would only be able to sell a portion of its ADTV without market impact. Most traders typically

need to take extra risk mitigation steps if the expected exit time exceeds 3-5 days. Although liquidity

increased around dividend dates, the number of shares purported to be traded far exceeded ED&F Man’s

and its clients’ capabilities. In my experience, a limit of around 200% of ADTV would be typical for an

equity finance trading desk.


206.       I have reviewed the daily trading volumes for all the shares in the Appendix C Cum-Ex Trades

and show the results of this analysis in Appendix D. Focusing solely on trades done in respect of the

COLOB real dividend on December 11, 2013, it is evident that the 1,000,000 shares purported to be

purchased by Cambridge Way and AIG were nearly more than 350% of the ADTV for the 30 trading

days around the Record Date, which was approximately 273,000. Across all its clients, ED&F Man

claims to have traded over 3,000% of the ADTV. No sensible risk manager would ever have permitted

such trading limits, and this is a clear indication to me that it was clearly understood by all the participants




149
      ED&F Man Europe Risk Mandates document from January 2014 (ED&F-00444677, at 84).


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that there would in fact be no market risks because all of the trades were completely pre-ordained, circular,

and self-cancelling.


207.    A similar pattern is observed around nearly all of the real dividend events covered by the

Appendix C Cum-Ex Transactions. The total withholding tax reclaims made by ED&F Man and its

clients amounted to an average of over 2,000% of ADTV. See Figure 9 below.




                                                 Figure 9




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208.     It is simply not credible for the participants in these transactions to claim that these were real

investment positions. Had these reported amounts actually been transacted, they would have materially

moved the market and posed serious risk management considerations for both ED&F Man and the market.


209.     To illustrate this point, there are 6 dividend events listed in Appendix D for which the number of

shares ED&F Man claimed to hold was 9% or more of the total issued share capital of the companies. In

my experience, accumulating real positions of this magnitude in a major listed entity would have serious

market impact, reputation and legal risks associated with it and could well have required disclosure to the

Danish securities regulator. 150 I have seen no evidence that any of these issues were ever considered or

discussed by the participants which confirms my view that these were not real trading positions for either

ED&F Man or the ED&F Man Pension Plans.


         D.      Opinion 4: ED&F Man’s Tax Voucher Process Was Highly Unusual,
                 Inappropriate, and Resulted in Fabricated Tax Vouchers with False Statements

210.     ED&F Man also had a highly unusual and inappropriate process for creating Tax Vouchers for

its clients in the Appendix C Cum-Ex Trades.


211.     It is entirely customary for banks, prime brokers, or custodians to hold securities in co-mingled

or omnibus accounts and through a series of sub-custodians. It is equally customary for the client-facing

broker, ED&F Man in this case, to produce a specific tax voucher for its client confirming the details of

any real dividends or interest that the client has received from assets the client-facing broker holds on the




150
   See the current rule which requires reporting holdings greater than 5% at
https://www.dfsa.dk/Reporting/Major-shareholder-notifications and a 2012 version of the rule at
https://www.dfsa.dk/-/media/Lovgivning/Oversat-lovgivning/Acts/C_Act855_2012-pdf.pdf, both accessed on
December 14, 2021.

Nasdaq OMX Nordic provides notifications of such changes in large holdings at
http://www.nasdaqomxnordic.com/news/companynews, and no such records of ED&F Man positions are
available.


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client’s behalf. Additionally, this voucher is produced on the basis of a calculation of the relative portion

of the real dividend received by the broker.


212.      However, what is highly unusual and inappropriate in the claims related to this matter is the

production of Tax Vouchers on the basis of lists of traded but unsettled transactions that had been

conducted but remained unsettled by the Ex-Record Date, rather than based on the shares that ED&F

Man actually held in its custody accounts. 151 I note by way of comparison that the terms and conditions

of the SEB Custody Agreement Country Annex for Denmark, 152 which applied to ED&F Man when it

used SEB as custodian for a number of the relevant transactions after April 2014, states that [tax reclaims

must be filed] “for settled positions only” and later that “no tax reclaims will be filed for stock lending,

where the given entity is not entitled to the refund”. In my experience the approach outlined by SEB is

typical of the market standard approach.


213.      As is readily apparent from the transaction description above, no member of ED&F Man’s group

ever held any shares or received any real dividend for the event involving Appendix C Cum-Ex trades.

Even if the counterparties in these transactions had been the holder of record on the Record Date,

producing tax vouchers solely on the basis of a Market Claim was highly unusual and should not have

been done without extensive legal advice, appropriate disclosures, and caveats related to the tax voucher

itself. I note that ED&F Man’s own Risk Mitigations and Controls Framework shared with the FCA

states that all trades have relevant opinions which are reviewed and independently revised by Group




  See, ED&F Man Dividend Reconciliation Excel Workbook (ED&F-00081150) which includes the dividend
151

compensation amounts in the transaction being considered here. This includes 7 rows totaling 2,000,000 shares
which formed the basis for the tax voucher issued to Cambridge Way (ED&F-00220082).
152
      SEB_00000016.


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Tax. 153 However, ED&F Man has stated that it did not obtain any of its own legal opinions which would

have been customary given the importance of this process to these significant transactions. 154


214.       In respect of the dividend paid by Coloplast on December 11, 2013, the dividend reconciliation

schedule 155 indicates that it issued tax vouchers for approximately 8.3M shares when it actually only had

1.0M shares in its BNP Paribas custody account on the Record Date and it appears that BNP Paribas only

credited ED&F Man with the net dividend on those 1.0M shares. 156 The significant divergence between

purported and actual share amounts highlights the extent to which the dividend Tax Vouchers were

divorced from the payment of real dividends.


215.       From April 2013 to April 2014, ED&F Man held the Pension Plans’ shares in BNP account

778523F 157. I have verified that for 13 of the 14 relevant dividend events in this period, the numbers of

shares held by ED&F in this BNP account are the same in the BNP dividend history ED&F-00603586 as

in ED&F’s own dividend reconciliation forms. 158 These share counts held by BNP are under 20% of the




153
      See ED&F-00444656 at 70.
154
      See, for example Hashemi Tr. Vol. 1 at 50:10 – 50:19.

155
      See, the ED&F Man Dividend Reconciliation Excel Workbook (ED&F-00081150)
156
   See the Excel Workbook ED&F-00603586 which I understand is an extract from BNP Paribas of dividends
credited to ED&F Man. This has three rows for the dividend from COLOB paid on 11 December 2013. Two of
these rows have no shares and no net dividend and the final row shows a dividend being credited for a position of
1,037,116 shares which matches the ED&F Man Dividend Reconciliation Form ED&F-00045042 at 75.
157
      Draft SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts Appendix 2, at p. 3.
158
   ED&F-0063586 and each individual ED&F Man trade pack. There is one dividend event discrepancy for the
A.P. Møller Mærsk A/S – Class A April 3, 2014 dividend event, which is excluded from this chart. ED&F's
dividend reconciliation form (ED&F-00039716 at 26) does not show any shares held at BNP, but BNP's Dividend
Schedule ED&F-00603586 has 2 rows for this dividend totaling 2,500 shares. For all 13 other dividend events in
this period, which are included in this chart, the numbers of shares held at BNP are consistent between ED&F and
BNP's respective records. I also note that for a few of these dividend events, ED&F’s dividend reconciliation
forms do indicate that some shares were held at external brokers other than BNP Paribas. However, this caveat
does not alter the opinion that ED&F did not hold enough real shares to cover their tax voucher claims.


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number of shares for which ED&F Man claimed a Tax Voucher for 11 of the 14 dividend events. See

Figure 10 below.




                                              Figure 10




216.    I have also looked at an example dividend event relating to the period after which ED&F Man

had switched from BNP Paribas to SEB as its custodian for Danish shares. Specifically, I have looked at

the dividend paid by Novozymes A/S on March 2, 2015, discussed earlier in the context of understanding

how ED&F Man settled these transactions. This dividend event shows an identical position to that

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observed when BNP Paribas was the custodian. The dividend reconciliation schedule for this dividend

shows that ED&F Man issued Tax Vouchers for a total of 2,615,000 shares. 159 However, the SEB

schedule of dividends credited to the ED&F Man client account used by the ED&F Man Pension Plans

only held shares of 1,115,000 shares (i.e., the shares previously identified as relating to Cum-Cum trades

transferred from Macquarie) and ED&F Man was credited with a dividend on this number of shares by

SEB. 160 No dividend was credited to ED&F Man by SEB for the other 1,500,000 shares but ED&F Man

issued Tax Vouchers for amounts calculated by reference to these shares anyway.


217.       Finally, because the trades were self-cancelling, it is also notable that, in a number of cases,

including in the MPT Dubai trade, the normal market discipline of actually settling and matching up

trades with external counterparties was missing making the booking process prone to error.


218.       For example, in a January 7, 2014 email to ED&F Man, several weeks after the transactions,

Darren Thorpe of Zeta disclosed that the trade bookings for Cambridge Way were incorrect. 161 The

records indicated that Cambridge Way had bought 3,000,0000 COLOB shares and sold 2,500,000 of

them, when in fact, the confirms, assuming these were real trades, suggested that Cambridge Way bought

and sold 2,000,000 COLOB shares. Although Darren Thorpe of Zeta confirmed that ED&F Man’s

Operations Team had credited Cambridge Way with the ‘correct’ amount, the error in this instance clearly

points to the production of tax vouchers being wholly divorced from the payment of real dividends.


219.       A similar discrepancy is also apparent in an unrelated transaction. It appears that in respect of a

dividend event for the Lundbeck A/S shares (“LUN DC”), the total reclaims made based on ED&F Tax

Vouchers, which I understand ED&F Man refers to as the Annex A tax vouchers, did not match the



159
      ED&F-00076389, at 02

  SEB_0000095 which I understand to be a report of all dividends paid into the ED&F E1 73% POOL (Account
160

Ref: 05295142806) during the relevant period.
161
      See, ED&F-00152620.


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amounts which ED&F Man’s own process indicated vouchers should have been issued and an excess of

DKK 312,120 was received from SKAT. It appears that no attempt was made to return these funds to

SKAT or correct the error and that it was booked as extra profit. 162


                  1.        The Tax Vouchers That ED&F Man Produced Contained False
                            Representations, Were Essential to Filing False Tax Reclaims, and All
                            Participants in the Order and Execution of These Trades Would Have Been
                            Fully Aware of This

220.      ED&F Man produced fabricated dividend Tax Vouchers. Without these Tax Vouchers, there

would have been no possibility for any of ED&F Man’s customers to submit tax reclaim applications.

Further, reclaims are a relatively straightforward matter for a customer with a tax voucher in hand. The

Tax Vouchers were issued by a U.K. regulated financial institution and clearly stated that Cambridge

Way was “holding the security over the dividend date” and that “the dividends paid specified on this

voucher we paid net of withholding tax”. 163 Similar statements are made in every Tax Voucher ED&F

Man issued in respect of the Appendix C Cum-Ex transactions. All these statements are simply false.


                  2.        ED&F Man’s Failure to Obtain Any Legal and Tax Advice Was a Breach
                            of Its U.K. Regulatory Obligations. The Tax Opinions That Were Provided
                            by PwC and Hannes Snellman Appear to Simply Be Marketing Opinions
                            Which Bear Little or No Relation to the Transactions Actually Undertaken
                            and Were Used to Provide Cover for the Participants Rather Than Proper
                            Consideration of The Appropriateness of the Transactions as Conducted

221.      As has been clearly demonstrated above by the economics of the transactions in question, the

sole purpose of the transactions was to generate tax reclaims from SKAT. Despite being well-versed in

the transactions and in spite of its own Risk Mitigation and Controls framework requiring opinions to be

obtained and ‘revised’ by Group Tax, ED&F Man has stated that it did not obtain any of its own tax or




  See, Hashemi Tr. Vol. 2 at 324:1 – 325:8; emails from Marcus Howard of ED&F Man, July 3, 2013 (ED&F-
162

00060769) and Christina Mackinnon of ED&F Man, December 18, 2013 (ED&F-000195488).
163
      See, ED&F-00220082.


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legal opinions. 164 ED&F Man and Duet Group were both regulated by the FCA and Acer was regulated

by FINRA in the US. 165 My expectation is that all of the ED&F Man Pension Plan advisers would have

been under at least some basic form of fiduciary and regulatory duty of care to the ED&F Man Pension

Plans in question. As such, the transaction participants would have been under regulatory and legal duty

to appropriately due diligence any transactions. In addition, both the FCA and FINRA require adequate

recordkeeping of the due diligence performed so that it can be audited or referred to in subsequent

investigations by the regulators.


222.       Highlighting these requirements, in November 2021 the FCA fined Sunrise Brokers, a broker for

equity trades in some of the Appendix C Cum-Ex Trades, over £600,000 for failure to properly conduct

due diligence transactions of the type involved in this case with Solo. 166 The notice for this fine makes

it clear that the FCA’s view is that any UK regulated firm has a responsibility to properly understand the

transactions it does with its clients and to take reasonable steps to mitigate financial crime. I have seen

no evidence that these FCA requirements were properly adhered to by the parties.


223.       In very similar terms the FCA fined Sapien Capital £178,000 and heavily criticized it for its

role in the Solo Transactions (discussed in more detail later). Again, the FCA makes clear that it

considers that UK regulated entities have a responsibility to understand the transactions they arrange for




164
      ED&F-00445164 at 70.
165
   Duet Group and Acer are regulated by the FCA and FINRA respectively. For Duet Group, see,
https://www.duetgroup.net/, accessed December 29, 2021. For Acer, see,
https://brokercheck.finra.org/firm/summary/107062, accessed December 29, 2021.
166
    See, https://www.fca.org.uk/news/press-releases/sunrise-brokers-llp-fine-serious-financial-crime-control-
failings, accessed December 24, 2021. It has been represented to me that Sunrise Brokers was also a broker for
transactions undertaken by Roadcraft similar to the Solo Transactions described herein.


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clients. It states that the “way the trades were conducted in combination with their scale and volume

are highly suggestive of financial crime”. 167


224.     Furthermore, the tax opinions that I have reviewed which relate to the Appendix C Cum-Ex trades

would not have been accepted as suitable support for transactions of this nature at any reputable

institution. 168 These opinions are based on highly hypothetical transactions which bear little or no

relation to the transactions actually undertaken. Furthermore, based on my experience in reading similar

opinions, I find many of the conclusions very surprising and would have significantly challenged the

conclusions in those opinions. I would have been highly skeptical about my ability to rely upon them.

In my view and based upon my experience, these opinions fall into the category of marketing opinions,

which are opinions often used by promoters of schemes to convince parties external to the scheme of its

legitimacy, whilst avoiding all the difficult aspects of the transaction that would render the opinion null

and void.




167
   See, FCA, Final Notice to Sapien Capital, ¶ 2.13 (May 6, 2021), available at
https://www.fca.org.uk/publication/final-notices/sapien-capital-limited-2021.pdf, accessed December 28, 2021.
168
   See, PwC Opinion to Vale (GP) Limited (DELM002768) which contains a range of assumptions which are
demonstrably not applicable to the transactions being considered, not least that “the main objective behind
Hamlyn LPs transactions […] is not speculating on double taxation treaty benefits”. See also Hannes Snellman
opinion dated June 3, 2013 to Belador Advisors UK Limited which makes statements like “USPP may lend out
the Danish Equity’ [emphasis in the original] and ‘the Danish Equity will be held by USPP through a custodian
and will be recorded with the custodian’ and so clearly does not envisage a completely circular transaction where
the shares never actually settle”


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         E.        Opinion 5: The Transactions That Solo Engaged in Also Involved Fabricated Cum-
                   Ex Transactions in Which (i) No Shares Were Delivered to or Received by the Solo
                   Pension Plans, (ii) No Cash Was Exchanged, (iii) The Solo Pension Plans’
                   Counterparties and Other Parties to the Transactions Did Not Receive A Real
                   Dividend, (iv) The Trades Deviated from Market Standards in Numerous Ways,
                   Were Not Arm’s-Length, and as Such, Avoided and Ignored Real Market Risks, (v)
                   None of The Parties Were at Risk of Any Real Market Gain or Loss, Except for the
                   Receipt of a Fabricated Dividend Tax Reclaim, and (vi) It Appears That the
                   Communications About Executing The Trades Were All Automatically Generated
                   by Solo, With No Independent Involvement of Any of The Parties

225.     In the following section, I provide a detailed description of a transaction undertaken by Solo,

which supposedly acted as a clearing firm for it. 169 I show that the transaction was completely

circular, did not require holdings of either shares or cash, and its participants—Solo’s purported

clients and counterparties—faced no market risk whatsoever. Based on my review of the evidence,

Solo never held any actual Danish securities, a fact that Sanjay Shah effectively concedes by

admitting in his pleadings in the parallel English action that the Solo trades all netted completely to

zero. 170 I conclude that the transaction was in totality, completely fictitious. Further it is my view

that fictious nature of the transactions should have been obvious to any of the participants involved

and should have raised important regulatory or money laundering red flags for them.


226.     While I have only reviewed two Solo trades, Counsel has represented to me that Bruce

Dubinsky in his Expert Report opines that he has seen no evidence that any of the 2,599 trades

conducted by the Solo Custodians that are at issue in this litigation differ in any material respect.

Assuming that to be so, the opinions I set out below apply equally to the remaining Solo transactions.



169
    All confirmation emails from Solo contain the following text:
"In relation to the trade referred to below (Trade), Solo Capital Partners LLP approves such Trade (in accordance
with the Addendum to the International Uniform Brokerage Execution Services Agreement: Trader Version 2008)
on the following basis: (i) You may seek liquidity for the Trade (via the Broker that you have identified), and (ii)
If appropriate liquidity is found, the Trade is executable in its entirety only (that is, on a fill or kill basis) – partial
execution of the Trade is not approved. Subject to (i) and (ii) above, Solo Capital Partners LLP will irrevocably
accept to effect the clearing of the Trade. In case of any queries, please contact custody@solo.com. Global
Securities Services Solo Capital Partners LLP. "
170
    In the High Court of Justice, Business and Property Courts of England & Wales, Commercial Court, SKAT v.
Solo Capital Partners (in Special Administration) & Others, Sanjay Shah Defendants’ Response to Claimant’s
Request Dated June 4, 2019 for Further Information Under CPR 18 (“Shah Response”), p. 15, Response 21.


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                  1.       Detailed Description of the “Delvian Carlsberg 2013 Transaction”, Which
                           May Also be Referred to as the “Solo” Transaction. 171

227.     The parties to the transaction were:


         a.       Delvian LLC Pension Plan (“Delvian”), one of the U.S. Solo Pension Plans for

         which Solo supposedly provided custody services. 172


         b.       Aquila Cayman Ltd. (“Aquila”), an entity which served as a stock loan intermediary.


         c.       Gulf Management Group, an entity which served as a short seller. 173


         d.       FGC Securities LLC, an entity which served as a broker / futures intermediary.


228.     The shares that were supposedly traded were Carlsberg A/S (“Carlsberg”) B shares

(“CARLB”). CARLB’s annual dividend of DKK 6 had an Ex-Date of March 22, 2013, a Record

Date of March 26, 2013, and a Payment Date of March 27, 2013. 174




171
   I have also reviewed the trades of the Roadcraft Technologies LLC Roth 401(k) Plan (the “Roadcraft NZYMB
2015” transaction) surrounding the March 2015 dividend issued on Novozymes A/S – B shares. Like the Delvian
Plan’s Carlsberg trades, the Roadcraft NZYMB 2015 transaction’s trades were also part of a circular loop of fake
trades. The two differences between the Delvian example and the Roadcraft example do not change this
conclusion: First, in the Roadcraft Novozymes 2015 Transaction trade loop there were additional intermediary
brokers, futures counterparties, and stock loan counterparties. Second, the Roadcraft NZYMB 2015 transaction’s
trades used forwards as a hedge instead of futures. As stated, these differences do not change my conclusion that
they are designed only to generate a false dividend credit advice to receive a tax refund from SKAT.
172
   Amended Complaint & Demand for Jury Trial, SKAT v. John van Merkensteijn et al., dated April 27, 2020, ¶¶
26, 65-66, and 86, 19-cv-10713-LAK (S.D.N.Y. April 7, 2020)
173
   It is theoretically possible that Gulf Management Group had other CARLB shares as part of some other
unrelated transaction at the time of entering into its Cum-Ex sale to Delvian so that, strictly speaking, it would not
be a ‘short seller’ in respect of some or all of the CARLB shares. However, given that it subsequently ‘settles’ the
sale using shares acquired via its stock loan from Aquila I proceed on the basis that it did not have any such
shares. Even if it did own such other shares it would not impact my conclusions in any way because no shares
were held by the Solo Custodians so I can be confident it did not use any such shares in this transaction.

  See, https://www.carlsberggroup.com/investor-relations/shares/investment-calculator/, accessed December 28,
174

2021.


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229.        The transaction constructed by Solo can be described from the perspective of the Solo

Pension Plan as follows: Delvian purchased 600,000 CARLB shares at DKK 586.4698 per share,

for a total purchase price of DKK 351,881,880. The transaction purportedly had a Trade Date of

March 21, 2013 and was due to settle six days later on March 27, 2013. 175 This trade shared the

same fictitious Cum-Ex characteristics as the Annex E Cambridge Way – MPT Dubai COLOB 2013

transaction, which is described in Opinion 2, and included and summarized in Appendix C. The

opinions I have expressed in Opinion 2 above, regarding the Appendix C Cum-Ex trades apply with

equal force to this and any other similarly structured trade that the Defendants conducted with the

Solo Custodians 176.


230.        The following events occurred with respect to the Solo transaction:


                •    An equal and exactly opposite trade confirmation was emailed from Solo 177 to an entity

                     called Gulf Management Group, which also had an account with Solo. 178




175
      ELYSIUM-01463019.
176
   There are some differences which are worth highlighting as a result of the differences in the transactions and
the differing evidence I have seen. These are as follows:

       1.   The two transactions I have reviewed are most similar to Annex E transactions in that we can see that no
            party held any shares over Record Date and therefore some of the points made about the non-Annex E
            trades are not relevant. However, it is self-evident from the points I explain below that the IDBs in these
            transactions were even less independent than those in the ED&F Man transactions.

       2.   I have not reviewed the pricing, risk sharing and detailed margin arrangements of the Solo Transactions
            but again it is self-evident that these were coordinated schemes and there was in fact no proper
            consideration of these issues because all the trades were both fictitious and fully self-offsetting so that
            none of the parties had any meaningful risk apart from any de minimus brokerage costs.
177
      All emails originated from solotradeapprovals@solo.com.
178
      ELYSIUM-01463069.


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             •   Delvian, in turn, hedged its price risk exposure by selling 6,000 futures contracts for

                 CARLB shares at a price of DKK 582.49. 179 Again, Gulf Management Group received

                 a trade confirmation for the opposite trade. 180


             •   On the Record Date, March 26, 2013, Delvian arranged to finance its purchase by

                 entering into a stock loan under which it agreed to lend out the 600,000 CARLB shares

                 at DKK 586.4698 per share to an entity called Aquila, which also had an account with

                 Solo. 181 Concurrently, Aquila lent the same shares under the same terms to Gulf

                 Management Group, the purported short seller, thus completing the circle. 182


231.      On the Payment Date, the following allegedly occurred:


             •   Delvian paid the purchase price of DKK 351.9 million to acquire the 600,000 shares of

                 CALRB from Gulf Management Group.


             •   Delvian funded its ‘purchase’ of the 600,000 CARLB shares with the DKK 351.9 million

                 cash collateral it received under the stock loan with Aquila.

             •   Delvian received the 600,000 CARLB shares from Gulf Management Group and

                 delivered them to Aquila.

             •   Aquila delivered the 600,000 CALRB shares to Gulf Management Group and received

                 DKK 351.9 million in cash collateral.

             •   Gulf Management Group sold the shares to Delvian and received a sale price of DKK

                 351.9 million.



179
      ELYSIUM-01463050.
180
      ELYSIUM-01463066.
181
      ELYSIUM-01487895.
182
      ELYSIUM-01487882.


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              •   Delvian, sold 6,000 futures contracts for CARLB shares at a price of DKK 582.49 to

                  Gulf Management. Group


232.      After the Dividend Date, the trade was left outstanding until June 10, 2013, when it was unwound

by reversing the steps from the original trade:


              •   Delvian sold the shares; Gulf Management Group bought the same shares. 183


              •   Delvian recalled the shares it had lent out by using the cash from the sale of shares;

                  Aquila did the same. 184


              •   Delvian bought a future to close its hedge; Gulf Management Group sold the same

                  future. 185


233.      Delvian filed a withholding tax refund claim with SKAT on April 8, 2013 and supported it with

a “Dividend Credit Advice” prepared by Solo. 186 The circularity of the scheme is evident. See Figure

11 below.




183
      ELYSIUM-01789225, ELYSIUM-01789227.
184
      ELYSIUM-01805039, ELYSIUM-01805041.
185
      ELYSIUM-01789224, ELYSIUM-01789231.
186
      SKAT_MDL_001_00079683, at 725-730.


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                                                  Figure 11




                 2.       Solo Held No Shares in Its Sub-Custodian Accounts, and, Netting Offsetting
                          Trades at the Custodian or Sub-Custodian Level Cannot Create Shares or
                          Dividends

234.     I reviewed several documents with information on the amounts of Danish securities held by

Solo during the Relevant Period. I conclude that at no time during the Relevant Period did Solo in

fact hold a long position in any Danish stock.


235.     I reviewed declarations made by JPMorgan Chase Bank, N.A. – London Branch and J.P.

Morgan Securities plc (together “JPMorgan”) and SEB, two of the institutions in which Solo

supposedly held custody accounts. 187 The JPMorgan Declaration lists Solo as one of the entities for



  I understand that Solo Capital had a custody account with JPMorgan during the relevant period, and that
187

JPMorgan has confirmed that this account did not hold the relevant shares during the relevant period. See,
Declaration of Matthew J. Totman, ¶ 8: “JPMorgan… identified no holdings of any of the Danish Securities [e.g.,


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which JPMorgan “identified no holdings of any of the Danish Securities during the Applicable

Period.” 188 The SEB Declaration lists Solo among one of the entities for which “SEB Denmark has

searched the customer database for SEB Denmark’s custody business… in the Applicable Period”

but found none. 189,


236.       In an English litigation filing, Sanjay Shah, who I understand to be the owner of Solo and

the other Solo Custodians, maintains that Solo “held claims against JP Morgan and SEB in the sum

of zero because the long and short positions in the account netted off. This was same for dividend

payments.” 190


237.       Solo appears to be claiming that where clients have equal and offsetting long and short

positions, the client is entitled to treat the long counterparty as if it did, in fact, have actual shares for

which it is entitled to real dividends. This is obviously wrong. In my experience, a custodian would

only issue tax vouchers which totaled its combined net long position, not the long side of its net flat,

or equal and offsetting long and, short positions. Market participants would request segregated client

accounts if they expected dividend receipts to be an important economic factor for them, precisely




CARLB] during the Applicable Period [e.g., March 2013-June 2013] for the following entities: … Solo Capital
Partners LLP….” Statements from the purported trade date, March 21, 2013, show a series of exactly offsetting
long and short futures positions. ELYSIUM-01479796.
188
      Declaration of Matthew J. Totman (JPMorgan), December 15, 2021, ¶ 8.
189
   Declaration of Anders Peter Bryde Rasmussen, May 17, 2021, ¶¶ 12-13. In addition, counsel has represented
to me that Solo Capital’s U.K. solicitors, Reed Smith LLP, reported to the U.K. FCA that from 2014 to 2015 Solo
Capital also used Société Générale SA to sub-custody securities. ELYSIUM-05327063, at 2. Counsel has
represented to me that the Expert Report of Bruce Dubinsky concludes that the Société Générale’s records of
Solo’s cash and securities holdings include no evidence that Solo Capital or the other Solo Capital Custodians
held the Danish securities the Plan’s claimed to SKAT to have owned.
190
    Shah Response, p. 15, Request 21: “Please confirm whether it is alleged that SCP [Solo Capital Partners] was a
client of the credit institutions and was entitled to and did hold claims against those credit institutions for shares
and net dividend payments in respect of the WHT [withholding tax] Applications.” Response 21: “During the
periods specified above, SCP was a client of JP Morgan, SEB (and Citi), who are each credit institutions. At the
relevant times, it held claims against JP Morgan and SEB in the sum of zero because the long and short positions
in the account netted off. This was same for dividend payments.”


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to prevent accidental rehypothecation or netting, which could prevent the clients from earning the

expected income.


                    3.       The Circular Nature of the Solo Trades with Delvian Means That There
                             Was No Requirement for Shares or Cash; The Purported Trades were
                             Completely Fake

238.       Notwithstanding the theoretical ability to net settle offsetting DVP transactions, one could not

independently settle any of these transactions because there was no cash 191 and even if one of the parties

had access to cash it still could not have worked because there were no shares 192. Put another way,

Delvian could not initiate settlement because it did not have cash 193, and in any event, Gulf Management

Group did not have any shares to give Delvian such that even if Delvian could access cash from Aquila

this settlement could not have been completed on a normal DVP basis.


239.         However, by what appears to be an inexplicable bookkeeping-entry, Solo settled all the trades

despite lacking cash, or the shares provided by any of its clients. For the avoidance of doubt, in my

experience, this is not a usual or appropriate thing for a custodian to do for its clients.


240.        Both the original trades in March 2013 and the unwinds in June 2013 are completely

circular. There were no shares, and no cash was used to settle the trades, so the transaction was

simply fictitious. The three-month “holding period” was undoubtedly a position designed to

demonstrate in the event of an inquiry by SKAT or Solo Capital’s other regulators that Delvian was

a long-term owner of the shares but as was the case with ED&F Man Cum-Ex Transactions I do not

consider that these positions represented legitimate trading positions.



191
   Counsel has represented to me that the Expert Report of Bruce Dubinsky concludes that the Solo Custodians
did not have sufficient cash within their environment to facilitate the settlement of this transaction during the
Relevant Period.
192
      As confirmed for the reasons given in the previous section.
193
   At least this is my presumption given the perfectly matching stock loan to Aquila which it used to fund the
‘settlement’.


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                    4.      All the Trades Were Dictated to the Solo Pension Plans by Solo and
                            Eventually Automated; Both These Facts are Highly Irregular and Further
                            Evidence That These Transactions Were Fake

241.       The Solo trade initiation was even more unusual than the pre-planning and pre-ordination seen

in the ED&F Man Annex E trades. With the Solo trades, purported traders working for the Solo Pension

Plans would receive instructions from Solo with directions on which shares each Plan was to trade, trade

volumes, and trade counterparties. 194 This is highly irregular and means that the purported trades were

not at arm’s-length.

242.       More egregiously, beginning in early 2015, the purported trades began to be auto generated by

Brokermesh, an automated system created by Solo to generate and book trades. 195 It is not uncommon

for some hedge funds to build sophisticated trade automation systems and many high-frequency hedge

funds delegate trading entirely to algorithms. However, that is not at all like the Solo/Brokermesh

process. The Brokermesh system appears to have generated emails purporting to be from one firm to

another firm or from Solo to various firms offering trades and then confirming them. 196 These trades

were all conducted internally on Solo’s platform. 197 According to the U.K.’s FCA, “Brokermesh was

always able to locate liquidity for OTC trades worth over £6.3 billion that were executed by Sapien [a

broker that participated in the Solo trades], even though access to the platform was closed, being limited

to clients introduced to the brokers by the Solo Group.” 198




  See, for example, Klugman Tr., at 110:6-23; Lehman Tr., at 331:7-11, 338:3-6, 348:21-23, 357:22 – 358:13,
194

377:9-16; JHVM_0004863 and attachments.
195
    See, FCA, Final Notice to Sapien Capital ¶ 4.114 (May 6, 2021), available at
https://www.fca.org.uk/publication/final-notices/sapien-capital-limited-2021.pdf (“FCA Sapien Final Notice”),
accessed December 28, 2021; FCA, Final Notice to Sunrise Brokers LLP ¶ 4.123 (November 12, 2021), available
at https://www.fca.org.uk/publication/final-notices/sunrise-brokers-llp-2021.pdf (“FCA Sunrise Notice”),
accessed December 28, 2021.
196
      FCA Sunrise Final Notice ¶ 4.123.
197
      FCA Sunrise Final Notice ¶ 4.125.
198
      FCA Sapien Final Notice, ¶ 4.129.


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243.      The observations I made earlier in respect of the ED&F Man Cum-Ex transactions about the size

of the trades relative to the ADTV are equally applicable to Solo. It is inconceivable to me that these

IDBs were genuinely able to provide instant access to liquidity equal to more than the ADTV of the shares

in question. 199 Rather it is a further indication that these were fictitious and circular transactions which

were accepted without question by all the parties because they understood the circularity of the

transactions and knew they had no trading risk.


244.      Additionally, all of the transactions I have reviewed were structured such that same day trades

took place at exactly the same price with no bid/offer spreads on any of the legs and as mentioned below,

the stock loans further used the same prices as buy and sell trades conducted on previous dates irrespective

of intervening price moves. Therefore, even if we were to accept that the IDBs were genuinely seeking

liquidity and providing it to other of Solo’s clients (via Brokermesh or otherwise), which I do not, then

there does not appear to have been any opportunity for them to generate the normal brokerage bid offer

spreads which is the only reason why a real IDB would participate in a real brokerage platform.


245.      In conclusion, there is no way in which this Brokermesh can be considered a genuine liquidity

finding venue and these facts further support the conclusion that these transactions were simply fictitious

and that all the supposed participants were in league with Solo, which was organizing and coordinating

all of the false bookings and tax reclaims.


                  5.       The Terms of the Stock Loan Agreements are Highly Irregular for Multiple
                           Reasons

246.      First, for the Solo transaction discussed above, the stock loan confirmation states that Aquila, the

borrower, would pay 100% of dividends back to the lender, Delvian. 200 However, since the stock loan



  For example, Appendix D shows that the ADTV of Novozymes A/S shares used in the Roadcraft NZYMB
199

2015 transaction was approx. 524,000 shares per day when the number of shares traded by the participants was
681,437 shares.
200
      ELYSIUM-01487895.


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was traded on the Record Date for settlement after the Record Date, this provision appears to be

meaningless because there was no need for any manufactured payments during the life of the stock loan.

This is because even if there had actually been any real shares, the real dividend on those shares would

not have been received by Aquila, which would only have taken delivery after the Record Date. 201

Further, had Carlsberg announced and paid a special dividend during the term of the loan, Aquila would

have lost 27% of any such dividend paid as it would not be able to recover any withholding tax and would

have had to pay the gross amount. 202 This demonstrates that the terms of the stock loan transaction were

unmoored from the realities of the actual market or any economic considerations, and would have only

been undertaken to create the illusion of a dividend to support a reclaim application by Delvian.


247.     Second, since there was no haircut on the stock loan, Delvian would have received 100%

financing of the share purchase price. Apart from the obvious reason that the transaction allowed the

completely fabricated trade flows to perfectly net out, there is no obvious logic to the terms of the stock

loan from the perspective of the stock borrower, Aquila. In effect, Aquila is providing a thinly capitalized

pension fund with complete financing for its ‘trading’ position and so is effectively at risk of any losses

that arise. In my experience, no stock borrower would agree to such terms as it would require the party

to ignore all counterparty and market risk inherent in any stock loan transaction. As I have explained in

the discussion on margin, haircuts, and valuation of securities, the fundamental purpose of many of the




201
    A dividend compensation payment under a stock loan is paid only when the loan extends over the Record Date.
See section 6.2 of the GMSLA which provides that: “Where the term of a Loan extends over an Income Record
Date in respect of any Loaned Securities, Borrower shall, on the date such Income is paid by the issuer, or on such
other date as the Parties may from time to time agree, pay or deliver to Lender such sum of money or property as
is agreed between the Parties or, failing such agreement, a sum of money or property equivalent to (and in the
same currency as) the type and amount of such Income that would be received by Lender in respect of such
Loaned Securities assuming such Securities were not loaned to Borrower and were retained by Lender on the
Income Record Date.” International Securities Lending Association, “Global Master Securities Lending
Agreement”, available at https://www.islaemea.org/wp-
content/uploads/2019/03/GMSLA_2010_amendments_July_2012-1.pdf, accessed December 23, 2021.
202
   Aquila appears to have been registered in the Cayman Islands, which does not have a double taxation treaty
with Denmark.


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provisions of a GMSLA is for the counterparties to properly mitigate their credit risk to each other and

these considerations have been completely ignored in the way the stock loans were executed.


248.       I have reviewed an email chain between Delvian and Aquila in which Aquila (the stock loan

intermediary) initiates the loan transaction by seeking shares from Delvian. 203 It is not clear to me why

an intermediary like Aquila would be looking to borrow shares if this were a true arm’s-length situation

and even if it was why it would speculatively reach out to a pension fund client.                I do not give any

credibility to this supposed initiation by Aquila but in any event the approach of using no haircut is clearly

not something which would be agreed if Aquila and Delvian were acting at an arm’s-length (particularly

for such a large single-share stock loan transaction). If Aquila needed the shares then Delvian would

demand margin, and if Delvian were in need to funding then Aquila would demand a haircut. The same

issue obviously applies to the onward lending of shares from Aquila to Gulf Management Group.


249.      Third, Delvian received financing based on the value of collateral which was already two days

out of date at the point the trade occurred. This financing amount guaranteed that one of the counterparties

would have significant credit risk to the other, from the point of initiation of the trade. In fact, the closing

price on March 26, 2013, the date of the stock loan was DKK 573.0000, 204 implying that Aquila gave

funding of DKK 586.4698 per share when the value of the collateral was only worth DKK 573.0000 per

share. Aquila provided Delvian with significant margin when it would have been customary instead for

Aquila to demand a haircut from Delvian. This is not something which would have been agreed to

between arm’s-length counterparties.




203
   MPSKAT00075810 & MPSKAT00075813. I have reviewed a document which appears to be instructions for
the individuals who purportedly executed the Solo trades about how the transaction approvals and booking
process worked for many of the Solo trades. JVHM_0004863. It appears from this document that it was the
standard practice for the impression to be created that it was the stock loan intermediary seeking liquidity from the
Pension Plan.
204
      Bloomberg.


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250.       Fourth, Delvian appears to have not taken any steps to finance its purchase of DKK 351.9M of

CARLB shares for the 5 days between the Trade Date of its Cum-Ex purchase and the Trade Date of the

stock loan it used to finance itself. As a thinly capitalized pension fund this is a highly imprudent

approach to take if it were not part of the completely pre-ordained set of transactions. I also note that I

have seen no evidence that any of the counterparties to Delvian were at all concerned about such a large

unfunded position or had taken any steps to address what would happen if Delvian’s funding stock loan

had been declined. There is simply no way that arm’s-length counterparties would have dealt with each

other on this basis.


                   6.       The Terms of the Futures Trades and Solo’s Transactions of Futures at Its
                            Sub-Custodians were Also Irregular

                         a)       The Pricing of the Futures Appears to be Priced using the exact Net
                                  Dividend with no implied sourcing cost and no bid offer spread.

251.       As explained in my introduction about futures and forwards the price of a future or forward can

be expressed as:


                   Forward or Future Price = Current Market Price plus interest less expected dividends


252.       I have reviewed the pricing of the futures in the Annex E Cambridge Way – MPT Dubai COLOB

2013 transaction and the forwards in the Roadcraft NZYMB 2015 transaction 205 and both appear to

have been priced to that the forward price assumed that the recipient would receive precisely the net

dividend of 73%. 206




205
      See, Appendix C, Solo Capital Cum-Ex Trades.
206
    In the Delvian Carlsberg 2013 Transaction I calculate the theoretical forward price as 582.51, being Current
Price (DKK 586.4968) plus interest (586.4968 x 3/12 x 0.002735) minus Net Dividend (DKK6 x 0.73), compared
to the actual rate used of 582.49. I have used the Danish 3-month CIBOR rate from 21 March 2013 of 0.2735%.

In the Roadcraft NZYMB 2015 transaction, I calculate the theoretical forward price as 320.095, being Current
Price (DKK 322.5) plus interest (322.5 x 4/12 x -0.002) minus Net Dividend (DKK3 x 0.73) compared to the


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253.      As we saw with the stock loans, it is my opinion that this ‘perfect’ pricing is a function of the

need to ensure that the various cash flows offset each other and is a further indication that none of the

transactions were done at arm’s-length.


254.       Generally, the pricing of futures and forwards is affected by supply and demand considerations,

which in turn, can distort pricing away from their theoretical value. A market with distorted pricing

creates the opportunity for more parties to participate in the market by filling liquidity shortfalls.

Specifically, limited market liquidity puts upward pressure on share prices.


255.      Further, the pricing of futures is also affected by other factors, including the market level for

dividend compensation payments, interest rates, and other factors, which can, for example, result from

the complex interdependence between equity future markets, government bonds, foreign exchange, and

cash markets. The largest cash managers, including banks, can deploy some of their surplus cash in

equities hedged by futures as an alternative to buying government bonds or depositing cash with another

bank. Depending on the yield curve and the short-term liquidity in the market, there may be temporary

periods where the prices of equity single stock futures are significantly driven by these dynamics and

again deviate from their theoretical value.


                        b)      The Pattern of Futures Trading in Solo’s Omnibus Accounts is Highly
                                Irregular and Has No Market Rationale

256.      Because the Solo Pension Plans and the short sellers, such as Delvian and Gulf Management

Group, took offsetting futures positions, Solo’s position in its sub-custodians’ futures omnibus accounts

would net to zero. This was accomplished through the buying and selling of equal lots of futures in rapid

succession. 207 It was Solo’s practice to never hold open futures positions in its own sub-custodian




actual rate used of 320.1105. I have calculated an interpolated Danish 4-month CIBOR rate of -0.2% effective
from February 25, 2015.
207
      See, for example, ELYSIUM-01460217; ELYSIUM-02038702.


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omnibus accounts, and Solo put in systems in place to ensure this would not happen. 208 While ostensibly

made on behalf two separate clients, Solo’s pairing of a purchase and a sale of a futures in equal lots

meant that Solo itself never held an open futures position in its sub-custodian omnibus accounts, even

though it booked fictious open positions in its clients’ account statements.


257.      These trading patterns are highly irregular, and both JPMorgan and SEB raised issues with Solo’s

trading patterns. 209 In response to one inquiry from JPMorgan, Solo responded that the “commercial

rational behind the business is to charge clients a premium for a facility to clear through a Global Bank

such as JPMorgan where they would not normally have direct access to such a provider. 210 I do not

accept this response: it is not clear what purpose any of the IDBs serve in the Solo Transactions but it is

clear that they are complete pass-through entities which take no risk and have no opportunity for profit

and as part of this pattern the matching futures are all transacted at exactly the same rates (including

futures which appear to be different contract maturities). 211 It is my opinion that the IDBs were used to
                                                               .




create the impression that Delvian and Roadcraft were engaging with real external IDBs and were

transacting on ‘market’ terms.




208
   See ELYSIUM-01550252, which appears to be an internal procedures guide produced by Solo Capital and
explains a range of controls to ensure that Solo Capital never enters into mismatched trades (no doubt because it
would have not had the systems or financial resources to manage any trades by its ‘clients’ which were not
perfectly offsetting. This would have required Solo Capital to provide significant margin to its clearing
counterparties (i.e., JP Morgan and SEB).
209
      ELYSIUM-01746161; ELYSIUM-02521340.
210
      ELYSIUM-01746161.
211
   See for example the trades on 20 March 2013 in the JP Morgan statement (ELYSIUM-01460217). This has 8
trades for the September 20, 2013 expiry single stock future over Novo Nordisk A/S shares and 8 trades of similar
sizes over the December 20, 2013 expiry contract which coincidentally match the prices on the September 20,
2013 expiry contracts exactly.


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                       c)      It Is Not the Market Standard to Engage in Equally Offsetting Futures
                               in Equity Finance Transactions Where the Costs of Commissions,
                               Fees, and the Bid-Ask Spread Were Ignored by Solo and Which are
                               the Equivalent of Wash Trades

258.    In my experience, in transactions where futures are used as hedging instruments in equity finance

transactions, it is not market standard for the gains and losses on the component elements of a trade to

net perfectly to zero. Netting to zero, in this instance, refers to a zero gain or loss for Delvian after

combining the equity purchase, future sale, equity sale, future purchase, net dividend, stock loan interest,

and fees. This outcome is uncommon because of additional costs, such as trading commissions, exchange

clearing fees, financing spreads (typically parties in the transaction want to earn some spread), sourcing

cost (the shares in the transaction have to come from somewhere; the party with the shares expects

compensation for the expected real dividend and this cost is built into the share price and future), as well

as other possible supply and demand factors which need to be priced.


                7.       It is not the Market Standard for Parties to a Stock Loan or Broker-
                         Custodians to Retroactively Alter the Terms of the Original Stock Loan So
                         That the Trades Net to Zero

259.    In my experience, it is not market standard for the custodian’s employees to manually adjust the

stock loan fees and interest to make the trade (excluding the tax reclaim) net out perfectly to zero for

trades that would otherwise leave the reclaim applicant with a loss or gain if the actual terms of the trade

were applied. The reason this occurrence seems unlikely is that an independent arm’s-length transaction

involves retrospective renegotiation of a contract. If it did, one party would necessarily lose out

financially, causing the transaction to lose its appeal and making it less likely that any party that was

assured of loss would agree to participate in such a transaction.


260.    Here, Solo, Delvian, and Aquila did precisely this: they retroactively adjusted interest and fees

on the original stock loan agreement such that Delvian’s trades netted out to zero, so that there was zero

trading loss or gain on the plan’s transactions. This left the dividend withholding tax refund paid by

SKAT as the only gain.

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261.      An example of this can be seen in the Delvian Plan’s trades around the dividend issued by Chr.

Hansen Holdings A/S (“Chr. Hansen”) in November 2012. On November 27, 2012, Delvian purported

to purchase 1,080,000 shares of Chr. Hansen stock, for a notional value of DKK 202,716,216.00. 212 On

the same day, Delvian sold an offsetting future for a notional value of DKK 200,620,800.00 213 On

November 30, Delvian loaned the same number of shares to Aquila with the interest rate set at DKK

Libor plus 70 basis points, payable to Aquila, and a fee of overnight DKK Libor plus 37.953 basis points,

again payable to Aquila. 214 Delvian purportedly received a net dividend of DKK 2,286,360.00 from the

Chr. Hansen shares. 215


262.      In March 2013, Delvian unwound the trades. It sold 1,080,000 shares of Chr. Hansen at for DKK

223,276,824.00, 216 purchased offsetting futures at DKK 223,279,200.00, 217 and recalled the loan from

Aquila. 218 This series of trades did not perfectly net to zero:


                          Step                       Value (DKK)
                          Equity Buy                       -202,716,216.00
                          Forward Sale                      200,620,800.00
                          Net Dividend                        2,286,360.00
                          Equity sale                       223,276,824.00
                          Forward Purchase                 -223,279,200.00
                          Stock Interest Original              -369,580.18
                          Stock Fee Original                    194,895.75
                          Total to Delvian                       13,883.57




212
      ELYSIUM-00921145.
213
      ELYSIUM-00921138.
214
      ELYSIUM-08440461.
215
      MPSKAT00078034.
216
      ELYSIUM-01400202.
217
      ELYSIUM-01527432.
218
      ELYSIUM-01417327.


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263.      Thus, under the original terms of the stock loan agreement, Delvian ought to have earned DKK

13,833.57 on the series of trades. These figures are reflected in an internal Solo spreadsheet 219 generated

in March 2013, which shows DKK 369,580.18 interest due to Aquila and a fee of DKK 194,895.75 due

to the Delvian Plan. 220


264.      Delvian’s account statement tells a different story. It lists DKK 387,305.00 interest due to Aquila

and a fee of DKK 198,737.33 due to Delvian. 221 After substituting in these new numbers, Delvian’s Chr.

Hansen trades nearly perfectly net to zero:


                           Step                       Value (DKK)
                           Equity Buy                       -202,716,216.00
                           Forward Sale                      200,620,800.00
                           Net Dividend                        2,286,360.00
                           Equity sale                       223,276,824.00
                           Forward Purchase                 -223,279,200.00
                           Stock Interest Original              -387,305.00
                           Stock Fee Original                    198,737.33
                           Total to Delvian                            0.33



265.      Thus, by modifying the stock loan interest rate and fees, Solo retroactively made Delvian’s trades

effectively net to zero DKK, leaving the dividend withholding tax refund as the only profit to Delvian.

More than two months after the unwind of the transactions on May 26, 2013, the retroactive changes were

agreed to in an email chain between Aquila and Delvian, in which Aquila informed Delvian that the




  The spreadsheet calculation only runs up to March 11, 2013 whereas the transaction unwound on March 14,
219

2013 so the correct figure would be slightly smaller, but this is immaterial to the observations I am making.
220
      ELYSIUM-01439314 and ELYSIUM-01439315.
221
      MPSKAT00078034.


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interest rate was incorrect. 222 Without protest, Delvian acceded to this change, despite the fact that it

would cost Delvian about DKK 14,000. 223


266.      As stated above, it is highly abnormal for participants in equity finance transactions to

retroactively modify the interest and fees on stock loans to net the trades to zero because it would cause

a loss to one party to the trade – here the Delvian Plan. Further, it is highly abnormal for a custodian to

modify an account statement to not reflect the original terms of a trade. These facts combined are further

confirmation that the purported trading was being dictated by Solo and that no real shares or real money

ever traded hands.




Based on my review of the facts and circumstances in this litigation, various documents produced, and

the analyses presented in this expert report, I submit that the opinions contained herein are an accurate

representation of my views on this matter.


Submitted by:




Graham Wade
December 31, 2021




222
      MPSKAT00082940.
223
   A review of the Delvian Plan’s 2014 account statement also shows that the agreed upon stock loan interest rate
had been adjusted. The original terms of the stock loan for the Novo Nordisk AS-B shares of list an interest rate
0.7000% (ELYSIUM-02915049, whereas the account statement lists the interest rate as 0.76213%
(MPSKAT00168085 at 8091). With the manipulated interest rate in the account statement, the value of all of
Delvian’s purported trades in Danish securities effectively net to zero.


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                          Appendix A: Curriculum Vitae of Graham Wade




   GRAHAM WADE


   8 Finsbury Circus                                                                MA, Mathematics
   London                                                           Corpus Christi College, Cambridge
   EC2M 7EA                                                                          United Kingdom
   United Kingdom
                                                               Certificate, Leadership Decision Making
   gwade@crai.com                                                       Kennedy School of Government
                                                                        Harvard University, Cambridge
                                                                                         Massachusetts



  Mr. Graham Wade is co-founder of a U.K. software start-up firm which develops reporting tools for
  the wealth industry. He has extensive experience in structured financial transactions, a product of 24
  years of experience in the financial services industry. The majority of his professional career was
  spent working at and eventually leading the Barclays Structured Capital Markets (“SCM”) team, the
  largest structured finance business at Barclays, and one of the largest of its type in any investment
  bank.
  From 2008 to 2014, Graham was a Managing Director of Barclays Investment Bank and held various
  senior roles, including leading a team of over 200 people and responsibility for one of the largest
  revenue-generating divisions in the investment bank. He oversaw a range of significant and complex
  structured transactions with the bank’s largest clients and many of the world’s largest financial
  institutions. He was a member of the bank’s Markets Management Committee, which comprised a
  group of senior leaders responsible for strategy and governance across all of Barclays’ trading
  activities. He also served as a board member of Barclays Capital Securities Limited, the bank’s
  principal European Broker Dealer, and sat on the bank’s Global Partnership and Investment Bank
  Treasury Committees, which were responsible for the bank’s liquidity and regulatory capital
  management.
  Between 2008 and 2011, Graham was based in New York and led Barclays’ integration of Lehman
  Brothers’ equivalent North American business into the existing SCM. The integration involved the
  establishment of new trading activities including equity finance as well as setting of overall guidelines
  for equity finance activities involving tax risk across business in all the Americas (United States,
  Canada, and Latin America). He worked jointly with Barclays’ Legal, Tax, and Compliance Teams
  on an annual review process to analyze all potential transactions in detail and set guidelines to ensure
  that all business conducted by Barclays’ traders was appropriate and carefully managed risk.




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  Graham returned to London at the end of 2011 to become Global Head of SCM. Amongst other
  duties, he was responsible for the European equity finance business which had a multi-billion-pound
  balance sheet and was a material component of Barclays European Equities division.
  Starting in late 2012, Barclays undertook a review of its risk appetite and commenced significant
  restructuring. As part of this process, Graham led a newly created global team which undertook a
  wide range of structured transactions for Barclays and its clients. He led a number of initiatives to
  de-risk the group’s balance sheet.
  Graham also worked directly for the investment bank’s CEO and COO and advised them on the
  structuring of Barclays’ non-ring-fenced bank. He reduced the number of independent structuring
  teams in the Europe, Middle East, and Africa (EMEA) region significantly over an 18-month period.

  Prior to 2008, Graham worked in a variety of roles in the SCM team and was, at different times,
  responsible for various governance, transaction review, and execution matters across the whole
  business. Following his departure from Barclays at the end of 2014, he has remained actively
  involved in the financial services industry. From July 2015, he was co-owner and Co-CIO of a
  regulated investment fund which invested in bank capital instruments issued by the world’s largest
  banks. The fund was a finalist at the 2017 EuroHedge Emerging Fund Manager Awards. Following
  the closure of this fund in December 2018, he has shifted his focus to various financial technology
  businesses.

  Graham is a Fellow of the Institute of Chartered Accountants in England and Wales. He has held
  several regulatory qualifications over the course of his career.




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Professional Experience
2019-Present       Various financial technology startup businesses
2015-2018          CEO and Co-Chief Investment Officer, Z Investment Management
2014               Head, Strategic Transactions Group – London, Barclays Investment Bank
2013-2014          Head, Markets Structuring – Europe, Middle East, and Africa (EMEA), Barclays
                   Investment Bank
                   Member, Markets Management Committee, Barclays Investment Bank
2011-2013          Global Head, Structured Capital Markets – London, Barclays Investment Bank
2008-2011          Managing Director, Head of Structured Capital Markets – New York, Barclays
                   Investment Bank
2001-2008          Director, Structured Capital Markets – London and Luxembourg, Barclays Capital
1997-2001          Manager, Financial Services Tax Department, Deloitte & Touche

Additional Qualifications & Previous Licenses Held
   • Fellow of the Institute of Chartered Accountants in England and Wales
   • Securities & Investment Institute: Certificate in Investments (Securities & Financial
       Derivatives)
   • Financial Industry Regulatory Authority (“FINRA”) Series 24 (General Securities Principal
       Exam)
   • FINRA Series 7 (General Securities Representative Exam)
   • FINRA Series 63 (Uniform Securities Agent State Law Exam)

Education
   • Certificate, Leadership Decision Making, Kennedy School of Government, Harvard University,
       Cambridge MA.
   • Masters (Cantab), Mathematics – 1st Class, Corpus Christi College, Cambridge, United
       Kingdom.




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                                Appendix B: Materials Considered

I.      Specific Bates Stamped Documents

I was provided access to the following documents:
 ACER_00001216                    ACER_00001445                ACER_000025840
 ACER_00003187                    ACER_00003195                ACER_00003999
 ACER_00006765                    ACER_00010736                ACER_00024721
 ACER_00010837                    ACER_00010838                ACER_00010842
 ACER_00010860                    ACER_00010868                ACER_00010869
 ACER_00011097                    ACER_00011682                ACER_00015864
 AIG_00000591                     AIG_00000604                 AIG_00000605
 AIG_00000624                     AIG_00000627                 AIG_00000669
 AIG_00000674                     BVI_00000968                 BVI_00000969
 BVI_00000992                     BVI_00000995                 BVI_00001012
 BVI_00001020                     BVI_00001122                 BVI_00001126
 BVI_00001184                     BVI_00001194                 BVI_00001217
 BVI_00003592                     BVI_00003593                 BVI_00003596
 BVI_00003602                     BVI_00003616                 BVI_00003685
 BVI_00003824                     BVI_00004196                 BVI_00004388
 BVI_00005460                     BVI_00006421                 BVI_00006472
 BVI_00006524                     BVI_00012202                 BVI_00012212
 BVI_00012216                     BVI_00012321                 CAYMAN_00004215
 CAYMAN_00004238                  CAYMAN_00004241              CAYMAN_00004242
 CAYMAN_00004246                  CAYMAN_00004257              CAYMAN_00004340
 CAYMAN_00004442                  CAYMAN_00002993              CAYMAN_00002994
 CAYMAN_00003021                  CAYMAN_00003022              CAYMAN_00003024
 DELM002766                       DELM002768                   ED&F Man000001
 ED&F-00000543                    ED&F-00000608                ED&F-00000733
 ED&F-00000858                    ED&F-00001078                ED&F-00002790
 ED&F-00016227                    ED&F-00018338                ED&F-00018602
 ED&F-000195488                   ED&F-00020858                ED&F-00026581



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ED&F-00026596             ED&F-00026628                ED&F-00026653
ED&F-00026769             ED&F-00026785                ED&F-00038254
ED&F-00038269             ED&F-00038285                ED&F-00039011
ED&F-00039716             ED&F-00039730                ED&F-00039750 - ED&F-
                                                       00039785
ED&F-00039975             ED&F-00040670 - ED&F-        ED&F-00040919
                          00040702
ED&F-00040920             ED&F-00040990                ED&F-00040991
ED&F-00041009             ED&F-00041034                ED&F-00041059
ED&F-00041083             ED&F-00041108                ED&F-00041180
ED&F-00041211             ED&F-00041236                ED&F-00041285
ED&F-00041310             ED&F-00042261                ED&F-00042604
ED&F-00042677             ED&F-00042832                ED&F-00042905
ED&F-00042978             ED&F-00043326                ED&F-00043382
ED&F-00043981             ED&F-00043997                ED&F-00044265
ED&F-00044535             ED&F-00044663                ED&F-00044749
ED&F-00044771             ED&F-00044825                ED&F-00044847
ED&F-00044869             ED&F-00044891                ED&F-00044966
ED&F-00044966- ED&F-      ED&F-00044985                ED&F-00045042
00044984
ED&F-00045169             ED&F-00045169- ED&F-         ED&F-00045188
                          00045187
ED&F-00045280             ED&F-00045298                ED&F-00045320
ED&F-00045363             ED&F-00045381                ED&F-00045423
ED&F-00045466             ED&F-00045535                ED&F-00045678
ED&F-00045740             ED&F-00045782                ED&F-00045804
ED&F-00045805             ED&F-00046098                ED&F-00046267
ED&F-00046320             ED&F-00046320- ED&F-         ED&F-00046423
                          00046346
ED&F-00046476             ED&F-00046531                ED&F-00046550
ED&F-00046603             ED&F-00046656                ED&F-00046709
ED&F-00046992             ED&F-00047332                ED&F-00047364
ED&F-00047396             ED&F-00047428                ED&F-00047516



                                     112
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ED&F-00048728             ED&F-00048961            ED&F-00049091
ED&F-00049119             ED&F-00049171            ED&F-00049257
ED&F-00049309             ED&F-00049371            ED&F-00049386
ED&F-00049438             ED&F-00049490            ED&F-00049714
ED&F-00049870             ED&F-00049905            ED&F-00049940
ED&F-00060265             ED&F-00060266            ED&F-00060267
ED&F-00060769             ED&F-00060872            ED&F-00060874
ED&F-00060875             ED&F-00061726            ED&F-00061728
ED&F-00063371             ED&F-00073264            ED&F-00073643
ED&F-00073701             ED&F-00074871            ED&F-00076303
ED&F-00076338             ED&F-00076369            ED&F-00076389
ED&F-00076404             ED&F-00076422            ED&F-00076579
ED&F-00076734             ED&F-00076758            ED&F-00076827
ED&F-00076877             ED&F-00076918            ED&F-00077325
ED&F-00077515             ED&F-00077536            ED&F-00077697
ED&F-00077846             ED&F-00077869            ED&F-00077895
ED&F-00077994             ED&F-00078020            ED&F-00078083
ED&F-00078478             ED&F-00080603            ED&F-00081052
ED&F-00081078             ED&F-00081083            ED&F-00081107
ED&F-00081143             ED&F-00081150            ED&F-00081156
ED&F-00081176             ED&F-00105754            ED&F-00108552
ED&F-00108588             ED&F-00108611            ED&F-00108723
ED&F-00108807             ED&F-00110000            ED&F-00110645
ED&F-00110675             ED&F-00112000            ED&F-00112257
ED&F-00113506             ED&F-00113527            ED&F-00113528
ED&F-00113787             ED&F-00113789            ED&F-00113798
ED&F-00113799             ED&F-00117085            ED&F-00136932
ED&F-00138091             ED&F-00138092            ED&F-00138093
ED&F-00138094             ED&F-00138095            ED&F-00138096
ED&F-00138097             ED&F-00138098            ED&F-00138099
ED&F-00138100             ED&F-00138101            ED&F-00138131
ED&F-00138133             ED&F-00138134            ED&F-00138135


                                    113
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ED&F-00138136             ED&F-00138137            ED&F-00138138
ED&F-00138139             ED&F-00138140            ED&F-00138141
ED&F-00138547             ED&F-00143665            ED&F-00143721
ED&F-00143728             ED&F-00144365            ED&F-00144367
ED&F-00144416             ED&F-00144418            ED&F-00144476
ED&F-00144478             ED&F-00144784            ED&F-00144785
ED&F-00146160             ED&F-00152620            ED&F-00152622
ED&F-00175215             ED&F-00178987            ED&F-00190115
ED&F-00190119             ED&F-00190180            ED&F-00190183
ED&F-00190184             ED&F-00190278            ED&F-00190324
ED&F-00190325             ED&F-00190382            ED&F-00190383
ED&F-00190393             ED&F-00190394            ED&F-00190395
ED&F-00190396             ED&F-00190440            ED&F-00190441
ED&F-00190456             ED&F-00190459            ED&F-00190460
ED&F-00190461             ED&F-00190462            ED&F-00190463
ED&F-00190464             ED&F-00190465            ED&F-00190466
ED&F-00190467             ED&F-00190500            ED&F-00190501
ED&F-00190503             ED&F-00190564            ED&F-00190565
ED&F-00190566             ED&F-00190567            ED&F-00190568
ED&F-00190569             ED&F-00190570            ED&F-00190631
ED&F-00190632             ED&F-00190635            ED&F-00190637
ED&F-00190639             ED&F-00190710            ED&F-00190712
ED&F-00190713             ED&F-00190794            ED&F-00190796
ED&F-00190797             ED&F-00193695            ED&F-00193696
ED&F-00193697             ED&F-00193698            ED&F-00193735
ED&F-00195488             ED&F-00196463            ED&F-00196494
ED&F-00197063             ED&F-00197484            ED&F-00201236
ED&F-00201239             ED&F-00201291            ED&F-00201296
ED&F-00201302             ED&F-00201306            ED&F-00201311
ED&F-00201315             ED&F-00201321            ED&F-00201322
ED&F-00201328             ED&F-00201334            ED&F-00201822
ED&F-00202098             ED&F-00202228            ED&F-00202645


                                    114
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ED&F-00203867             ED&F-00205736            ED&F-00206742
ED&F-00206754             ED&F-00206952            ED&F-00211907
ED&F-00212275             ED&F-00212278            ED&F-00212280
ED&F-00212281             ED&F-00212309            ED&F-00212311
ED&F-00212312             ED&F-00212313            ED&F-00212314
ED&F-00212315             ED&F-00212316            ED&F-00212381
ED&F-00212497             ED&F-00212546            ED&F-00212547
ED&F-00212548             ED&F-00215697            ED&F-00215724
ED&F-00215735             ED&F-00215866            ED&F-00215868
ED&F-00215905             ED&F-00220082            ED&F-00222454
ED&F-00251535             ED&F-00251535            ED&F-00252017
ED&F-00252019             ED&F-00252020            ED&F-00252021
ED&F-00252023             ED&F-00252024            ED&F-00252025
ED&F-00252844             ED&F-00253626            ED&F-00255114
ED&F-00255116             ED&F-00255639            ED&F-00261186
ED&F-00261347             ED&F-00261467            ED&F-00261589
ED&F-00265863             ED&F-00265891            ED&F-00266114
ED&F-00270503             ED&F-00273418            ED&F-00276491
ED&F-00276495             ED&F-00283994            ED&F-00312304
ED&F-00312308             ED&F-00312969            ED&F-00318509
ED&F-00323529             ED&F-00324777            ED&F-00325264
ED&F-00330109             ED&F-00336761            ED&F-00345317
ED&F-00349491             ED&F-00364187            ED&F-00380784
ED&F-00382621             ED&F-00382826            ED&F-00382828
ED&F-00382829             ED&F-00385213            ED&F-00385244
ED&F-00391000             ED&F-00408051            ED&F-00408591
ED&F-00408661             ED&F-00408662            ED&F-00408665
ED&F-00408905             ED&F-00408912            ED&F-00408913
ED&F-00408934             ED&F-00408936            ED&F-00409244
ED&F-00409244             ED&F-00409315            ED&F-00414128
ED&F-00414179             ED&F-00436238            ED&F-00436911
ED&F-00440097             ED&F-00442597            ED&F-00443853


                                    115
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ED&F-00443887             ED&F-00444026            ED&F-00444029
ED&F-00444262             ED&F-00444356            ED&F-00444407
ED&F-00444656             ED&F-00444677            ED&F-00444937
ED&F-00444941             ED&F-00445164            ED&F-00445213
ED&F-00445711             ED&F-00445804            ED&F-00446138
ED&F-00495365             ED&F-00496254            ED&F-00496255
ED&F-00503423             ED&F-00503458            ED&F-00519147
ED&F-00603519             ED&F-00603521            ED&F-00603523
ED&F-00603532             ED&F-00603536            ED&F-00603541
ED&F-00603542             ED&F-00603550            ED&F-00603551
ED&F-00603552             ED&F-00603553            ED&F-00603554
ED&F-00603579             ED&F-00603580            ED&F-00603581
ED&F-00603582             ED&F-00603583            ED&F-00603584
ED&F-00603585             ED&F-00603586            ED&F-00603587
ED&F-00603588             ED&F-00603589            ED&F-00603639
ED&F-00603698             ED&F-00603756            ED&F-00603826
ED&F-00603827             ED&F-00603828            ED&F-00603829
ED&F-00603830             ED&F-00603831            ED&F-00603832
ED&F-00603833             ED&F-00603919            ED&F-00603920
ED&F-00604038             ED&F-00604039            ED&F-00604040
ED&F-00604041             ED&F-00604043            ED&F-00604045
ED&F-00604046             ED&F-00604148            ED&F-00604151
ED&F-00604154             ED&F-00604156            ED&F-00604159
ED&F-00604163             ED&F-00604166            ED&F-00604171
ED&F-00604176             ED&F-00604181            ED&F-00604186
ED&F-00604191             ED&F-00604196            ED&F-00604197
ED&F-00604203             ED&F-00604209            ED&F-00604214
ED&F-00604218             ED&F-00604222            ED&F-00604230
ED&F-00604239             ED&F-00604244            ED&F-00604249
ED&F-00604254             ED&F-00604262            ED&F-00604268
ED&F-00604272             ED&F-00604280            ED&F-00604289
ED&F-00604297             ED&F-00604303            ED&F-00604309


                                    116
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ED&F-00604319             ED&F-00604327            ED&F-00604337
ED&F-00604343             ED&F-00604348            ED&F-00604360
ED&F-00604370             ED&F-00604376            ED&F-00604382
ED&F-00604392             ED&F-00604405            ED&F-00604411
ED&F-00604418             ED&F-00604424            ED&F-00604437
ED&F-00604445             ED&F-00604454            ED&F-00604462
ED&F-00604469             ED&F-00604478            ED&F-00604488
ED&F-00604498             ED&F-00604507            ED&F-00604517
ED&F-00604527             ED&F-00604537            ED&F-00604547
ED&F-00604556             ED&F-00604566            ED&F-00604578
ED&F-00604588             ED&F-00604598            ED&F-00604608
ED&F-00604626             ED&F-00604636            ED&F-00604646
ED&F-00604659             ED&F-00604668            ED&F-00604678
ED&F-00604679             ED&F-00604689            ED&F-00604700
ED&F-00604701             ED&F-00604714            ED&F-00604725
ED&F-00604747             ED&F-00604758            ED&F-00604780
ED&F-00604797             ED&F-00604811            ED&F-00604832
ED&F-00604856             ED&F-00604878            ED&F-00604901
ED&F-00604915             ED&F-00604937            ED&F-00604962
ED&F-00604976             ED&F-00604988            ED&F-00605009
ED&F-00605023             ED&F-00605049            ED&F-00605074
ED&F-00605093             ED&F-00605108            ED&F-00605133
ED&F-00605158             ED&F-00605181            ED&F-00605196
ED&F-00605226             ED&F-00605247            ED&F-00605263
ED&F-00605286             ED&F-00605314            ED&F-00605345
ED&F-00605366             ED&F-00605383            ED&F-00605400
ED&F-00605418             ED&F-00605443            ED&F-00605463
ED&F-00605481             ED&F-00605512            ED&F-00605531
ED&F-00605548             ED&F-00605569            ED&F-00605604
ED&F-00605623             ED&F-00605643            ED&F-00605664
ED&F-00605684             ED&F-00605710            ED&F-00605727
ED&F-00605759             ED&F-00605792            ED&F-00605824


                                    117
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ED&F-00605849             ED&F-00605877            ED&F-00605904
ED&F-00605934             ED&F-00605961            ED&FMan00000038
ELYSIUM-00174149          ELYSIUM-00179489         ELYSIUM-00328033
ELYSIUM-00335144          ELYSIUM-00393052         ELYSIUM-00425545
ELYSIUM-00434943          ELYSIUM-00614987         ELYSIUM-00743817
ELYSIUM-00921091          ELYSIUM-00921097         ELYSIUM-00921138
ELYSIUM-00921142          ELYSIUM-00921145         ELYSIUM-00921149
ELYSIUM-00935339          ELYSIUM-00935828         ELYSIUM-01266554
ELYSIUM-01355929          ELYSIUM-01363300         ELYSIUM-01368896
ELYSIUM-01370854          ELYSIUM-01371348         ELYSIUM-01372747
ELYSIUM-01400170          ELYSIUM-01400198         ELYSIUM-01400202
ELYSIUM-01409757          ELYSIUM-01416753         ELYSIUM-01417327
ELYSIUM-01417333          ELYSIUM-01439314         ELYSIUM-01439315
ELYSIUM-01440386          ELYSIUM-01445627         ELYSIUM-01452919
ELYSIUM-01460217          ELYSIUM-01463019         ELYSIUM-01463050
ELYSIUM-01463066          ELYSIUM-01463069         ELYSIUM-01472695
ELYSIUM-01479796          ELYSIUM-01487283         ELYSIUM-01487882
ELYSIUM-01487895          ELYSIUM-01493794         ELYSIUM-01527418
ELYSIUM-01527432          ELYSIUM-01527438         ELYSIUM-01527580
ELYSIUM-01546020          ELYSIUM-01550252         ELYSIUM-01568519
ELYSIUM-01584250          ELYSIUM-01584251         ELYSIUM-01586731
ELYSIUM-01613950          ELYSIUM-01667594         ELYSIUM-01718681
ELYSIUM-01746161          ELYSIUM-01746929         ELYSIUM-01756472
ELYSIUM-01789224          ELYSIUM-01789225         ELYSIUM-01789227
ELYSIUM-01789231          ELYSIUM-01805039         ELYSIUM-01805041
ELYSIUM-01902755          ELYSIUM-01957845         ELYSIUM-01957846
ELYSIUM-01957847          ELYSIUM-01968263         ELYSIUM-01972307
ELYSIUM-02001633          ELYSIUM-02005507         ELYSIUM-02038702
ELYSIUM-02068134          ELYSIUM-02082980         ELYSIUM-02157222
ELYSIUM-02171118          ELYSIUM-02171369         ELYSIUM-02455073
ELYSIUM-02464519          ELYSIUM-02521339         ELYSIUM-02521340
ELYSIUM-02521413          ELYSIUM-02538826         ELYSIUM-02576644


                                    118
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ELYSIUM-02610747          ELYSIUM-02623356         ELYSIUM-02623490
ELYSIUM-02639499          ELYSIUM-02639502         ELYSIUM-02640188
ELYSIUM-02680962          ELYSIUM-02701423         ELYSIUM-02701742
ELYSIUM-02782010          ELYSIUM-02783622         ELYSIUM-02803863
ELYSIUM-02805580          ELYSIUM-02809525         ELYSIUM-02811410
ELYSIUM-02811475          ELYSIUM-02839099         ELYSIUM-02839161
ELYSIUM-02846148          ELYSIUM-02881170         ELYSIUM-02914617
ELYSIUM-02915049          ELYSIUM-02943260         ELYSIUM-02950204
ELYSIUM-02989632          ELYSIUM-03403458         ELYSIUM-03559863
ELYSIUM-03657322          ELYSIUM-03657326         ELYSIUM-03714429
ELYSIUM-03737341          ELYSIUM-03783464         ELYSIUM-03831480
ELYSIUM-03853867          ELYSIUM-03853953         ELYSIUM-03854180
ELYSIUM-03858422          ELYSIUM-03860256         ELYSIUM-03860310
ELYSIUM-03860346          ELYSIUM-03864294         ELYSIUM-03864299
ELYSIUM-03864321          ELYSIUM-03931773         ELYSIUM-03931775
ELYSIUM-04060440          ELYSIUM-04075330         ELYSIUM-04075811
ELYSIUM-04129234          ELYSIUM-04327537         ELYSIUM-04331122
ELYSIUM-04331207          ELYSIUM-04331229         ELYSIUM-04331350
ELYSIUM-04331450          ELYSIUM-04331726         ELYSIUM-04331956
ELYSIUM-04332473          ELYSIUM-04338284         ELYSIUM-04706017
ELYSIUM-04832362          ELYSIUM-04840066         ELYSIUM-04861111
ELYSIUM-05327063          ELYSIUM-05814361         ELYSIUM-05822425
ELYSIUM-05840072          ELYSIUM-05840767         ELYSIUM-06020028
ELYSIUM-06205753          ELYSIUM-06516510         ELYSIUM-06521510
ELYSIUM-06526511          ELYSIUM-06824515         ELYSIUM-07545418
ELYSIUM-07805717          ELYSIUM-08365965         ELYSIUM-08440461
ELYSIUM-08777984          ELYSIUM-08779211         ELYSIUM-08782872
ELYSIUM-08872263          ELYSIUM-08934560         ELYSIUM-08934565
ELYSIUM-09053122          ELYSIUM-09053306         ELYSIUM-09057353
ELYSIUM-09060657          ELYSIUM-09074050         ELYSIUM-09088400
ELYSIUM-09088401          ELYSIUM-09474649         ELYSIUM-09474650
ELYSIUM-09501980          ELYSIUM-09505901         JHVM_0004863


                                    119
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    JVHM_0004863                     JVHM_0004868                     MBJ_STOR-0007019
    MPSKAT00075810                   MPSKAT00075813                   MPSKAT00078034
    MPSKAT00082940                   MPSKAT00168085                   SEB_00000001
    SEB_00000003                     SEB_00000004                     SEB_00000005
    SEB_00000006                     SEB_00000016                     SEB_00000044
    SEB_00000045                     SEB_00000046                     SEB_00000047
    SEB_00000048                     SEB_00000049                     SEB_00000050
    SEB_00000051                     SEB_00000052                     SEB_00000053
    SEB_00000054                     SEB_00000055                     SEB_00000056
    SEB_00000057                     SEB_00000058                     SEB_00000059
    SEB_00000060                     SEB_00000061                     SEB_00000062
    SEB_00000063                     SEB_00000064                     SEB_00000065
    SEB_00000066                     SEB_00000067                     SEB_00000068
    SEB_00000069                     SEB_00000070                     SEB_00000071
    SEB_00000072                     SEB_00000073                     SEB_00000074
    SEB_00000075                     SEB_00000076                     SEB_00000077
    SEB_00000078                     SEB_00000082                     SEB_00000084
    SEB_00000092                     SEB_00000093                     SEB_00000094
    SEB_00000095                     SEB_00000096                     SEB_00000097
    SEB_00000098                     SEB_00000100                     SEB_00000101
    SEB_00000102                     SKAT_MDL_001_00056852            SKAT_MDL_001_00079683
    TEWD_0013081


II.       Deposition Transcripts
•      Deposition Transcript of Stacey Kaminer Vol 1 & 2, dated April 19, 2021 – April 20, 2021.
•      Deposition Transcript of Shaheb Hashemi Vol. 1 & 2, dated October 7, 2021 – October 8, 2021.
•      Deposition Transcript of Robert Klugman, dated January 28, 2021.
•      Deposition Transcript of Roger Lehman Vol. 1 & 2, dated August 9, 2021 – August 10, 2021.
•      Deposition Transcript of Roger Lehman Vol. 1 & 2, dated August 9, 2021 – August 10, 2021.




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    III.   Legal Documents

•   Related to all cases for docket number 18-md-2865 (LAK).
•   SKAT’s Complaint Against Michael Ben-Jacob, dated June 16, 2021. Related to docket number 18-md-
    2865 (LAK).
•   SKAT’s Complaint Against Kamco Investments, Inc. Pension Plan, Louise Kaminer, Stacey Kaminer,
    and Acer Investment Group, LLC, dated April 22, 2020. Civil Action No. 18-cv-09836.
•   Judge Kaplan’s Memorandum Opinion Concerning the Revenue Rule, dated January 1, 2019. Related
    to docket number 18-md-2865 (LAK).
•   SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts. Related to UK Claim
    Nos. CL-2018-000297; CL-2018-000404; CL-2018-000590; CL-2019-000487; and CL-2020-000369.
•   Appendix 2 to SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts. Related to
    UK Claim Nos. CL-2018-000297; CL-2018-000404; CL-2018-000590; CL-2019-000487; and CL-
    2020-000369.
•   Re-Amended Schedule 5T for ED&F Man, dated May 2, 2020.
•   Declaration of Matthew J. Totman, dated December 15, 2021. Related to docket number 18-md-2865
    (LAK).
•   Declaration of Anders Peter Bryde Rasmussen, dated May 17, 2021. Related to docket number 18-md-
    2865 (LAK).
•   Sanjay Shah Defendants’ Response to Claimaint’s Request Dated 4 June 2019 for Further Information
    Under CPR 18, dated March 31, 2021. Related to Claim Nos. CL-2018-000297; CL-2018-000404; and
    CL-2018-000590.
•   SKAT and ED&F Man Capital Markets Limited & Others Re-Amended Defence, dated January 18,
    2020. Related to Claim Nos. CL-2018-000297; CL-2018-000590; CL-2018-000404; and CL-2019-
    000487.
•   SKAT’s Amended Complaint Against John Van Merkensteijn et al., dated April 27, 2020, Civil Action
    No. 19-cv-10713.
•   SKAT’s Amended Complaint Against Cambridge Way LLC 401(K) Profit Sharing Plan & Shreepal
    Shah, dated April 22,2020, Civil Action No. 18-cv-10090.
•   SKAT’s Amended Complaint Against American Investment Group of New York, L.P. Pension Plan,
    Robert Crema, Stacey Kaminer, and Acer Investment Group, LLC, dated April 22, 2020, Civil Action
    No. 18-cv-09841.
•   ED&F Man’s Re-Amended Defence, dated January 18, 2020. Related to UK Claim Nos. CL-2018-
    000297; CL-2018-000590; CL-2018-000404; and CL-2019-000487.
•   SKAT’s Amended Complaint, dated April 22, 2020, Civil Action No. 18-cv-10088-LAK.


    IV.    Statutes and Rules

•   United States Tax Convention with Denmark, effective January 1, 2001.
•   The Department of Treasury Technical Explanation of the Convention Between the Government of the
    United States of America and the Government of the Kingdom of Denmark for the Avoidance of
    Double Taxation and the Prevention of Fiscal Evasion with Respect to Taxes on Income, signed August
    19, 1999.

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•   Protocol Amending the Convention between the Government of the United States of America and the
    Government of the Kingdom of Denmark for the Avoidance of Double Taxation and the Prevention of
    Fiscal Evasion with Respect to Taxes on Income, presented for signature in Copenhagen, Denmark,
    May 2, 2006.
•   The Department of Treasury Technical Explanation of the Protocol Signed at Copenhagen on May 2,
    2006 Amending the Convention between the Government of the United States of America and the
    Government of the Kingdom of Denmark for the Avoidance of Double Taxation and the Prevention of
    Fiscal Evasion with Respect to Taxes on Income signed at Washington on August 19, 1999.


    V.      Publicly Available Documents

•   https://www.nasdaq.com/glossary/t/trade-date
•   https://www.nasdaq.com/glossary/s/settlement-date
•   http://www.nasdaqomxnordic.com/about_us
•   https://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:32014R0909#d1e1394-1-1
•   https://www.globenewswire.com/news-release/2013/11/21/591590/0/en/NASDAQ-OMX-Nordic-will-
    implement-T-2-settlement-on-6-October-2014.html
•   https://www.investor.gov/introduction-investing/investing-basics/glossary/ex-dividend-dates-when-are-
    you-entitled-stock-and
•   https://www.investor.gov/introduction-investing/investing-basics/glossary/ex-dividend-dates
•   https://www.ecb.europa.eu/paym/target/t2s/governance/pdf/casg/ecb.targetseccasg130316_T2SMarket
    ClaimStandards.en.pdf
•   https://www.nasdaq.com/glossary/p/payment-date
•   https://www.frc.org.uk/getattachment/915560dd-82f1-4cee-add5-07591d976666/2017-01-IAS-39-AG-
    Blue-book_CR.pdf
•   https://www.islaemea.org/
•   https://www.islaemea.org/gmsla-title-transfer/
•   https://www.islaemea.org/wp-content/uploads/2019/03/GMSLA_2010_amendments_July_2012-1.pdf
•   https://corporatefinanceinstitute.com/resources/knowledge/trading-investing/value-at-risk-var/
•   https://www.fsb.org/wp-content/uploads/r_141013a.pdf?page_moved=1
•   https://www.fsb.org/wp-content/uploads/r_130829b.pdf
•   https://www.bis.org/publ/cgfs36.pdf
•   https://www.bis.org/cpmi/publ/d06.pdf
•   https://www.oecd.org/ctp/glossaryoftaxterms.htm
•   https://corporatefinanceinstitute.com/resources/knowledge/trading-investing/derivatives/
•   https://corporatefinanceinstitute.com/resources/knowledge/finance/forward-contract/
•   https://www.investor.gov/introduction-investing/investing-basics/glossary/futures-contract
•   https://www.eurex.com/resource/blob/1512866/b86228baaf963f5c1b722d59f3ddd9e0/data/2019_04_08
    _cs_1_history.pdf

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•   https://www.gov.uk/hmrc-internal-manuals/corporate-finance-manual/cfm74430
•   https://www.annualreports.com/HostedData/AnnualReportArchive/c/coloplast_2013.pdf
•   https://www.isda.org/a/CLXTE/ISDA-Legal-Guidelines-for-Smart-Derivatives-Contracts-Equities.pdf
•   https://www.eba.europa.eu/regulation-and-policy/single-rulebook/interactive-single-rulebook/548
•   https://www.handbook.fca.org.uk/handbook/PERG/13/3.html
•   https://www.globenewswire.com/fr/news-release/2013/10/23/582769/0/en/Derivatives-Anticipated-
    adjustment-in-Christian-Hansen-due-to-extra-dividend-57-13.html
•   https://www.clearstream.com/clearstream-en/products-and-services/market-coverage/europe-
    t2s/denmark/settlement-process-denmark-1281608
•   https://www.dfsa.dk/Reporting/Major-shareholder-notifications
•   https://www.dfsa.dk/-/media/Lovgivning/Oversat-lovgivning/Acts/C_Act855_2012-pdf.pdf
•   http://www.nasdaqomxnordic.com/news/companynews
•   https://www.duetgroup.net/
•   https://brokercheck.finra.org/firm/summary/107062
•   https://www.fca.org.uk/news/press-releases/sunrise-brokers-llp-fine-serious-financial-crime-control-
    failings
•   https://www.fca.org.uk/publication/final-notices/sapien-capital-limited-2021.pdf
•   https://www.carlsberggroup.com/investor-relations/shares/investment-calculator/


    VI.     Correspondence

•   Letter from Rosenblatt to Pinsent Mason, dated March 5, 2021.
•   Letter from Rosenblatt to Pinsent Mason, dated January 31, 2020.
•   Appendix 1 to Letter from Rosenblatt to Pinsent Mason, dated January 31, 2020.
•   Letter from Rosenblatt to Pinsent Mason, dated January 11, 2021.
•   Letter from Rosenblatt to Pinsent Mason, dated October 10, 2019.
•   Letter from Neil Binder to Neil Oxford, dated July 23, 2021.
•   Letter from Neil Oxford to Neil Binder, dated September 20, 2021.


    VII.    Other

•   Bloomberg
•   SEB Production Guidance Notes




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                                                                                                                     Appendix C
                Cum-Ex Trades Conducted for Pension Funds by ED&F Man Demonstrate a Consistent Pricing Pattern for Dividend Sourcing Costs
                                                                                                      SHARE INFORMATION                                         PP TRADE INFORMATION
                                                                                                                                                                                                       Gross
                 Trade                                                                                                             Gross                                          Gross     Share                      Net        WHT       "All-In" Dividend
                                                                                                                       Record                            Settlement                                   Dividend
Tax Voucher Page Numbe    Broker    Trade Class          Pension Plan         Group     Share Issuer      Ex Date                 Dividend Trade Date                 Pattern    Purchase Hedge Price               Dividend:    Reclaim:    Sourcing Cost2:
                                                                                                                        Date                                Date                                      Amount
                   r                                                                                                              Amount                                         Price [A]   [B]                    [C] x 73%   [C] x 27%    ([A] - [B]) / [C]
                                                                                                                                                                                                         [C]
                                                  KK Law Firm Retirement               Chr. Hansen
ED&F-00026581      1     ED&F Man     Other                                    Cubix                     28-Nov-12    30-Nov-12     2.90     27-Nov-12   3-Dec-12     CUMEX       188.04      185.89       2.90       2.12        0.78            74.1%
                                                  Plan Trust                           Holding A/S
                                                  KK Law Firm Retirement               Novo Nordisk
ED&F-00047516      2     ED&F Man     Other                                    Cubix                      21-Mar-13   25-Mar-13    18.00     20-Mar-13   26-Mar-13    CUMEX       964.00      947.52      18.00       13.14       4.86            91.6%
                                                  Plan Trust                           A/S - B
                                                  Acorn Capital Strategies LLC
                                                                                       Novo Nordisk
ED&F-00047428      3     ED&F Man     Other       Employee Pension Profit      Zeta                       21-Mar-13   25-Mar-13    18.00     20-Mar-13   26-Mar-13    CUMEX       960.50      945.96      18.00       13.14       4.86            80.8%
                                                                                       A/S - B
                                                  Sharing Plan & Trust

                                                  Del Mar Asset Management             A.P. Møller
ED&F Man000001     4     ED&F Man     Other                                   Duet                        12-Apr-13   16-Apr-13   1,200.00   11-Apr-13   17-Apr-13    CUMEX      43,720.00   42,786.13   1,200.00    876.00      324.00           77.8%
                                                  Saving & Retirement Plan             Mærsk A/S - B

                                                  Acorn Capital Strategies LLC
                                                                                       A.P. Møller
ED&F-00076918      5     ED&F Man     Other       Employee Pension Profit      Zeta                       12-Apr-13   16-Apr-13   1,200.00   11-Apr-13   17-Apr-13    CUMEX      43,800.00   42,864.58   1,200.00    876.00      324.00           78.0%
                                                                                       Mærsk A/S - B
                                                  Sharing Plan & Trust
                                                  Sterling Alpha LLC 401 (k)           A.P. Møller
ED&F-00077325      5     ED&F Man     Other                                    Zeta                       12-Apr-13   16-Apr-13   1,200.00   11-Apr-13   17-Apr-13    CUMEX      43,800.00   42,864.58   1,200.00    876.00      324.00           78.0%
                                                  Profit Sharing Plan                  Mærsk A/S - B

                                                  Del Mar Asset Management
ED&F-00044265      6     ED&F Man     Other                                   Duet     Tryg A/S           19-Apr-13   23-Apr-13    26.00     18-Apr-13   24-Apr-13    CUMEX       479.40      459.16      26.00       18.98       7.02            77.8%
                                                  Saving & Retirement Plan

                                                  Del Mar Asset Management             Chr. Hansen
ED&F-00026653      7     ED&F Man     Other                                   Duet                       27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       203.00      201.14       6.26       4.57        1.69            29.7%
                                                  Saving & Retirement Plan             Holding A/S

                                                  Cambridge Way LLC 401K               Chr. Hansen
ED&F-00026628      8     ED&F Man     Other                                    Zeta                      27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       203.80      201.62       6.26       4.57        1.69            34.8%
                                                  Profit Sharing Plan                  Holding A/S
                                                  Acorn Capital Strategies LLC
                                                                                       Chr. Hansen
ED&F-00026596      9     ED&F Man     Other       Employee Pension Profit      Zeta                      27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       203.80      201.62       6.26       4.57        1.69            34.8%
                                                                                       Holding A/S
                                                  Sharing Plan & Trust
                                                  Cambridge Way LLC 401K               Chr. Hansen
ED&F-00026628     10     ED&F Man     Other                                    Zeta                      27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       203.80      201.62       6.26       4.57        1.69            34.8%
                                                  Profit Sharing Plan                  Holding A/S
                                                  Acorn Capital Strategies LLC
                                                                                       Chr. Hansen
ED&F-00026596     11     ED&F Man     Other       Employee Pension Profit      Zeta                      27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       204.00      201.62       6.26       4.57        1.69            38.0%
                                                                                       Holding A/S
                                                  Sharing Plan & Trust
                                                  Cambridge Way LLC 401K               Chr. Hansen
ED&F-00026628     12     ED&F Man     Other                                    Zeta                      27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       204.00      201.62       6.26       4.57        1.69            38.0%
                                                  Profit Sharing Plan                  Holding A/S
                                                  Cambridge Way LLC 401K               Chr. Hansen
ED&F-00026628     12     ED&F Man     Other                                    Zeta                      27-Nov-13    29-Nov-13     6.26     26-Nov-13   2-Dec-13     CUMEX       204.00      201.62       6.26       4.57        1.69            38.0%
                                                  Profit Sharing Plan                  Holding A/S
                                                  American Investment Group
                                                                                       Coloplast A/S -
ED&F-00044985     13     ED&F Man     Other       of New York, L.P. Pension    Acer                       6-Dec-13    10-Dec-13     7.00     5-Dec-13    11-Dec-13    CUMEX       354.90      348.62       7.00       5.11        1.89            89.7%
                                                                                       B
                                                  Plan

                                                  Del Mar Asset Management             Coloplast A/S -
ED&F-00045169     14     ED&F Man    Annex E                                  Duet                        6-Dec-13    10-Dec-13     7.00     5-Dec-13    11-Dec-13    CUMEX       352.80      347.22       7.00       5.11        1.89            79.7%
                                                  Saving & Retirement Plan             B

                                                  Acorn Capital Strategies LLC
                                                                                       Coloplast A/S -
ED&F-00044966     15     ED&F Man     Other       Employee Pension Profit      Zeta                       6-Dec-13    10-Dec-13     7.00     5-Dec-13    11-Dec-13    CUMEX       352.20      347.40       7.00       5.11        1.89            68.6%
                                                                                       B
                                                  Sharing Plan & Trust
                                                  Cambridge Way LLC 401K               Coloplast A/S -
ED&F-00045042     16     ED&F Man     Other                                    Zeta                       6-Dec-13    10-Dec-13     7.00     5-Dec-13    11-Dec-13    CUMEX       353.20      347.40       7.00       5.11        1.89            82.9%
                                                  Profit Sharing Plan                  B
                                                  Cambridge Way LLC 401K               Coloplast A/S -
ED&F-00045042     17     ED&F Man    Annex E                                   Zeta                       6-Dec-13    10-Dec-13     7.00     5-Dec-13    11-Dec-13    CUMEX       352.80      347.22       7.00       5.11        1.89            79.7%
                                                  Profit Sharing Plan                  B
                                                  Cambridge Way LLC 401K               Coloplast A/S -
ED&F-00045042     18     ED&F Man     Other                                    Zeta                       6-Dec-13    10-Dec-13     7.00     5-Dec-13    11-Dec-13    CUMEX       353.00      347.21       7.00       5.11        1.89            82.7%
                                                  Profit Sharing Plan                  B

                                                  Del Mar Asset Management             Novozymes A/S -
ED&F-00076338     19     ED&F Man    Annex E                                  Duet                     27-Feb-14      3-Mar-14      2.50     26-Feb-14   4-Mar-14     CUMEX       251.90      249.93       2.50       1.83        0.68            78.8%
                                                  Saving & Retirement Plan             B

                                                  Cambridge Way LLC 401K               Novozymes A/S -
ED&F-00076303     20     ED&F Man    Annex E                                  Zeta                     27-Feb-14      3-Mar-14      2.50     26-Feb-14   4-Mar-14     CUMEX       251.80      249.82       2.50       1.83        0.68            79.2%
                                                  Profit Sharing Plan                  B
                                                  Cambridge Way LLC 401K               Novozymes A/S -
ED&F-00076303     21     ED&F Man     Other                                   Zeta                     27-Feb-14      3-Mar-14      2.50     26-Feb-14   4-Mar-14     CUMEX       251.80      249.74       2.50       1.83        0.68            82.4%
                                                  Profit Sharing Plan                  B




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                                                                                                                   Appendix C
                Cum-Ex Trades Conducted for Pension Funds by ED&F Man Demonstrate a Consistent Pricing Pattern for Dividend Sourcing Costs
                                                                                                     SHARE INFORMATION                                       PP TRADE INFORMATION
                                                                                                                                                                                                    Gross
                 Trade                                                                                                           Gross                                         Gross     Share                   Net        WHT       "All-In" Dividend
                                                                                                                     Record                           Settlement                                   Dividend
Tax Voucher Page Numbe    Broker    Trade Class          Pension Plan         Group    Share Issuer     Ex Date                 Dividend Trade Date                Pattern    Purchase Hedge Price            Dividend:    Reclaim:    Sourcing Cost2:
                                                                                                                      Date                               Date                                      Amount
                   r                                                                                                            Amount                                        Price [A]   [B]                 [C] x 73%   [C] x 27%    ([A] - [B]) / [C]
                                                                                                                                                                                                      [C]
                                                  American Investment Group
ED&F-00040919     22     ED&F Man    Annex E      of New York, L.P. Pension    Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Plan
                                                  DW Construction, Inc.
ED&F-00041009     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Retirement Plan
                                                  Kamco Investments. Inc
ED&F-00041083     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Pension Plan
                                                  Kamco LP Profit Sharing
ED&F-00041108     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Pension Plan
                                                  Linden Associates Defined
ED&F-00041211     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Benefit Plan
                                                  Moira Associates LLC 401 (k)
ED&F-00041236     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Plan
                                                  Newsong Fellowship Church
ED&F-00041285     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  401 (k) Plan
                                                  Riverside Associates Defined
ED&F-00041310     22     ED&F Man    Annex E                                   Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  Benefit Plan

                                                  The Goldstein Law Group PC
ED&F-00041034     22     ED&F Man    Annex E                                  Acer    TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.40      50.64      2.20       1.61        0.59            80.0%
                                                  401 (k) Profit Sharing Plan

                                                  Del Mar Asset Management
ED&F-00041059     23     ED&F Man    Annex E                                  Duet    TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.65      50.88      2.20       1.61        0.59            80.5%
                                                  Saving & Retirement Plan

                                                  Cambridge Way LLC 401K
ED&F-00040991     24     ED&F Man    Annex E                                   Zeta   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.60      50.82      2.20       1.61        0.59            80.9%
                                                  Profit Sharing Plan
                                                  American Investment Group
ED&F-00040919     25     ED&F Man     Other       of New York, L.P. Pension    Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.55      50.74      2.20       1.61        0.59            82.3%
                                                  Plan
                                                  Kamco LP Profit Sharing
ED&F-00041108     25     ED&F Man     Other                                    Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.55      50.74      2.20       1.61        0.59            82.3%
                                                  Pension Plan
                                                  Moira Associates LLC 401 (k)
ED&F-00041236     25     ED&F Man     Other                                    Acer   TDC A/S           7-Mar-14    11-Mar-14     2.20    6-Mar-14    12-Mar-14    CUMEX       52.55      50.74      2.20       1.61        0.59            82.3%
                                                  Plan
                                                  American Investment Group
                                                                                      Danske Bank
ED&F-00045804     26     ED&F Man    Annex E      of New York, L.P. Pension    Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                                                      A/S
                                                  Plan
                                                  DW Construction, Inc.               Danske Bank
ED&F-00046267     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  Retirement Plan                     A/S
                                                  Kamco Investments. Inc              Danske Bank
ED&F-00046423     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  Pension Plan                        A/S
                                                  Kamco LP Profit Sharing             Danske Bank
ED&F-00046476     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  Pension Plan                        A/S
                                                  Linden Associates Defined           Danske Bank
ED&F-00046550     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  Benefit Plan                        A/S
                                                  Moira Associates LLC 401 (k)        Danske Bank
ED&F-00046603     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  Plan                                A/S
                                                  Newsong Fellowship Church           Danske Bank
ED&F-00046656     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  401 (k) Plan                        A/S
                                                  Riverside Associates Defined        Danske Bank
ED&F-00046709     26     ED&F Man    Annex E                                   Acer                     19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  Benefit Plan                        A/S

                                                  The Goldstein Law Group PC          Danske Bank
ED&F-00046992     26     ED&F Man    Annex E                                  Acer                      19-Mar-14   21-Mar-14     2.00   18-Mar-14    24-Mar-14    CUMEX       144.21    142.63      2.00       1.46        0.54            79.0%
                                                  401 (k) Profit Sharing Plan         A/S

                                                  Federated Logistics LLC 401         Danske Bank
ED&F-00046320     27     ED&F Man    Annex E                                  Duet                      19-Mar-14   21-Mar-14     2.00    18-Mar-14   24-Mar-14    CUMEX       144.70    143.10      2.00       1.46        0.54            80.0%
                                                  (K) Plan                            A/S
                                                  Cambridge Way LLC 401K              Danske Bank
ED&F-00046098     28     ED&F Man    Annex E                                  Zeta                      19-Mar-14   21-Mar-14     2.00    18-Mar-14   24-Mar-14    CUMEX       144.30    142.71      2.00       1.46        0.54            79.5%
                                                  Profit Sharing Plan                 A/S
                                                  American Investment Group
                                                                                      Novo Nordisk
ED&F-00048728     29     ED&F Man    Annex E      of New York, L.P. Pension   Acer                      21-Mar-14   25-Mar-14     4.50    20-Mar-14   26-Mar-14    CUMEX       246.70    243.13      4.50       3.29        1.22            79.3%
                                                                                      A/S - B
                                                  Plan


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                                                                                                                   Appendix C
                Cum-Ex Trades Conducted for Pension Funds by ED&F Man Demonstrate a Consistent Pricing Pattern for Dividend Sourcing Costs
                                                                                                     SHARE INFORMATION                                        PP TRADE INFORMATION
                                                                                                                                                                                                     Gross
                 Trade                                                                                                           Gross                                          Gross     Share                      Net        WHT       "All-In" Dividend
                                                                                                                     Record                            Settlement                                   Dividend
Tax Voucher Page Numbe    Broker    Trade Class          Pension Plan         Group    Share Issuer     Ex Date                 Dividend Trade Date                 Pattern    Purchase Hedge Price               Dividend:    Reclaim:    Sourcing Cost2:
                                                                                                                      Date                                Date                                      Amount
                   r                                                                                                            Amount                                         Price [A]   [B]                    [C] x 73%   [C] x 27%    ([A] - [B]) / [C]
                                                                                                                                                                                                       [C]
                                                  DW Construction, Inc.               Novo Nordisk
ED&F-00049119     29     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13      4.50        3.29        1.22            79.3%
                                                  Retirement Plan                     A/S - B
                                                  Kamco Investments. Inc              Novo Nordisk
ED&F-00049257     29     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Pension Plan                        A/S - B
                                                  Kamco LP Profit Sharing             Novo Nordisk
ED&F-00049309     29     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Pension Plan                        A/S - B
                                                  Linden Associates Defined           Novo Nordisk
ED&F-00049386     29     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Benefit Plan                        A/S - B
                                                  Moira Associates LLC 401 (k)        Novo Nordisk
ED&F-00049438     29     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Plan                                A/S - B
                                                  Riverside Associates Defined        Novo Nordisk
ED&F-00049490     29     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Benefit Plan                        A/S - B

                                                  The Goldstein Law Group PC          Novo Nordisk
ED&F-00049714     29     ED&F Man    Annex E                                  Acer                      21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  401 (k) Profit Sharing Plan         A/S - B

                                                  Del Mar Asset Management            Novo Nordisk
ED&F-00049091     30     ED&F Man    Annex E                                  Duet                      21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       247.90      244.33       4.50       3.29        1.22            79.3%
                                                  Saving & Retirement Plan            A/S - B

                                                  Federated Logistics LLC 401         Novo Nordisk
ED&F-00049171     30     ED&F Man    Annex E                                   Duet                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       247.90      244.33       4.50       3.29        1.22            79.3%
                                                  (K) Plan                            A/S - B
                                                  Cambridge Way LLC 401K              Novo Nordisk
ED&F-00048961     31     ED&F Man    Annex E                                   Zeta                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       247.20      243.63       4.50       3.29        1.22            79.3%
                                                  Profit Sharing Plan                 A/S - B
                                                  American Investment Group
                                                                                      Novo Nordisk
ED&F-00048728     32     ED&F Man    Annex E      of New York, L.P. Pension    Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                                                      A/S - B
                                                  Plan
                                                  DW Construction, Inc.               Novo Nordisk
ED&F-00049119     32     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Retirement Plan                     A/S - B
                                                  Kamco Investments. Inc              Novo Nordisk
ED&F-00049257     32     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13      4.50        3.29        1.22            79.3%
                                                  Pension Plan                        A/S - B
                                                  Linden Associates Defined           Novo Nordisk
ED&F-00049386     32     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13      4.50        3.29        1.22            79.3%
                                                  Benefit Plan                        A/S - B
                                                  Moira Associates LLC 401 (k)        Novo Nordisk
ED&F-00049438     32     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Plan                                A/S - B
                                                  Riverside Associates Defined        Novo Nordisk
ED&F-00049490     32     ED&F Man    Annex E                                   Acer                     21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  Benefit Plan                        A/S - B

                                                  The Goldstein Law Group PC          Novo Nordisk
ED&F-00049714     32     ED&F Man    Annex E                                  Acer                      21-Mar-14   25-Mar-14     4.50     20-Mar-14   26-Mar-14    CUMEX       246.70      243.13       4.50       3.29        1.22            79.3%
                                                  401 (k) Profit Sharing Plan         A/S - B

                                                  DW Construction, Inc.               A.P. Møller
ED&F-00077869     33     ED&F Man    Annex E                                   Acer                     1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,150.00   64,033.68   1,400.00   1,022.00     378.00           79.7%
                                                  Retirement Plan                     Mærsk A/S - B
                                                  Kamco LP Profit Sharing             A.P. Møller
ED&F-00077994     33     ED&F Man    Annex E                                   Acer                     1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,150.00   64,033.68   1,400.00   1,022.00     378.00           79.7%
                                                  Pension Plan                        Mærsk A/S - B
                                                  Moira Associates LLC 401 (k)        A.P. Møller
ED&F-00078020     33     ED&F Man    Annex E                                   Acer                     1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,150.00   64,033.68   1,400.00   1,022.00     378.00           79.7%
                                                  Plan                                Mærsk A/S - B

                                                  Del Mar Asset Management            A.P. Møller
ED&F-00077846     34     ED&F Man    Annex E                                  Duet                      1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,100.00   63,980.11   1,400.00   1,022.00     378.00           80.0%
                                                  Saving & Retirement Plan            Mærsk A/S - B

                                                  Federated Logistics LLC 401         A.P. Møller
ED&F-00077895     34     ED&F Man    Annex E                                   Duet                     1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,100.00   63,980.11   1,400.00   1,022.00     378.00           80.0%
                                                  (K) Plan                            Mærsk A/S - B
                                                  Acorn Capital Strategies LLC
                                                                                      A.P. Møller
ED&F-00077515     35     ED&F Man    Annex E      Employee Pension Profit      Zeta                     1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,050.00   63,933.70   1,400.00   1,022.00     378.00           79.7%
                                                                                      Mærsk A/S - B
                                                  Sharing Plan & Trust
                                                  Cambridge Way LLC 401K              A.P. Møller
ED&F-00077697     35     ED&F Man    Annex E                                   Zeta                     1-Apr-14    3-Apr-14    1,400.00   31-Mar-14    4-Apr-14    CUMEX      65,150.00   64,033.70   1,400.00   1,022.00     378.00           79.7%
                                                  Profit Sharing Plan                 Mærsk A/S - B
                                                  Linden Associates Defined
ED&F-00044825     36     ED&F Man    Annex E                                   Acer   Tryg A/S          4-Apr-14    8-Apr-14     27.00     3-Apr-14     9-Apr-14    CUMEX       555.00      533.42      27.00       19.71       7.29            79.9%
                                                  Benefit Plan
                                                  Moira Associates LLC 401 (k)
ED&F-00044847     36     ED&F Man    Annex E                                   Acer   Tryg A/S          4-Apr-14    8-Apr-14     27.00     3-Apr-14     9-Apr-14    CUMEX       555.00      533.42      27.00       19.71       7.29            79.9%
                                                  Plan



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                                                                                                                       Appendix C
                Cum-Ex Trades Conducted for Pension Funds by ED&F Man Demonstrate a Consistent Pricing Pattern for Dividend Sourcing Costs
                                                                                                      SHARE INFORMATION                                          PP TRADE INFORMATION
                                                                                                                                                                                                        Gross
                 Trade                                                                                                               Gross                                         Gross     Share                   Net        WHT       "All-In" Dividend
                                                                                                                         Record                           Settlement                                   Dividend
Tax Voucher Page Numbe    Broker    Trade Class          Pension Plan            Group    Share Issuer      Ex Date                 Dividend Trade Date                Pattern    Purchase Hedge Price            Dividend:    Reclaim:    Sourcing Cost2:
                                                                                                                          Date                               Date                                      Amount
                   r                                                                                                                Amount                                        Price [A]   [B]                 [C] x 73%   [C] x 27%    ([A] - [B]) / [C]
                                                                                                                                                                                                          [C]
                                                  Newsong Fellowship Church
ED&F-00044869     36     ED&F Man    Annex E                                   Acer      Tryg A/S           4-Apr-14    8-Apr-14     27.00    3-Apr-14     9-Apr-14    CUMEX       555.00    533.42     27.00       19.71       7.29            79.9%
                                                  401 (k) Plan
                                                  Riverside Associates Defined
ED&F-00044891     36     ED&F Man    Annex E                                   Acer      Tryg A/S           4-Apr-14    8-Apr-14     27.00    3-Feb-14     9-Apr-14    CUMEX       555.00    533.42     27.00       19.71       7.29            79.9%
                                                  Benefit Plan

                                                  Del Mar Asset Management
ED&F-00044749     37     ED&F Man    Annex E                                     Duet    Tryg A/S           4-Apr-14    8-Apr-14     27.00    3-Apr-14     9-Apr-14    CUMEX       555.00    533.23     27.00       19.71       7.29            80.6%
                                                  Saving & Retirement Plan

                                                  Federated Logistics LLC 401
ED&F-00044771     37     ED&F Man    Annex E                                  Duet       Tryg A/S           4-Apr-14    8-Apr-14     27.00    3-Apr-14     9-Apr-14    CUMEX       555.00    533.23     27.00       19.71       7.29            80.6%
                                                  (K) Plan
                                                  Cambridge Way LLC 401K
ED&F-00044663     38     ED&F Man    Annex E                                  Zeta       Tryg A/S           4-Apr-14    8-Apr-14     27.00    3-Apr-14     9-Apr-14    CUMEX       551.50    529.65     27.00       19.71       7.29            80.9%
                                                  Profit Sharing Plan

                                                  Linden Associates Defined              Dampskibsselsk
ED&F-00076734     39     ED&F Man    Annex E                                     Acer                       24-Apr-14   28-Apr-14     5.00    23-Apr-14   29-Apr-14    CUMEX       223.41    219.42      5.00       3.65        1.35            79.8%
                                                  Benefit Plan                           abet Norden A/S

                                                  Riverside Associates Defined           Dampskibsselsk
ED&F-00076758     39     ED&F Man    Annex E                                   Acer                         24-Apr-14   28-Apr-14     5.00    23-Apr-14   29-Apr-14    CUMEX       223.41    219.42      5.00       3.65        1.35            79.8%
                                                  Benefit Plan                           abet Norden A/S

                                                  The Goldstein Law Group PC             Dampskibsselsk
ED&F-00076827     39     ED&F Man    Annex E                                  Acer                          24-Apr-14   28-Apr-14     5.00    23-Apr-14   29-Apr-14    CUMEX       223.41    219.42      5.00       3.65        1.35            79.8%
                                                  401 (k) Profit Sharing Plan            abet Norden A/S

                                                  Cambridge Way LLC 401K                 Dampskibsselsk
ED&F-00076579     40     ED&F Man    Annex E                                     Zeta                       24-Apr-14   28-Apr-14     5.00    23-Apr-14   29-Apr-14    CUMEX       222.50    218.52      5.00       3.65        1.35            79.6%
                                                  Profit Sharing Plan                    abet Norden A/S

                                                  DW Construction, Inc.                  Coloplast A/S -
ED&F-00045320     41     ED&F Man    Annex E                                     Acer                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       474.10    471.01      4.00       2.92        1.08            77.3%
                                                  Retirement Plan                        B
                                                  Kamco Investments. Inc                 Coloplast A/S -
ED&F-00045381     41     ED&F Man    Annex E                                     Acer                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       474.10    471.01      4.00       2.92        1.08            77.3%
                                                  Pension Plan                           B
                                                  Linden Associates Defined              Coloplast A/S -
ED&F-00045423     41     ED&F Man    Annex E                                     Acer                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       474.10    471.01      4.00       2.92        1.08            77.3%
                                                  Benefit Plan                           B
                                                  Riverside Associates Defined           Coloplast A/S -
ED&F-00045466     41     ED&F Man    Annex E                                     Acer                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       474.10    471.01      4.00       2.92        1.08            77.3%
                                                  Benefit Plan                           B




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                                                                                                                        Appendix C
                Cum-Ex Trades Conducted for Pension Funds by ED&F Man Demonstrate a Consistent Pricing Pattern for Dividend Sourcing Costs
                                                                                                         SHARE INFORMATION                                        PP TRADE INFORMATION
                                                                                                                                                                                                         Gross
                 Trade                                                                                                                Gross                                         Gross     Share                   Net        WHT       "All-In" Dividend
                                                                                                                          Record                           Settlement                                   Dividend
Tax Voucher Page Numbe     Broker     Trade Class          Pension Plan           Group    Share Issuer      Ex Date                 Dividend Trade Date                Pattern    Purchase Hedge Price            Dividend:    Reclaim:    Sourcing Cost2:
                                                                                                                           Date                               Date                                      Amount
                   r                                                                                                                 Amount                                        Price [A]   [B]                 [C] x 73%   [C] x 27%    ([A] - [B]) / [C]
                                                                                                                                                                                                           [C]
                                                    Del Mar Asset Management              Coloplast A/S -
ED&F-00045298      42    ED&F Man       Annex E                                   Duet                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       474.00    470.91      4.00       2.92        1.08            77.2%
                                                    Saving & Retirement Plan              B

                                                    Federated Logistics LLC 401           Coloplast A/S -
ED&F-00045363      42    ED&F Man       Annex E                                   Duet                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       474.00    470.91      4.00       2.92        1.08            77.2%
                                                    (K) Plan                              B
                                                    Cambridge Way LLC 401K                Coloplast A/S -
ED&F-00045280      43    ED&F Man       Annex E                                   Zeta                       9-May-14    13-May-14     4.00    8-May-14    14-May-14    CUMEX       473.50    470.41      4.00       2.92        1.08            77.2%
                                                    Profit Sharing Plan                   B
                                                    Newsong Fellowship Church
ED&F-00076877      44    ED&F Man       Annex E                                   Acer    IC Group A/S       25-Sep-14   29-Sep-14     3.00    24-Sep-14   30-Sep-14    CUMEX       167.50    164.51      3.00       2.19        0.81            99.7%
                                                    401 (k) Plan
                                                    American Investment Group
                                                                                          Novozymes A/S -
ED&F-00076389      45    ED&F Man       Annex E     of New York, L.P. Pension     Acer                    26-Feb-15      27-Feb-15     3.00    25-Feb-15   2-Mar-15     CUMEX       322.50    320.32      3.00       2.19        0.81            72.7%
                                                                                          B
                                                    Plan

Notes:
1. The All-In Costs for the Chr. Hansen November 2013 dividend event (trades 7-14) are not reliable and have been ignored. Half of this dividend was declared as a special dividend and thus triggered an adjustment event under
the terms of the futures contract (see the Nasdaq OMX Derivative Market Notification on October 23, 2013, available at https://www.globenewswire.com/fr/news-release/2013/10/23/582769/0/en/Derivatives-Anticipated-
adjustment-in-Christian-Hansen-due-to-extra-dividend-57-13.html, accessed December 14, 2021). The Share Hedge Price reflects the original price at which the future was traded but not the post-adjustment price. Accordingly,
the futures contract price was multiplied by an adjustment factor of approximately 98%, and the number of shares to be delivered was increased by a factor of approximately 2%. However, I have not seen complete documentation
that explains exactly how the parties amended their hedges and other steps they may have taken.

Adjusting for this factor would put the pricing of these trades in line with other transactions, but we are unable, based on the evidence we have received, to confirm the exact pricing and so have excluded these trades from our
analysis.

2. One way to think about this "All-In" Cost is that it represents the price of acquiring the dividend compensation payment plus WHT reclaim (which was equal to the gross dividend [C]). The Participants paid the Cum-Ex
purchase price [A] and received the proceeds of the Share Hedge [B] (generating a net cash outflow). In return, they acquired a net dividend compensation payment and made a reclaim to SKAT. We express the net cash outflow
as a percentage of the Gross Dividend in order to compare it to a regular securities borrowing transaction.

3. Strictly speaking, these hedge prices would need to be adjusted for the interest rate component of the futures prices. However, given the short-dated nature of these trades, the absence of information about appropriate interest
rates to use for these futures, and the very low prevailing interest rates during the period when these transactions occurred, we have decided that this adjustment is immaterial to the conclusions that we draw from the all-in pricing
analysis.




Sources: ED&F Trade Packets received from counsel; Bloomberg.




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                                                                                                                 Appendix C
                                                                                                           Solo Cum-Ex Trades
                                                                                                SHARE INFORMATION                                          PP TRADE INFORMATION
                                                                                                                                                                                                Gross
   Tax                                                                                                                       Gross                                         Gross     Share                   Net         WHT       "All-In" Dividend
              Trade                                                                                              Record                            Settlement                                  Dividend
 Voucher                Broker   Trade Class          Pension Plan          Group    Share Issuer   Ex Date                 Dividend Trade Date                 Pattern   Purchase Hedge Price            Dividend:   Reclaim: [C]  Sourcing Cost:
             Number                                                                                               Date                                Date                                     Amount
  Page                                                                                                                      Amount                                        Price [A]   [B]                 [C] x 73%     x 27%       ([A] - [B]) / [C]
                                                                                                                                                                                                  [C]
                                                                                    Carlsberg A/S -
N/A           N/A        Solo        N/A       Delvian LLC Pension Plan     N/A                     22-Mar-13   26-Mar-13       6.00   21-Mar-13   27-Mar-13    CUMEX      586.50    582.09      6.00       4.38          1.62           73.4%
                                                                                    B
                                               Roadcraft Technologies LLC           Novozymes A/S -
N/A           N/A        Solo        N/A                                    N/A                     26-Feb-15   27-Feb-15       3.00   25-Feb-15   2-Mar-15     CUMEX      322.50    320.33      3.00       2.19          0.81           72.5%
                                               Roth 401(k) Plan                     B

Note: Share Hedge Prices adjusted to exclude interest rate components of futures and forwards prices. Interest rate components are estimates based on available data.

Delvian's interest rate component is the Gross Purchase Price 586.4968 * 3 / 12 duration * 0.2735% Danish 3-month CIBOR = 0.40, yielding a Share Hedge Price of 582.49.
Forward Price - 0.40 Interest Rate Adjustment = 582.09.

Roadcraft's interest rate component is the Gross Purchase Price 322.50 * 4 / 12 duration * -0.2% interpolated Danish 4-month CIBOR = -0.215, yielding a Share Hedge Price of
320.1105. Forward Price + 0.215 Interest Rate Adjustment = 320.3255.

Sources: Solo Trade Confirmations received from counsel; Bloomberg.




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                                                                                       Appendix D
                       ED&F Man's Claimed Ownership is not Credible Given the Unmanageable Risk Implications

                                                              Number of shares ADTV (30 days                         Max DTV (30      % of Max         Shares
                                                                                               % of ADTV                                                                % of Shares
                                                               claimed to be    around Record                        days around        DTV        Outstanding on
         Share Issuer [A]              Record Date [B]                                          Claimed:                                                                Outstanding
                                                              owned by ED&F         Date)                            Record Date)     Claimed:       Record Date
                                                                                          1     [C] / [D]                     1                                          [C] / [F]
                                                                Clients [C]    (Bloomberg) [D]                     (Bloomberg) [E]    [C] / [E]    (Bloomberg) [F]


Chr. Hansen Holding A/S                November 30, 2012              2,116,000              226,681        933%           567,770     373%           134,500,000          2%
Novo Nordisk A/S - B                      March 25, 2013              7,430,000              733,386       1013%         1,935,048     384%           452,513,000          2%
A.P. Møller Mærsk A/S - B                   April 16, 2013               88,000                4,564       1928%             9,691     908%              2,198,000         4%
Tryg A/S                                    April 23, 2013            2,500,000              114,561       2182%           272,255     918%            61,316,000          4%
Chr. Hansen Holding A/S                November 29, 2013              8,917,700              192,505       4632%           445,213     2003%          134,500,000          7%
Coloplast A/S - B                      December 10, 2013              8,337,116              272,607       3058%           523,557     1592%          202,000,000          4%
Novozymes A/S - B                           March 3, 2014            30,900,000              668,467       4623%         2,489,555     1241%          265,956,000          12%
TDC A/S                                   March 11, 2014            163,445,000            2,393,898       6828%         5,763,449     2836%      Unavailable           Unavailable
DSV A/S                                   March 19, 2014              2,229,600              486,671        458%           767,199      291%          180,000,000          1%
Danske Bank A/S                           March 21, 2014            126,755,000            2,300,737       5509%         3,868,587     3277%        1,008,620,000          13%
Novo Nordisk A/S - B                      March 25, 2014             96,730,000            2,888,295       3349%         5,941,022     1628%        2,212,564,000           4%
Lundbeck A/S                              March 31, 2014              2,711,000              261,818       1035%           726,693      373%          196,263,000          1%
A.P. Møller Mærsk A/S - A                    April 3, 2014                1,000                4,110         24%            11,748       9%              2,198,000          0%
A.P. Møller Mærsk A/S - B                    April 3, 2014              199,800               14,680       1361%            36,497      547%             2,198,000         9%
Tryg A/S                                     April 8, 2014            5,238,000              123,332       4247%           452,809     1157%           61,316,000          9%
Dampskibsselskabet Norden A/S               April 28, 2014            4,265,000              243,373       1752%         1,127,349      378%           43,000,000          10%
Coloplast A/S - B                           May 13, 2014             21,130,000              335,351       6301%           672,396     3142%          202,000,000          10%
TDC A/S                                   August 12, 2014            52,289,424            1,921,209       2722%         5,212,423     1003%      Unavailable           Unavailable
IC Group A/S                           September 29, 2014               105,000               11,483        914%            31,835      330%           17,008,000          1%
Chr. Hansen Holding A/S                 December 1, 2014              4,080,000              218,637       1866%           491,185      831%          134,500,000          3%
Coloplast A/S - B                       December 8, 2014              4,630,000              246,060       1882%           773,460      599%          202,000,000          2%
Novozymes A/S - B                       February 27, 2015             2,615,000              524,197        499%           896,635      292%          265,956,000          1%
TDC A/S                                     March 9, 2015            31,515,200            2,297,537       1372%         3,876,517      813%      Unavailable           Unavailable
DSV A/S                                   March 16, 2015              1,700,000              426,099        399%           881,344      193%          177,000,000          1%
Danske Bank A/S                           March 20, 2015             24,805,000            5,238,305        474%        93,618,552       26%        1,008,620,000           2%
Pandora A/S                               March 20, 2015                700,950              579,688        121%         1,288,228      54%           128,116,000          1%
Novo Nordisk A/S - B                      March 23, 2015              5,600,000            3,149,999        178%        12,216,321       46%        2,112,564,000           0%
A.P. Møller Mærsk A/S - B                    April 1, 2015              136,114               26,695        510%            58,873      231%           10,989,000          1%

                                     Indicates that number of shares claimed to be owned is in excess of 200% of ADTV or Max DTV. 200% was a limit used by many risk management teams
                                     as threshold over which extra risk mitigations or trading stops would be applied.
Notes:
1. Calculated over the 15 trading days before the record date and 15 trading days after the record date.

Sources: Bloomberg; ED&F Man dividend reconciliation forms received from counsel. Column [C] is taken from ED&F Man's dividend reconciliation schedules for each dividend event, e.g.
ED&F-00040919 at 84 for the TDC March 2014 dividend event.



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Appendix E: A Description of the Economics of Various Transactions

                   1.      Annex E AIG - MPT Dubai TDC 2014 Transaction


1.         In this section, I describe in detail the “Annex E AIG - MPT Dubai TDC 2014” transaction, 1

which is another transaction conducted by ED&F Man on behalf of American Investment Group, or AIG,

in the same security (TDC Group A/S or TDC) and around the same dividend event (Record Date of

March 11, 2014) as described in the body of this report. The key differences between this transaction

and the one described in the report body are that this transaction is included in Annex E and is thus an

“Annex E” transaction, and additionally, the hedging undertaken in this transaction is more

straightforward than the TRS and associated unwind described in the report body.


2.         The dividend event itself is the same as the AIG TDC Transaction from the report body: it was a

payment of DKK 2.2 per share, with a Record Date of March 11, 2014 and thus had an Ex-Dividend Date

of March 7, 2014, again defined by the standard T+3 settlement cycle as 2 trading days before the Record

Date, so that a trade on the Ex-Dividend Date would settle one day after the Record Date.


3.         The timeline of the relevant dates is given in Figure 12 below.




1
    See, Appendix C, Trade 22.


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                                                   Figure 12




4.          The Investment Manager in this transaction, as in the transaction described in the report body,

was Acer. 2 The counterparty to the T+4 equity trade component of the transaction was ED&F Man’s

Dubai affiliate, MPT Dubai. This component of the transaction involved a purchase of 2 million shares

of TDC at a price of DKK 52.40 per share, as opposed to the DKK 52.55 per-share purchase price used

in the body of the report. 3


5.          On March 6, 2014, 4 (the “Buy Date”), ED&F Man purchased 22,300,000 shares of TDC at DKK

52.40 per share and simultaneously sold 223,000 BClear Single Stock Futures over the same underlying

shares . 5 The futures were sold at a price of DKK 50.64 per share for settlement on March 12, 2014, after




2
    ED&F-00040919, at 20.
3
    ED&F-00040919, at 39, 49, and 51.
4
    ED&F-00040919, at 39, 49, and 51 (equity) and 48, 52 (futures). See also the futures confirm ED&F-00212314.
5
    Ibid.


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the Record Date. 6 Of these 22,300,000 shares, 2,000,000 were purchased on behalf of AIG, and the other

20,300,000 were purchased on behalf of various other ED&F Man Pension Plans, all at the request of

Stacey Kaminer of Acer. 7 Since the trade was agreed to at the Cum-Dividend price before the Ex-

Dividend Date with settlement occurring after the Record Date, this was another Cum-Ex Transaction.


6.          Similar to the Annex E Cambridge Way – MPT Dubai COLOB 2013 transaction discussed in the

body of the report, MPT Dubai took the other side of both the equity and futures components of this initial

piece of the Cum-Ex transaction. 8


7.          On March 7, 2014, (the “Sell Date”), ED&F Man conducted an offsetting equity sale of

22,300,000 TDC shares at DKK 50.65 per share for normal T+3 settlement, and Link executed the trade. 9

MPT Dubai was on the other side of this trade as well. 10 Conveniently, this sale was conducted in the

same shapes as the purchase on the previous day, with one shape per ED&F Man Pension Plan as per

Stacey Kaminer’s email to ED&F on March 6, 2014. 11 ED&F Man also conducted an offsetting futures

transaction on behalf of AIG with MPT Dubai, and bought 223,000 TDC futures settling March 21, 2014

at DKK 50.65 per share. 12




6
    Ibid.

7
    ED&F-00040919, at 38.
8
 ED&F-00040919, at 49, and 51 (equity) and 52 (futures). 49 and 51 both state that “ED&F MCM obo ED&F
Man Professional Trading Dubai” sold 22,300,000 shares of TDC at DKK 52.40 per share for T+4 settlement, and
52 states that “To confirm ED&F DUBAI (ECM LEQ HI002) BUYS the following: 223,000 lots of TKF 21
March 2014 BClear futures @ DKK 50.64 (ref 52.40).”
9
  ED&F-00190797. See also ED&F-00190794 in which Victoria Foster, the trader in ED&F-00113799, emails
the ED&F London Trading Desk saying, “If you can get the futures and stock as close to €50.65 that would be
great.” (One may presume that she meant DKK rather than Euros.)
10
     ED&F-00408905.
11
     ED&F-00190797 and ED&F-00040919 at 38.
12
     ED&F-00190796 and ED&F-00408936. See also ED&F-00414179 which shows both sides of the trade.


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8.      Upon consideration of all the above component trades together, it is evident that AIG and MPT

Dubai had two completely offsetting futures trades and two completely offsetting buy and sell trades both

due to settle on the Settlement Date. This circular structure can again be illustrated in Figure 13 below.



                                                Figure 13




The Circular Nature of the Cum-Ex Transactions: Non-Annex E AIG – MPT DUBAI TDC 2014
Transaction




9.      As with the other Appendix C Cum-Ex Trades that are addressed in this report, ignoring the

immaterial commissions and clearing costs for the futures, this transaction involved a series of self-

cancelling trades, the result of which generated a tax reclaim that was shared by the parties to the

transaction.


The relevant real dividend amounts in respect of this transaction were as follows:


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                                                                          DKK per share
 Gross real dividend per share                                            2.20
 Withholding tax per share (Gross real dividend x 27%)                    0.59
 Net real dividend per share (Gross real dividend minus                   1.61
 withholding tax)




10.      The Buy Date transactions and Sell Date transactions can again be combined to prepare a

simplified profit and loss summary of the transactions from the perspective of AIG and MPT Dubai

individually as well as from a combined transaction perspective.


11.      Apart from the tax reclaim, the position for AIG was equal and opposite to MPT Dubai as both

parties were on the opposite side of each of the four trades. There were no external market flows or

risks for either party. 13



                                         AIG Profit and        MPT Dubai Profit        Combined ED&F
                                         Loss (DKK Per                and Loss           Client Positions
                                                 Share)        (DKK Per Share)         (DKK Per Share)
 Buy Date
 Cost of purchase of shares                       (52.40)                     52.40                       -
 Contract price under future                        50.64                   (50.64)                       -
 Net Buy Date Loss                                 (1.76)                      1.76                       -
 Sell Date
 Sale proceeds from shares                          50.65                   (50.65)                       -
 Contract price under future                      (50.65)                     50.65                       -
 Sell Date loss                                      0.00                      0.00                       -
 Dividend compensation (equal to                     1.61                    (1.61)                       -
 net real dividend)
 Net pre-tax profit/(loss)                         (0.15)                      0.15                      -
 Tax Reclaim                                         0.59                         -                   0.59
 Net profit                                          0.44                      0.15                   0.59




13
  These calculations ignore trade and future related commissions (they are immaterial), the impact of ED&F Man
fees, and the distribution of net profits between Acer and AIG as they are not relevant to understanding the
economics of the overall transaction.


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                   2.       Non-Annex E Cambridge Way – Mitsubishi COLOB 2013 Transaction
                            with External Equity Finance

12.        This appendix describes the “non-Annex E Cambridge Way – MPT Dubai COLOB 2013”

transaction, 14 which is an almost identical trade by Cambridge Way to the trade described in the body of

the report. The sole, and completely immaterial, difference between these two trades is the identity of

the counterparty. In this trade, it is Mitsubishi UFJ Securities (“Mitsubishi”), instead of MPT Dubai. The

illustrative settlement timeline is shown in Figure 14 below.




                                               Figure 14




14
     See, Appendix C, Trade 16.


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13.          On December 5, 2013, 15 (the “Buy Date”), Zeta, acting for Cambridge Way, approached ED&F

Man, with a request for them to buy 1,000,000 COLOB shares and simultaneously short 10,000 BClear

Single Stock Futures over the same underlying shares . 16 Pursuant to transaction terms, the parties agreed

to settle the trade on T+4, which is December 11, 2013 (Settlement Date). Except for the different amount

traded and the slightly different prices, this request was identical to the request made for the Annex E

Cambridge Way MPT Dubai Coloplast 2013 Trade described in the report.


14.          As is evident from various emails and trade confirmations, ED&F Man and Mitsubishi arranged

for Mitsubishi to take the other side of this Cum-Ex transaction, as well as others conducted on the same

terms, with Mitsubishi agreeing to sell 2.8 million shares on a T+4 basis (Cum-Ex), of which 1,000,000

related to Cambridge Way, and XConnect buying 28,000 futures, of which 10,000 related to Cambridge

Way. 17


15.          On December 6, 2013, (the “Sell Date”) Zeta arranged for ED&F Man to put on equal and

opposite trades, at this time, selling 2.8 million shares of COLOB to Cantor Fitzgerald on a T+3 basis,

and buying 10,000 BClear Futures contracts from Mariana Capital. 18 See Figure 15 below.




15
     ED&F-00045042, at 61.
16
     Ibid.

 ED&F-00045042 at 62 (ED&F MCM bought 1,000,000 shares on behalf of Cambridge Way at DKK 353.20),
17

ED&F-00045042 at 63 (ED&F MCM sold 28,000 futures on behalf of Cambridge Way and others at 347.4028),
ED&F-00045042 at 64 (Mitsubishi sold 2.8 million shares at DKK 353.20).
18
  ED&F-00190393 (Cambridge Way asked ED&F MCM to unwind the trade), ED&F-00190396 (ED&F MCM
sold 2.8 million shares on behalf of Cambridge Way and others at DKK 347.30, counterparty is Cantor Fitzgerald
EU), ED&F-00190565 (ED&F MCM bought 10,000 futures on behalf of Cambridge Way at 347.3128).


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                                                Figure 15




16.       On December 11, 2013, ED&F Man wrote to claim a manufactured dividend payment from

Mitsubishi of DKK 24,528,000, on account of “cum dividend trades settling after the dividend record

date”, referencing Coloplast B shares. 19 This was duly paid by Mitsubishi on the following day. 20


17.       The relevant real dividend amounts for this dividend event are as follows:


                                                                        DKK per share
 Gross real dividend per share                                          7.00
 Withholding tax per share (Gross real dividend x 27%)                  1.89
 Net real dividend per share (Gross real dividend minus                 5.11
 withholding tax)



19
     ED&F-00045042, at 82.
20
     ED&F-00045042, at 84.


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18.    The analogous profit and loss summary for this trade is similar to the summary in the report body:


                                  Cambridge Way            Combined IDB                   Combined
                                   Profit and Loss         Profit and Loss         Transaction (DKK
                                 (DKK Per Share)         (DKK Per Share)                  Per Share)
 Buy Date
 Cost of purchase of                       (353.20)                  353.20                           -
 shares
 Contract price under                     347.4028               (347.4028)                           -
 future
 Net Buy Date Loss                         (5.7972)                  5.7972                           -
 Sell Date
 Sale proceeds from                          347.30                (347.30)                           -
 shares
 Contract price under                    (347.3128)               347.3128                            -
 future
 Sell Date loss                            (0.0128)                  0.0128                           -
 Dividend compensation                         5.11                   (5.11)                          -
 (equal to net real
 dividend)
 Net pre-tax profit/(loss)                    (0.70)                   0.70                           -
 Tax Reclaim                                    1.89                      -                        1.89
 Net profit                                     1.19                   0.70                        1.89




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                                          Appendix F
                                        Cum-Cum Trades

                     Trade                                                                      "All-In" Dividend
 Tax Voucher Page             Broker            Pension Plan          Group    Share Issuer                    2
                    Number                                                                       Sourcing Cost

                                        KK Law Firm Retirement Plan           Chr. Hansen
ED&F-00026769         1      ED&F Man                                Cubix                           41.4%
                                        Trust                                 Holding A/S
                                        Acorn Capital Strategies LLC
                                                                              Chr. Hansen
ED&F-00026596         2      ED&F Man   Employee Pension Profit      Zeta                            40.1%
                                                                              Holding A/S
                                        Sharing Plan & Trust
                                        Acorn Capital Strategies LLC
                                                                              Chr. Hansen
ED&F-00026596         3      ED&F Man   Employee Pension Profit      Zeta                            40.1%
                                                                              Holding A/S
                                        Sharing Plan & Trust
                                        KK Law Firm Retirement Plan           Coloplast A/S -
ED&F-00045188         4      ED&F Man                                Cubix                           91.9%
                                        Trust                                 B
                                        Moira Associates LLC 401 (k)          Novozymes A/S -
ED&F-00076369         5      ED&F Man                                Acer                            88.8%
                                        Plan                                  B

                                        American Investment Group of
ED&F-00040919         6      ED&F Man                                Acer     TDC A/S                91.4%
                                        New York, L.P. Pension Plan

                                        Kamco LP Profit Sharing
ED&F-00041108         6      ED&F Man                               Acer      TDC A/S                91.4%
                                        Pension Plan
                                        KK Law Firm Retirement Plan
ED&F-00041180         7      ED&F Man                               Cubix     TDC A/S                90.9%
                                        Trust
                                        KK Law Firm Retirement Plan
ED&F-00041180         8      ED&F Man                               Cubix     TDC A/S                90.9%
                                        Trust
                                        KK Law Firm Retirement Plan
ED&F-00041180         9      ED&F Man                               Cubix     TDC A/S                90.9%
                                        Trust
                                        KK Law Firm Retirement Plan
ED&F-00038254         10     ED&F Man                               Cubix     DSV A/S                86.7%
                                        Trust

                                        American Investment Group of          Danske Bank
ED&F-00045804         11     ED&F Man                                Acer                            87.5%
                                        New York, L.P. Pension Plan           A/S

                                        KK Law Firm Retirement Plan           Danske Bank
ED&F-00046531         12     ED&F Man                               Cubix                            88.0%
                                        Trust                                 A/S
                                        Kamco LP Profit Sharing               Novo Nordisk
ED&F-00049309         13     ED&F Man                               Acer                             86.9%
                                        Pension Plan                          A/S - B
                                        KK Law Firm Retirement Plan           Novo Nordisk
ED&F-00049371         14     ED&F Man                               Cubix                            87.6%
                                        Trust                                 A/S - B
                                        Kamco LP Profit Sharing               Novo Nordisk
ED&F-00049309         15     ED&F Man                               Acer                             79.3%
                                        Pension Plan                          A/S - B
                                        KK Law Firm Retirement Plan
ED&F-00039011         16     ED&F Man                               Cubix     Lundbeck A/S           87.4%
                                        Trust
                                        KK Law Firm Retirement Plan           A.P. Møller
ED&F-00039716         17     ED&F Man                               Cubix                            90.3%
                                        Trust                                 Mærsk A/S - A

                                        American Investment Group of          A.P. Møller
ED&F-00077536         18     ED&F Man                                Acer                            90.3%
                                        New York, L.P. Pension Plan           Mærsk A/S - B

                                        American Investment Group of
ED&F-00044535         19     ED&F Man                                Acer     Tryg A/S               91.2%
                                        New York, L.P. Pension Plan

                                        Federated Logistics LLC 401
ED&F-00042677         20     ED&F Man                                 Duet    TDC A/S                88.7%
                                        (K) Plan
                                        American Investment Group of
ED&F-00042261         21     ED&F Man                                Acer     TDC A/S                88.7%
                                        New York, L.P. Pension Plan

                                        DW Construction, Inc.
ED&F-00042604         21     ED&F Man                                Acer     TDC A/S                88.7%
                                        Retirement Place
                                        Kamco Investments. Inc
ED&F-00042832         21     ED&F Man                                Acer     TDC A/S                88.7%
                                        Pension Plan
                                        Kamco LP Profit Sharing
ED&F-00042905         21     ED&F Man                                Acer     TDC A/S                88.7%
                                        Pension Plan
                                        Moira Associates LLC 401 (k)
ED&F-00042978         21     ED&F Man                                Acer     TDC A/S                88.7%
                                        Plan



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                                          Appendix F
                                        Cum-Cum Trades

                     Trade                                                                       "All-In" Dividend
 Tax Voucher Page             Broker            Pension Plan           Group    Share Issuer                    2
                    Number                                                                        Sourcing Cost


                                        American Investment Group of           Chr. Hansen
ED&F-00026785         22     ED&F Man                                Acer                             88.6%
                                        New York, L.P. Pension Plan            Holding A/S

                                        DW Construction, Inc.                  Coloplast A/S -
ED&F-00045678         23     ED&F Man                                  Acer                           88.3%
                                        Retirement Plan                        B

                                        The Goldstein Law Group PC             Coloplast A/S -
ED&F-00045782         23     ED&F Man                               Acer                              87.7%
                                        401 (k) Profit Sharing Plan            B

                                        American Investment Group of           Coloplast A/S -
ED&F-00045535         24     ED&F Man                                Acer                             88.5%
                                        New York, L.P. Pension Plan            B

                                        Moira Associates LLC 401 (k)           Coloplast A/S -
ED&F-00045740         25     ED&F Man                                Acer                             88.3%
                                        Plan                                   B
                                        Moira Associates LLC 401 (k)           Coloplast A/S -
ED&F-00045740         26     ED&F Man                                Acer                             88.1%
                                        Plan                                   B
                                        Moira Associates LLC 401 (k)           Coloplast A/S -
ED&F-00045740         27     ED&F Man                                Acer                             88.3%
                                        Plan                                   B
                                        Linden Associates Defined              Novozymes A/S -
ED&F-00076404         28     ED&F Man                                Acer                             91.7%
                                        Benefit Plan                           B

                                        The Goldstein Law Group PC             Novozymes A/S -
ED&F-00076422         28     ED&F Man                               Acer                              91.7%
                                        401 (k) Profit Sharing Plan            B

                                        Linden Associates Defined
ED&F-00043326         29     ED&F Man                                  Acer    TDC A/S                90.0%
                                        Benefit Plan
                                        Riverside Associates Defined
ED&F-00043382         30     ED&F Man                                  Acer    TDC A/S                89.0%
                                        Benefit Plan
                                        Linden Associates Defined
ED&F-00038269         31     ED&F Man                                  Acer    DSV A/S                94.4%
                                        Benefit Plan
                                        Riverside Associates Defined
ED&F-00038285         31     ED&F Man                                  Acer    DSV A/S                94.4%
                                        Benefit Plan
                                        Linden Associates Defined              Danske Bank
ED&F-00047332         32     ED&F Man                                  Acer                           89.1%
                                        Benefit Plan                           A/S
                                        Riverside Associates Defined           Danske Bank
ED&F-00047364         32     ED&F Man                                  Acer                           89.1%
                                        Benefit Plan                           A/S

                                        The Goldstein Law Group PC             Danske Bank
ED&F-00047396         32     ED&F Man                               Acer                              89.1%
                                        401 (k) Profit Sharing Plan            A/S

                                        Linden Associates Defined              Danske Bank
ED&F-00047332         33     ED&F Man                                  Acer                           89.1%
                                        Benefit Plan                           A/S
                                        Riverside Associates Defined           Danske Bank
ED&F-00047364         33     ED&F Man                                  Acer                           89.1%
                                        Benefit Plan                           A/S

                                        The Goldstein Law Group PC             Danske Bank
ED&F-00047396         33     ED&F Man                               Acer                              89.1%
                                        401 (k) Profit Sharing Plan            A/S

                                        Linden Associates Defined
ED&F-00043981         34     ED&F Man                                  Acer    Pandora A/S            91.7%
                                        Benefit Plan
                                        Riverside Associates Defined
ED&F-00043997         35     ED&F Man                                  Acer    Pandora A/S            91.0%
                                        Benefit Plan
                                        Linden Associates Defined              Novo Nordisk
ED&F-00049870         36     ED&F Man                                  Acer                           90.2%
                                        Benefit Plan                           A/S - B
                                        Riverside Associates Defined           Novo Nordisk
ED&F-00049905         36     ED&F Man                                  Acer                           90.2%
                                        Benefit Plan                           A/S - B

                                        The Goldstein Law Group PC             Novo Nordisk
ED&F-00049940         36     ED&F Man                               Acer                              90.2%
                                        401 (k) Profit Sharing Plan            A/S - B
                                        Linden Associates Defined              Novo Nordisk
ED&F-00049870         37     ED&F Man                                  Acer                           90.2%
                                        Benefit Plan                           A/S - B
                                        Riverside Associates Defined           Novo Nordisk
ED&F-00049905         37     ED&F Man                                  Acer                           90.2%
                                        Benefit Plan                           A/S - B



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                                               Appendix F
                                            Cum-Cum Trades

                     Trade                                                                       "All-In" Dividend
 Tax Voucher Page                Broker             Pension Plan        Group    Share Issuer                   2
                    Number                                                                        Sourcing Cost


                                            The Goldstein Law Group PC          Novo Nordisk
ED&F-00049940         37       ED&F Man                                 Acer                          90.2%
                                            401 (k) Profit Sharing Plan         A/S - B

                                            American Investment Group of        A.P. Møller
ED&F-00078083         38       ED&F Man                                  Acer                         91.4%
                                            New York, L.P. Pension Plan         Mærsk A/S - B

                                            Kamco Investments. Inc              A.P. Møller
ED&F-00078478         39       ED&F Man                                 Acer                          91.4%
                                            Pension Plan                        Mærsk A/S - B
                                            Kamco Investments. Inc              A.P. Møller
ED&F-00078478         40       ED&F Man                                 Acer                          91.4%
                                            Pension Plan                        Mærsk A/S - B

 Notes:
 1. The All-In Costs for the Chr. Hansen November 2013 dividend event (trades 7-14) are not reliable and
 have been ignored. Half of this dividend was declared as a special dividend and thus triggered an
 adjustment event under the terms of the futures contract (see the Nasdaq OMX Derivative Market
 Notification on October 23, 2013, available at https://www.globenewswire.com/fr/news-
 release/2013/10/23/582769/0/en/Derivatives-Anticipated-adjustment-in-Christian-Hansen-due-to-extra-
 dividend-57-13.html, accessed December 14, 2021). The Share Hedge Price reflects the original price at
 which the future was traded but not the post-adjustment price. Accordingly, the futures contract price
 was multiplied by an adjustment factor of approximately 98%, and the number of shares to be delivered
 was increased by a factor of approximately 2%. However, I have not seen complete documentation that
 explains exactly how the parties amended their hedges and other steps they may have taken.

 Adjusting for this factor would put the pricing of these trades in line with other transactions, but we are
 unable, based on the evidence we have received, to confirm the exact pricing and so have excluded these
 trades from our analysis.

 2. One way to think about this "All-In" Cost is that it represents the price of acquiring the dividend
 compensation payment plus WHT reclaim (which was equal to the gross dividend). The Participants paid
 the purchase price and received the proceeds of the Share Hedge (generating a net cash outflow). In
 return, they acquired a net dividend compensation payment and made a reclaim to SKAT. We express
 the net cash outflow as a percentage of the Gross Dividend in order to compare it to a regular securities
 borrowing transaction.

 3. Strictly speaking, these hedge prices would need to be adjusted for the interest rate component of the
 futures prices. However, given the short-dated nature of these trades, the absence of information about
 appropriate interest rates to use for these futures, and the very low prevailing interest rates during the
 period when these transactions occurred, we have decided that this adjustment is immaterial to the
 conclusions that we draw from the all-in pricing analysis.




 Sources: ED&F Trade Packets received from counsel; Bloomberg.




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